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                       UNITED STATES COURT OF APPEALS
                            FOR THE FIRST CIRCUIT


                                        Nos. 23-1115
                                          23-1116
                                          23-1138
                                          23-1139


                                 UNITED STATES,
                               Appellee/Cross-Appellant,

                                             v.

                          David DeQuattro; Cedric Cromwell,
                         Defendants-Appellants/Cross-Appellees.



                                        JOINT
                                      APPENDIX
                                     VOLUME VI
                                   (Pages 2029 - 2303)



            Kimberly Homan                          Martin G. Weinberg
            20 Park Plaza, Suite 1000               20 Park Plaza, Suite 1000
            Boston, Massachusetts 02116             Boston, Massachusetts 02116
            (617) 448-2812 (Telephone)              (617) 227-3700 (Telephone)
            homanlaw@aol.com                        owlmgw@att.net

                                                    Michael Pabian
                                                    20 Park Plaza, Suite 1000
                                                    Boston, Massachusetts 02116
                                                    (617) 227-3700 (Telephone)
                                                    pabianlaw38@gmail.com

                              Counsel for David DeQuattro
Case: 23-1115   Document: 00118037150   Page: 2     Date Filed: 08/04/2023   Entry ID: 6583371




            Karen L. Eisenstadt, AUSA             Robert F. Hennessy
            US Attorney’s Office MA               25 Bank Row, Ste. 2S Boston,
            1 Courthouse Way Suite 9200           Greenfield, Massachusetts 01301
            Boston, Massachusetts 02210           (413)325-8541 (Telephone)
            (617) 748-3412 (Telephone)            rhennessy@schnipperhennessy.com
            karen.eisenstadt@usdoj.gov


            Counsel for United States             Counsel for Cedric Cromwell
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                                  UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF MASSACHUSETTS




                                                   )
                UNITED STATES OF AMERICA,          )
                                                   )              Criminal Action
                         Plaintiff,                )              No. 20-10271-DPW
                                                   )
                v.                                 )
                                                   )
                CEDRIC CROMWELL and                )
                DAVID DEQUATTRO,                   )
                                                   )
                         Defendants.               )
                                                   )



                           BEFORE THE HONORABLE DOUGLAS P. WOODLOCK
                                  UNITED STATES DISTRICT JUDGE


                                              SENTENCING

                                          November 15, 2022




                            John J. Moakley United States Courthouse
                                         Courtroom No. 1
                                       One Courthouse Way
                                  Boston, Massachusetts 02210




                                                         Kelly Mortellite, RMR, CRR
                                                         Official Court Reporter
                                                         One Courthouse Way, Room 3200
                                                         Boston, Massachusetts 02210
                                                         mortellite@gmail.com




                                          2029
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                                                                                           2




          1     APPEARANCES:
                Counsel on behalf of United States:
          2     Christine J. Wichers
                Jared C. Dolan
          3     United States Attorney's Office MA
                1 Courthouse Way
          4     Suite 9200
                Boston, MA 02210
          5     617-748-3278
                Christine.wichers@usdoj.gov
          6     Jared.dolan@usdoj.gov

          7     Counsel on behalf of Defendant Cedric Cromwell:
                Timothy R. Flaherty
          8     699 Boylston Street, 12th Flr.
                Boston, MA 02116
          9     617-227-1800
                Timothyrflaherty@gmail.com
         10
                Counsel on behalf of Defendant David DeQuattro:
         11     Martin G. Weinberg
                Maksim Nemtsev
         12     Martin G. Weinberg, PC
                20 Park Plaza
         13     Suite 1000
                Boston, MA 02116
         14     617-227-3700
                Owlmgw@att.net
         15

         16

         17

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          1                             P R O C E E D I N G S

          2              (The following proceedings were held in open court

          3     before the Honorable Douglas P. Woodlock, United States

          4     District Judge, United States District Court, District of

          5     Massachusetts, at the John J. Moakley United States Courthouse,

          6     One Courthouse Way, Courtroom 1, Boston, Massachusetts, on

          7     November 15, 2022.)

          8     (Case called to order.)

          9              THE COURT:     Well, there are a couple of housekeeping

    10:57 10    matters I want to take up first.       I have Mr. DeQuattro's

         11     assented-to motion to seal the filings regarding his motion for

         12     judgment of acquittal.    I assume there's no objection to that

         13     from anyone.   It's been outstanding for a while.            So I'm going

         14     to allow it.   The only thing that I think that's going to

         15     remain under seal are the certain bank records that touch on

         16     matters that were not introduced in the trial.

         17              Second, I have some uncertainty about what's going on

         18     with the victim witness statements.        I look at the procedural

         19     order that was entered here.       It requires that the government

    10:57 20    provide the Probation Office with written statements setting

         21     forth the names of victims and their contact information and so

         22     on as of May 12.    I don't believe that was done or there was

         23     any notification.   The Presentence Report at paragraph 63 says,

         24     "There are no identifiable victims."         And then all of a sudden,

         25     a series of documents were produced through the U.S. Attorney's




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          1     Office that purport to be victim witness statements.

          2                 So was the government unaware of these victims at the

          3     time that it was obligated to provide the information to the

          4     Probation Office?

          5                 MS. WICHERS:    No, Your Honor.      The issue is that, I

          6     think the lack of clarity of the term "victim" in the relevant

          7     statutes.    We had --

          8                 THE COURT:   I'm not even getting to that.           You had

          9     notice that there were people who purported to be victims and

    10:59 10    you didn't notify the Probation Office?

         11                 MS. WICHERS:    No, we did not, we did not have notice

         12     that there were individuals of the tribe who --

         13                 THE COURT:   What about the tribe itself or someone who

         14     purports to be speaking for the tribe itself?

         15                 MS. WICHERS:    We did not give them a -- we did not

         16     give them the deadline, but we also did not --

         17                 THE COURT:   It was not their deadline.            It's yours.

         18     You were supposed to notify Probation so Probation can prepare

         19     in response to that because Probation actually does look at

    10:59 20    these, as do I.    And so you were aware that there was someone

         21     purporting to speak on behalf of the tribe who said they were

         22     victims here as of May 12 and it wasn't disclosed to Probation,

         23     right?

         24                 MS. WICHERS:    Almost right.      We were not aware that

         25     someone was prepared to speak on behalf of the tribe.




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          1     Otherwise, your statement is correct.

          2              THE COURT:      Well, the tribe purported to be --

          3              MS. WICHERS:      Yes.

          4              THE COURT:      And was the tribe speaking apart from some

          5     other human being?      I mean, the tribe made you aware.         How did

          6     they make you aware?     Who spoke for the tribe to make you

          7     aware?

          8              MS. WICHERS:      We learned of that last week when we met

          9     with the tribe.

    11:00 10             THE COURT:      But you said that you knew as of May 12

         11     that the tribe was purported to be a victim, right?

         12              MS. WICHERS:      Correct.

         13              THE COURT:      How did you know that?

         14              MS. WICHERS:      From the facts of the case.

         15              THE COURT:      Pardon me?

         16              MS. WICHERS:      From the fact of the case.

         17              THE COURT:      So you thought that they were a victim?

         18              MS. WICHERS:      Yes.

         19              THE COURT:      And why didn't you disclose that to the

    11:00 20    Probation Office?    I'm asking a fairly specific question.            I

         21     don't understand the answer to it.

         22              MS. WICHERS:      I guess one would call it oversight.

         23              THE COURT:      Okay.    So the oversight resulted in a

         24     filing that was made relatively recently here through the U.S.

         25     Attorney's Office raising some significant issues, apparently




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          1     the government recognizes it's a significant issue whether or

          2     not the tribe can be viewed as a victim --

          3              MS. WICHERS:     Yes.

          4              THE COURT:     -- under these circumstances.         It would be

          5     nice to know that ahead of time so that we don't have a hearing

          6     in which we have to take this matter up belatedly.            But then we

          7     have other things that are filed, a series of things that were

          8     filed by persons who request that their letter be submitted

          9     under seal, but they're addressed to me, sent along through the

    11:01 10    U.S. Attorney's Office.

         11              There is actually two, one in which was transmitted to

         12     Ms. Victoria as of yesterday at 3:25 p.m. that says, the

         13     individual has asked that the letter be submitted under seal to

         14     Judge Woodlock and not be made public.         The short of it is I

         15     don't receive those kinds of letters.         If somebody wants to be

         16     heard on the question of sentencing, and this person apparently

         17     does want to be heard on the question of sentencing, it has to

         18     be known to both sides.     Otherwise I simply strike it.          I can't

         19     imagine why it would be thought otherwise.          Then --

    11:02 20             MS. WICHERS:     We --

         21              THE COURT:     If I may.    Then shortly thereafter, as of

         22     3:59, another letter comes in with a communication to

         23     Ms. Victoria.   This one, too, just received.

         24              Now, I guess I'm supposed to interpolate that that

         25     means that this person also wishes to have this under seal, not




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          1     to be disclosed.    Is that right?

          2              MS. WICHERS:    Yes, Your Honor.

          3              THE COURT:     Okay.    Well, so long as these people don't

          4     want to have their observations pressing me to take particular

          5     action with respect to the sentence available for the defendant

          6     to review and others to review to evaluate their bona fides for

          7     it, I'm going to strike both of those letters here.

          8              Now, I have one letter that doesn't seem to fall in

          9     that category.   It was submitted apparently to the U.S.

    11:04 10    Attorney's Office from Mr. Kelly, and that was done at 6:14

         11     yesterday -- well, actually 6:14 this morning and then

         12     communicated at 7:43 through the U.S. Attorney's Office.

         13     Little hard to absorb things like that.        Mr. Kelly I know has

         14     represented the tribe, or I gather he's represented the tribe

         15     in various matters here.     But I assume that the defendants have

         16     seen this letter.   Have you, Mr. Flaherty?

         17              MR. FLAHERTY:     I'm aware of it, Judge.          I haven't

         18     absorbed it either.

         19              THE COURT:     Okay.    But this is a letter from Gayle

    11:05 20    Andrews, in parens, Peters, who is a member of the tribe.

         21              MR. FLAHERTY:     Thank you, yes.

         22              THE COURT:     Okay.    So I want to be sure that we can

         23     move ahead with matters with these delayed submissions.             Do the

         24     defendants have any objection to moving ahead at this point?

         25              MR. WEINBERG:     Not from the defendant DeQuattro, Your




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          1     Honor.

          2              THE COURT:      Mr. Flaherty?

          3              MR. FLAHERTY:      No, sir, no objection.

          4              THE COURT:      All right.   So then let's turn to a

          5     separate question that was raised in connection with the

          6     motions for judgment of acquittal, which I've been thinking

          7     about quite a bit.      The issue really has to do with the

          8     integrity of the tribe and its immunities and the immunities

          9     that extend to those who are their leaders.           Put it that way.

    11:06 10             The issue is not precisely developed as yet in the

         11     larger sense, but my own view is that the Supreme Court and the

         12     First Circuit have been moving in the direction of saying,

         13     Look, if you want to take away the immunity of a tribe or its

         14     leaders, Congress is going to do that with specificity.               That

         15     in fact is what they did with respect to 666(a).             The statute

         16     was amended in I think 1984 or so.        And almost immediately the

         17     Tenth Circuit, dealing with a case then under appeal said, you

         18     know, if you want 666 to apply to Indian tribes, you've got to

         19     say so directly, and they the granted acquittal.             Within

    11:07 20    several months, Congress amended again to make it direct that

         21     Indian tribes were included, Indian tribes and their officials

         22     were included.

         23              Now, what do I draw from that?         Well, first that it's

         24     very important, having in mind the integrity of tribal

         25     governments and their relationships that they have as




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          1     sovereigns, to observe the parameters.         It is the case that no

          2     one would suggest that section 201, which is the traditional

          3     bribery statute, applies to tribes.        In fact, it's so unclear

          4     whether it applies at all to state and local officials,

          5     although the government from time to time in the past anyway

          6     has tried to pursue it on those grounds.

          7               What happened is 666 was amended to make it clear, but

          8     we also have here an extortion claim, extortion under color of

          9     official right.    That does not specify tribes or tribal leaders

    11:09 10    as officials.   And my view is I have to grant acquittal with

         11     respect to that.   That is a statute that just doesn't apply,

         12     unless we are to just run roughshod over the particular

         13     attributes of sovereignty that Indian tribes have.

         14               Now, the issue is percolating along in the Supreme

         15     Court.   It's percolating as a result of at least one case

         16     coming from the First Circuit.       It's been identified by

         17     Mr. Flaherty and Mr. Weinberg in their pleadings, and that's

         18     the Chippewa v. Coughlin case that the First Circuit dealt with

         19     earlier this year.      It's the subject of a petition for

    11:10 20    certiorari now.    The petition and the opposition have been

         21     filed.   The time for a reply hasn't run and the court hasn't

         22     set it for a conference yet, or at least they hadn't as of this

         23     morning because I looked at it this morning.           Nevertheless,

         24     there is filed as an amicus curae a brief by the group of

         25     people who have styled themselves as professors of federal




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          1     Indian law in support of the petitioners who were essentially

          2     saying, you know, you can't do this unless you've called out

          3     with specificity the application to the tribes.             Interestingly

          4     enough, the counsel in the case and among the federal Indian

          5     law professors, Matthew Fletcher, who was a tribal member as I

          6     understand it, was the reporter of this document.

          7              It's through the statement of the law, the law of

          8     American Indians.   It was issued in this form on September 26

          9     of this year, although it was adopted I believe by the ALI

    11:11 10    subject to revision back in 2019.       It's not directly on point,

         11     but it I think gives pretty clear indication that this is an

         12     area in which everybody has to tread carefully, lest

         13     enthusiasms to pursue things that people might find

         14     objectionable and certain people don't undermine the authority

         15     of the relevant tribal sovereign.

         16              The language that the tribal or the Indian law

         17     practitioners offer at the end of the brief is, "Tribal

         18     sovereign immunity persists unless a native nation clearly

         19     waives it or Congress unequivocally says otherwise.            Congress

    11:13 20    did not do so when it enacted the bankruptcy code," which was

         21     the original issue, "and it has not done so since.            Native

         22     nations may therefore raise sovereign immunity as a defense to

         23     claims for damages under the code."

         24              All of that I read to mean that the use of the Hobbs

         25     Act in this area -- and I actually solicited from the




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          1     government materials regarding it.           I never received that.

          2     Perhaps that was an oversight.

          3                 There seems to be a quizzical look, so let me be more

          4     specific.    I asked for this when I said, "Had this ever been

          5     done before?"    And I was told that it had been.               It had been

          6     done in Oklahoma.    I said, "Where are the materials," and I was

          7     told that they were not available.           I asked to have them

          8     searched for and didn't hear anything since.              I'm not aware of

          9     any reported decisions with respect to the Hobbs Act applying

    11:14 10    to Indian tribes.    Are you, Ms. Wichers?

         11                 MS. WICHERS:    No, Your Honor.

         12                 THE COURT:   Okay.      So it comes back to this, that I'm

         13     going to grant the motion for judgment of acquittal with

         14     respect to the Hobbs Act, which applies only to Mr. Cromwell.

         15                 Now, having said that, I solicited Ms. Victoria to

         16     look at the guidelines in this area, and I believe that she's

         17     provided the outcome of her exploration to counsel.                It doesn't

         18     make a difference under the guidelines, at least the way in

         19     which Ms. Victoria speaks of it, and of course this is

    11:15 20    consistent with the idea of overcharging that this area has

         21     generated.    But the government is entitled to charge any

         22     applicable statute and apparently they believe no potential

         23     applicable statute to apply.          So I've looked at it and decided

         24     that it must be disregarded here.           That is part of the

         25     materials that the tribe itself included, or at least the




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          1     current leadership of the tribe itself included in its argument

          2     here.

          3              One of the things that's critical in getting this

          4     early rather than late is to be able to sort through what's

          5     going on because there are arguments that are made in

          6     Mr. Weeden's letter on behalf of the tribe that one might think

          7     were evidentiary in nature.        That is the assumption or

          8     argument, whether supported or not in the evidence is another

          9     matter that we'll get to, but the assumption that the Gaming

    11:16 10    Commission and the tribe are both within the ambit of 666(a).

         11     Properly, timely provided with the information, presumably

         12     counsel would be able to argue against it.           I've tried to sort

         13     through this as best I can to be sure that I'm not influenced

         14     by that any more than I'm influenced by somebody who sends a

         15     letter and says they don't want anybody else to know about it;

         16     it's just for me.

         17              So I guess that's where we are.           The first order of

         18     business, as far as I'm concerned, is to deal with the

         19     outstanding motion for acquittal here, which is now focused as

    11:17 20    a result of the action I've taken with respect to the Hobbs Act

         21     on 666(a).   And I don't know if the defendants have anything

         22     more that you want to say in anticipation of going through that

         23     and then moving on to the calculation of the sentence, assuming

         24     that it's going to be calculated as well.

         25              MR. WEINBERG:     If I could just have five minutes to




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          1     address the Rule 29 as to Mr. DeQuattro and the limitation of

          2     the jury verdicts to the Bowflex in August 2016 and the hotel

          3     suite in 2017.

          4              What strikes me, Judge, and I understand the

          5     instruction and the finding of law by the Court that you could

          6     have multiple motives, but one of them has to be criminal in

          7     order to qualify the acts as a 666 violation.          The government

          8     theory has been protect the contract, although there was no

          9     direct evidence of that.     And circumstantially, by August of

    11:18 10    2016, it was impossible that the contract needed protection or

         11     was at objective risk given 28 years of successful -- 28 months

         12     of successful performance.

         13              But if the contract was in play and if there was

         14     pressure or demands by Mr. Cromwell, the last donation, which

         15     was the acquitted donation of Count Four in November 2015,

         16     there was never again a request for a $10,000 donation.            The

         17     only allegation of anything of value that was requested by

         18     Mr. Cromwell and paid to him by Mr. DeQuattro in August of 2016

         19     or during the entire 2016 year was the Bowflex, which was

    11:19 20    completely consistent with the man's medical condition, his

         21     coming out of a hospital.

         22              THE COURT:     Well, let me break that in part.         Are you

         23     challenging the idea that, which seems to suffuse bribery law,

         24     that so long as one of the purposes is bribery or to cause

         25     someone to depart from their fiduciary obligations, if we're




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          1     speaking more broadly, is bad law?

          2               MR. WEINBERG:    No, I'm not challenging that.

          3               THE COURT:    Okay.    So then we're saying, as I

          4     understand your argument, you're saying that submission of the

          5     Bowflex is only for a medical condition and is an act of

          6     friendship?

          7               MR. WEINBERG:    I guess what I'm saying is there was an

          8     insufficient evidentiary predicate for the jury to have found

          9     that --

    11:20 10              THE COURT:    Okay.    But I want to be sure it's not a

         11     categorical argument.     So it is that the jury could not have

         12     found that part of the consideration here or concern here was

         13     that the request for a Bowflex would be something that would be

         14     taken into consideration by Mr. Cromwell in his actions?

         15               MR. WEINBERG:    I guess it's one step beyond that.            The

         16     McDonnell case and the Silver case in the Second Circuit and

         17     Your Honor's instructions to the jury required proof beyond a

         18     reasonable doubt that before or at the time of the Bowflex

         19     request that an official act had been promised in exchange.

    11:21 20    Otherwise it's a gratuity, which Bravo Fernandez takes out --

         21               THE COURT:    Right, I understand that.           So what it is

         22     is that the jury disregarded the instructions in this case?

         23               MR. WEINBERG:    I think what it is, Judge,

         24     respectfully, is that in our judgment of acquittal motion there

         25     was an evidentiary insufficiency on three separate grounds.




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          1     One being the quid, which requires a corrupt intent, that none

          2     of the motives were proven in this case, in this unique case.

          3     Forget the legitimacy of the allegation.          Yes, under some sets

          4     of facts you could charge a Bowflex being a bribe, but in this

          5     case, without there being a witness, without Mr. Cromwell

          6     having done anything or proven to have done anything with a

          7     friendship and with a motive to motivate future business that

          8     you heard from from the expert, although it did not come in

          9     before the jury, that you don't need an expert to know that

    11:22 10    Mr. DeQuattro had a business motive.         This gift, the price of

         11     the gift was consistent with gifts given by businesses

         12     nationwide, sports tickets, concert tickets, Super Bowl trips.

         13                THE COURT:    Those are all the kind of generalized

         14     statements from the court, Supreme Court, on things that are

         15     outside.   The question was is this inside?         That was the

         16     specific question.      Is there sufficient evidence in this case

         17     for someone to say a portion of an aspect, an element of the

         18     reward, was to influence Mr. Cromwell in the exercise of his

         19     authority as a tribal leader.

    11:23 20               MR. WEINBERG:    Or to incentivize Mr. DeQuattro to give

         21     a gift.    Did Mr. Cromwell in any way communicate at or before

         22     the time --

         23                THE COURT:    Well, now we're into the question of what

         24     constitutes communication and at what point does it break down

         25     for purposes of circumstantial evidence.




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          1                MR. WEINBERG:   Your Honor instructed clear and

          2     unequivocal proof was required in order to find an

          3     understanding by Mr. DeQuattro whatever Mr. Cromwell's

          4     intentions, again remembering we're here in a very unique

          5     factual circumstance where there was no direct evidence, where

          6     there was no threat to the contract, where there was no act by

          7     Mr. Cromwell that would send a message that I'm going to do

          8     something negative or could do something positive.           Unlike all

          9     the other cases, there's no pattern of official acts.

    11:24 10               And here we're dealing with the only request in the

         11     entire 15-month period between November 15 and January 17.             If

         12     Mr. Cromwell was really demanding payments in order to protect

         13     the contract, to demand a Bowflex as the only request in the

         14     context of acquittals or the antecedent request, there's simply

         15     not a basis to find that he believed, understood, that the

         16     contract was in peril.

         17                THE COURT:   Is that an argument for inconsistent

         18     verdict?

         19                MR. WEINBERG:   It's an argument for saying there's an

    11:24 20    insufficient predicate.

         21                THE COURT:   No.   Is this an argument for inconsistent

         22     verdict?   That is to say, in order for the jury to find with

         23     respect to the Bowflex, they would have had to find with

         24     respect to the extension of --

         25                MR. WEINBERG:   I would say two things to that.         One is




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          1     that the government did not have a stream of benefits theory

          2     and therefore needed to establish the quid pro quo on a

          3     request-by-request basis.

          4              THE COURT:     Okay.    So then it's not inconsistent.

          5              MR. WEINBERG:     It is not inconsistent.          If anything --

          6     I think you could find inconsistent verdicts, but the effect of

          7     an inconsistent verdict is not to prohibit the conviction on

          8     the inconsistent conviction because there was an

          9     inconsistent --

    11:25 10             THE COURT:     I'm focused on the question of whether it

         11     was inconsistent for the jury to have found, in the absence of

         12     an argument of stream of benefits, for the jury to have found

         13     or acquitted with respect to other payments for the benefit of

         14     Mr. Cromwell and the Bowflex.

         15              MR. WEINBERG:     I think there was an inconsistency in

         16     the conviction on the Bowflex.      And the government says so.          On

         17     page 1 of the sentencing memo they say you can't uphold -- to

         18     quote accurately, Your Honor, they say on page 1, "The fact

         19     that these items were bribes in exchange for Cromwell's promise

    11:26 20    to protect the contract as the jury found makes no sense if

         21     viewed in isolation.    They only make sense when viewed as part

         22     of the government's proof."

         23              But here we have a conspiracy acquittal that had no

         24     statute of limits instruction because Your Honor was going to

         25     weigh that if there was a conviction of the only donations that




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          1     were within the statute they were acquittals, so you have to

          2     infer that the jury found that none of the donations were

          3     supported by sufficient evidence under Your Honor's

          4     instructions to warrant a conviction.

          5               Here you have $1,700 equipment, so much consistent

          6     with an ordinary business gift that when you compare it to the

          7     donations, yes, it's inconsistent, but the inconsistency is in

          8     the convictions, not the acquittals.        And beyond the

          9     inconsistencies, there's just not a predicate to find, Judge,

    11:27 10    that the man didn't give that gym equipment because he was a

         11     friend of Mr. Cromwell, he saw his suffering.          He bought him a

         12     piece of equipment.     He came over to his house.          It was bought

         13     in their own names.     There was no concealment.       There was no

         14     RGB involvement.   He and Mr. Beretta went on -- Mr. Beretta

         15     went on the internet and they found the equipment.

         16               THE COURT:    I don't know how you can say there is no

         17     RGB involvement when the two principals are deeply involved in

         18     it.   You can make various portions of that.         That's the one

         19     that goes too far.

    11:27 20              MR. WEINBERG:    But all of the circumstantial evidence

         21     that the government offered that would be outside the paradigm

         22     of a business gift went to the donations, from the attorneys to

         23     CM International, to Mr. Mitrokostas.        This was just a

         24     non-concealed, straight-out request for a gift that they gave

         25     without any evidence of either a threat, pressure, promise, and




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          1     without any circumstantial evidence of any conduct that

          2     Mr. DeQuattro could have inferred put the contract at risk,

          3     remembering, Judge, they've done 28 straight months of no

          4     problems with performance.        Everybody was happy.         In a

          5     construction project where people are ordinarily not happy,

          6     they were happy because RGB, they honored the TERO process.

          7                THE COURT:   I'm familiar with all the reasons that

          8     they didn't take action.     The real question is whether or not

          9     the theory that the government advanced, which is protection

    11:29 10    money or protection arrangements, is sufficient, was

         11     sufficiently proven to the jury.        That's the ultimate issue for

         12     me, I think.

         13                MR. WEINBERG:   As to these two gifts.             As to, isolated

         14     out, to the two gifts that after November 2015, there were

         15     three requests.   One by Mr. Katerino for $4,000 for campaign

         16     dinners.   That was an acquittal.       The only other two requests

         17     by Mr. Cromwell, if you really had the contract over

         18     Mr. DeQuattro's head, the only thing he's asking for is a piece

         19     of gym equipment and a hotel suite?         Doesn't that get to

    11:29 20    inference upon inference?     Isn't that a speculative basis to

         21     think this man --

         22                THE COURT:   I'm not sure it does.        I raise that

         23     because I'm concerned obviously about the law of circumstantial

         24     evidence that's playing on my mind.         And the question for me

         25     is, the broader question for me is how properly to permit the




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          1     issue to be evaluated under the current views of the First

          2     Circuit and the Supreme Court.       But I think I understand the

          3     argument that you're making.       I want to hear from Mr. Flaherty

          4     if he has anything else.

          5               MR. WEINBERG:    If I could just burden the court.

          6               THE COURT:    Sure.    It's not a burden.          It's just to

          7     make sure everybody gets their talking part.

          8               MR. WEINBERG:    Two other quick points.           One being that

          9     by May of 2017, the contract had less value.           Yes, there was

    11:30 10    some hope that some court would reverse Judge Young's August of

         11     2016 opinion, but by May of 2017, they're filling in the roads.

         12     They're fixing up the infrastructure.         They're prepared,

         13     there's no ongoing construction.       The invoices are down to a

         14     fraction of what they were before.        And again, to infer that

         15     when they gave this business gift to Mr. Cromwell at his

         16     request that the motive was the RGB contract for the casino,

         17     again, is so highly speculative.       By this time they've worked

         18     on the project with no problems for 37 months.

         19               THE COURT:    I'm not sure what that means in terms of

    11:31 20    value.   It wasn't worth -- this was a contract that wasn't

         21     worth $10,000 in the calendar year?

         22               MR. WEINBERG:    I think it was worth that in the

         23     calendar year, but when you weigh what was going on in this

         24     man's head, remembering there's no bad act evidence here,

         25     there's no showing of having history where he was not ethical,




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          1     no bad act evidence.    When you ask the ultimate question, which

          2     Your Honor asked us to address when we heard argument under the

          3     equipoise statute law of the First Circuit, is it more or less

          4     than a likelihood that he was corrupt in giving these two gifts

          5     rather than only having the non-criminal purposes, and there

          6     were three, the friendship, the business motive, and even

          7     saying thank you, which in this circuit is a gratuity, which is

          8     outside 666, I urge the Court to find that the government just

          9     didn't satisfy the requirements of the First Circuit.

    11:32 10             This was speculative.      It was inference upon

         11     inference.   They just didn't prove the crime.         I understand Ms.

         12     Wichers thought it was to protect the contract.             They never

         13     proved that, Judge.

         14              THE COURT:     Okay.    I think I understand.

         15              MR. WEINBERG:     And the jurisdictional issue we also

         16     think is a serious one, whether because of the contract with

         17     RGB exclusively being within the Gaming Authority's --

         18              THE COURT:     I see, the question of whether or not this

         19     extends under 666(a) to the Gaming Authority here.

    11:33 20             MR. WEINBERG:     Thank you, Judge.

         21              THE COURT:     Mr. Flaherty, anything?

         22              MR. FLAHERTY:     Thank you, Your Honor.           I think I share

         23     the Court's concern about the circumstantial nature of the

         24     evidence in this case which resulted in the conviction.

         25              THE COURT:     It's not a concern.      It's just an




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          1     observation about that's where it is.        The question is whether

          2     or not that's going to be sufficient to permit the case to

          3     survive a motion for judgment of acquittal.

          4              MR. FLAHERTY:     Then maybe I stand alone with my

          5     concern, Judge.   I didn't mean to make an assumption of the

          6     Court.

          7              THE COURT:     It's different roles.

          8              MR. FLAHERTY:     Different roles.      But the rule of

          9     equipoise, if the evidence viewed in the light most favorable

    11:33 10    to the verdict gives equal or nearly equal circumstantial

         11     support to a theory of guilt and a theory of innocence of the

         12     crime charged, this Court must reverse the conviction.

         13              And in my mind, Judge, I understand the government's

         14     theory, and it's a theory, and it's a theory from which the

         15     entire case was driven, that the money was paid for protection

         16     of the contract, a contract that was never at risk.           There was

         17     no proof that the contract was ever at risk.          And this is a

         18     theory, a circumstantial theory that in my view of the

         19     evidence, of the record evidence, was unsupported by anything.

    11:34 20             There was no direct evidence of an official act.

         21     There was no, as I saw it, circumstantial evidence of an

         22     official act.   There was no evidence of a quo whatsoever, but

         23     there was this theory, sort of a theory built on winks and

         24     nods, a silent suggestion that the parties privately knew what

         25     each were doing, but there was no proof of any exchange of




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          1     communication or intent between the parties.

          2               In the Pothier decision that the Court pointed out and

          3     we went back and looked at, there are reasonable alternatives

          4     when the evidence is viewed in that case.         The Stewart case is

          5     incredibly troubling to me, Judge, because I know the Stewart

          6     case.   I know the neighborhood.     I grew up in that area.         I

          7     understand the footprint and actually went back and looked at

          8     it and visited the scene after reading it.         And I think the

          9     only reason that I can think that this Court's decision to

    11:35 10    grant habeas was overturned is because of the statement of the

         11     driver in Stewart where he lied and said he was alone, which

         12     must have, I guess in the Court's view, imputed knowledge of

         13     the act that occurred previously on Cambridge Street and

         14     therefore created some evidence of consciousness of guilt that

         15     therefore supported the theory of joint venture.

         16               But again, Judge, I'm totally troubled by the Stewart

         17     decision, and I think that it's bad law, frankly.

         18               THE COURT:    Well, nobody's overruled it, so it can be

         19     bad but still viable.

    11:35 20              MR. FLAHERTY:    But not controlling in this case.

         21               THE COURT:    It's controlling in the sense that it's a

         22     directive from the First Circuit.

         23               MR. FLAHERTY:    But the reason why I say that, Judge,

         24     is in this case, in this case, the record evidence in this case

         25     is dissimilar.   There was no evidence of any consciousness of




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          1     guilt, any statement.    There was no evidence that indicated,

          2     that supported the theory of protection of the contract.              And I

          3     understand the government's theory that there was a necessarily

          4     coercive environment just because of the relationship that this

          5     must have been for this.     And I think the jury, when I think

          6     back and analyze this, must have assumed, well, something was

          7     happening here.   But did they exclude any other alternative

          8     explanations beyond a reasonable doubt, as I point out in my

          9     memorandum.

    11:36 10             And I'm not trying to be fanciful or fantastical with

         11     the suggestions that I make.       But could have they excluded the

         12     reasonable possibilities?     And in my view, Judge, on the record

         13     evidence, they couldn't have.      And that's why my argument is

         14     that the circumstantial evidence in this case or what's

         15     referred to as circumstantial evidence in this case, and I

         16     suggest to the Court that there really isn't any circumstantial

         17     evidence to support the theory of protection of the contract,

         18     all of the concealment evidence, that was acquitted conduct,

         19     all of that evidence to me indicated that the concealment could

    11:37 20    have been for other reasons.       And we know about other

         21     activities that were happening in Mr. Cromwell's life that

         22     could have supported a reason for concealment.

         23              There were explanations, in my view, of what I will

         24     refer to as the gratuities, the hotel stay and the Bowflex,

         25     activities that were happening, events that were happening in




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          1     Mr. Cromwell's life that are reasonable explanations for those

          2     items being given to him, the $10,000 donation to One Nation

          3     Development and the change in the letters submitted to RGB

          4     about that, there's reasonable explanations for that which

          5     point to maybe an alternative intention between the parties

          6     that has nothing at all to do with the violation of 666 that

          7     doesn't support the theory of protection of the contract or any

          8     quo.

          9                 So for all of those reasons, Judge, I say that in my

    11:38 10    view the record evidence in this case, the so-called

         11     circumstantial evidence is simply a theory and nothing more;

         12     that it doesn't support the idea -- and I say this with all due

         13     respect, Judge -- the idea that what was happening here was a

         14     protection of the contract.           It is simply the wrongheaded view

         15     of what was transpiring.        And for those reasons, I think under

         16     the equipoise rule, the convictions must be reversed.                 Thank

         17     you for the opportunity.

         18                 THE COURT:   All right.       Ms. Wichers.      And I want you

         19     to focus on your theory, which was protection of the contract.

    11:39 20                MS. WICHERS:    Yes, Your Honor.

         21                 THE COURT:   I mean, I don't know of any other theory

         22     that you were pursuing.        You weren't pursuing stream of

         23     payments.

         24                 MS. WICHERS:    No.     You're correct.

         25                 As we pointed out in our memorandum, Your Honor asked




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          1     us to address Stewart v. Colter and the Pothier case, and they

          2     make clear that there's a two-step process that has to be done

          3     here.   Mr. Weinberg talked about when you isolate out the

          4     Bowflex and the hotel stay, and that is not what Colter and

          5     Pothier say.   The two-step process that a Court must engage in

          6     in deciding insufficiency of the evidence in a Rule 29 motion

          7     context is first to view all the evidence and all reasonable

          8     inferences therefrom in the light most favorable to the

          9     government in the aggregate, not in isolation.

    11:39 10              Secondly, viewing all of that, the question is could

         11     any reasonable jury find that evidence and those inferences

         12     proof of the elements beyond a reasonable doubt.            That's what

         13     the evidence showed.    And more specifically to address the

         14     defendants' specific arguments, when we were here before you

         15     last, Your Honor pointed out this quote.         Quote, "A conjecture

         16     consistent with the evidence becomes less and less a conjecture

         17     and moves gradually toward proof as alternative explanations

         18     are discarded or made more likely."       And in this case, that is

         19     what we proved.

    11:40 20              They argued, the defendants argued the first $50,000

         21     political donation, political donation, each one, and the

         22     jury -- certainly the evidence was there from which a

         23     reasonable jury could conclude, All right, maybe the first one

         24     was a political donation.     The second one is more suspect, it's

         25     right on its heels.     The third one is even more suspect.          Then




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          1     the fourth, then the fifth to this One Nation Development is

          2     really suspect, and now you're talking about something else

          3     with a different explanation that's clearly not a political

          4     donation.    You're talking about a Bowflex and then a hotel

          5     stay.   You've really, over time, as Your Honor pointed out,

          6     this has become more and more toxic.           And those two items

          7     viewed in that ladder, if you will, clearly a jury could

          8     find --

          9                 THE COURT:    So it's a number of acquitted conducts can

    11:41 10    be added to the sum?

         11                 MS. WICHERS:    Yes.

         12                 THE COURT:    Okay.

         13                 MS. WICHERS:    And then my only other point here is

         14     that both counsel have said you have to look at whether there's

         15     any other possible reasonable explanation and did the

         16     government prove that there was no other reasonable

         17     explanation.    Could the jury have found there was no reasonable

         18     other explanation.       We don't have to prove that.          That is not

         19     the burden of proof of the government.           That is not the correct

    11:42 20    standard.

         21                 THE COURT:    Well, it becomes more persuasive if you

         22     can do something like that, and I take it you don't undertake

         23     to do it.

         24                 MS. WICHERS:    No.     We certainly did.     We argued why it

         25     wasn't a gift, why it wasn't a gratuity, why it wasn't --




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          1              THE COURT:     I'm more focused on the Bowflex, or maybe

          2     we're focused on the Bowflex than the stay here.

          3              MS. WICHERS:    Yes.

          4              THE COURT:     But I guess I want to understand why I

          5     shouldn't, starting with the Bowflex, look at that as a humane

          6     gift under the circumstances and maybe, you know, not as well

          7     received or as gratefully received as it might otherwise have

          8     been by the defendant.    But do you really mean to tell me that

          9     that was enough to keep from a modification of the contract?

    11:43 10             MS. WICHERS:    Was it enough to keep from the --

         11              THE COURT:     It has to have been, ahead of time, they

         12     had to have known that they were going to protect themselves by

         13     giving things to Mr. Cromwell, presumably whenever he asked.

         14     And this falls in that category, a gift of a used Bowflex,

         15     reconstructed by Mr. DeQuattro in his home that was treated

         16     with disregard by the defendant himself, Mr. Cromwell himself.

         17              MS. WICHERS:    When looked at under the viewpoint

         18     principle and not in isolation, yes, the jury legitimately

         19     found that it was more and more implausible, the defendants'

    11:44 20    explanations are more and more implausible.          And once they got

         21     to the Bowflex, it was really implausible, and the government

         22     proved the elements beyond a reasonable doubt.          I understand

         23     that there was an argument that it was a gift, but the jury --

         24     and I don't know that it's terribly relevant that Mr. Cromwell

         25     was ungrateful.




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          1                THE COURT:   Why isn't it?       I mean, you know, if you're

          2     worried about influencing someone, an unhappy recipient is

          3     probably not the most effective influence.

          4                MS. WICHERS:    True.

          5                THE COURT:   And so you short-sheet him on something he

          6     wants.   He wants out-of-the-box rather than somebody's reused

          7     Bowflex.

          8                MS. WICHERS:    Right.

          9                THE COURT:   And he expresses that.

    11:44 10               MS. WICHERS:    Yes.

         11                THE COURT:   Isn't that element -- isn't that evidence,

         12     too, here?

         13                MS. WICHERS:    It is evidence but I don't think it is

         14     the most important evidence.         The most important evidence was

         15     the lead-up to the Bowflex.

         16                THE COURT:   The things on which there was an

         17     acquittal.   Isn't that important evidence?

         18                MS. WICHERS:    It is the cumulative nature.

         19                THE COURT:   Right.       But all of the lead-up is things

    11:45 20    that don't work before the jury, and now you say that's enough

         21     to create the toxicity.       I mean, I use Paracelsus, but I'm not

         22     sure he was speaking directly to this case.             But that's the

         23     theory the government has --

         24                MS. WICHERS:    That is the theory that under the

         25     viewpoint principle, looking at all of the evidence not in




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          1     isolation, the evidence and the inferences in the light most

          2     favorable to the government that, yes, absolutely, it's not

          3     inference upon inference; you have to look at it as a

          4     cumulative set of bribes.

          5               And so the Bowflex was not in and of itself -- I mean,

          6     their argument sounds more persuasive when you say how can one

          7     Bowflex and one hotel stay be things that a vendor gives to

          8     protect the contract.    But that again is viewing it in

          9     isolation.   It's not looking at it under the standard required

    11:46 10    by Pothier and Stewart.

         11               THE COURT:    Okay.    Well, I guess what I have to say is

         12     that I'm affected by a legal environment that is uncertain.

         13     It's uncertain with respect to what precisely is necessary for

         14     purposes of an analysis of a circumstantial case.           I outlined

         15     it by presenting what might be called the Yin and Yang of these

         16     kinds of cases, Pothier at one end and Stewart at another, that

         17     reflect developments within the First Circuit in this time

         18     period.   But I think it's sufficient here, at least under some

         19     case law within the First Circuit, to view this kind of

    11:46 20    increased toxicity as justifiable for the verdict.

         21               I also look at this more generally.         One can say that

         22     the defendant Cromwell's demands or at least inquiries were

         23     pretty limited for this.     But that just means that he was on

         24     offer for relatively modest amounts of money.          It doesn't mean

         25     it's a violation or doesn't mean that it isn't within the scope




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          1     of the statute here.    I have looked of course at the question

          2     of whether or not under these circumstances the so-called

          3     jurisdictional argument that Mr. Weinberg made reference to is

          4     applicable.

          5              My own view is that it's fairly clear to me that

          6     Congress intended it to extend to affiliates of the tribes

          7     themselves, and this was clearly that kind of affiliate.             I

          8     state these in general terms so we can move along on it.             In

          9     any event, I'm not going to grant the judgment of acquittal

    11:48 10    with respect to the 666(a) claim here.

         11              MR. WEINBERG:     Judge, I don't want to burden you, but

         12     could I at least make clear on the record that not only do we

         13     move for the judgment of acquittal, but I respectfully object

         14     to the government's position that is so heavily predicated on

         15     an argument that all facts get weighed in favor of the

         16     government when those facts have been rejected by the jury.

         17     They've relied substantively --

         18              THE COURT:     I understand all of that, and I have to

         19     tell you that my view is that, as a legal matter, irrespective

    11:49 20    of the overstatement, I have to say, of the government's

         21     position by Ms. Wichers, that this still falls within the range

         22     of things that have been accepted by the First Circuit in

         23     evaluation of circumstantial evidence.

         24              One of the dangers in this area is this gestalt, and

         25     trying to tease it out into various elements only emphasizes




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          1     that you can't disentangle it effectively.            Would I have done

          2     what the jury did is not the standard for me.             The question is

          3     was the jury properly instructed and was there enough for them

          4     to come to this conclusion, and I find that there was, under I

          5     will call it the Stewart Yin of the Yin and Yang of

          6     circumstantial evidence evaluations within the First Circuit.

          7                So that's where I end up on it.          I think I understand

          8     your point.   I don't think you have left a stone unturned in

          9     making the argument.      Nobody is going to say that you haven't

    11:50 10    here.   So that then brings us to the question of the

         11     guidelines.

         12                MS. WICHERS:    Your Honor, before we go there, the

         13     government does object and reserve its right to appeal the

         14     judgment of dismissal on the extortion counts.

         15                THE COURT:   Why do you have to make that objection?

         16     I'm just interested in the idea that you have to make an

         17     objection like that.

         18                MS. WICHERS:    Because the appellate unit told me to.

         19                THE COURT:   Where?       I see, the appellate, your

    11:51 20    appellate unit runs the game here, and so they told you you had

         21     to do something like that, and so you do it.

         22                MS. WICHERS:    That's correct.

         23                THE COURT:   Okay.      I mean, it's -- in any event, I

         24     shouldn't interfere with the advice of co-counsel in these

         25     matters.




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          1              So we're now faced with the issue of what do we do in

          2     light of the insights that Ms. Victoria has brought to bear in

          3     this case.   I'm not sure, first Mr. Flaherty and then

          4     Mr. Weinberg, if there are any remaining guidelines challenges

          5     to be made here.   I looked carefully at the Presentence Report,

          6     and this has been narrowed down to what I think is capable of

          7     being advanced, but perhaps I've missed something.             So are you

          8     going to go first, Mr. Weinberg?

          9              MR. WEINBERG:      I think there's at least probably two

    11:52 10    common challenges.      One being to Ms. Victoria's finding or view

         11     that the four-level enhancement for an elected public official

         12     should be added to the base guideline, which elevates the

         13     guideline from 14 to 18.

         14              THE COURT:      But why isn't that a fair way of referring

         15     to a sovereign's position?        I've said, you know, he was the

         16     voice of the sovereign here.        Isn't it demeaning to Indian

         17     tribal sovereignty to say he's a second-class official?

         18              MR. WEINBERG:      I would contend to Your Honor that,

         19     just as in the statutory analysis for 1951, the Sentencing

    11:53 20    Commission and implicitly Congress has every ability to write

         21     the text to include a tribal sovereign for an enhanced

         22     sentence, and there was nothing in the face of these guidelines

         23     that expand them to include the leader of a Commonwealth, the

         24     leader of a territory, political leaders that are not elected

         25     but they omit and do not mention anything to do --




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          1               THE COURT:    Does it cover state and local officials?

          2               MR. WEINBERG:    It does cover state and local

          3     officials.

          4               THE COURT:    So it's only as to representatives of the

          5     tribal sovereignty.     That's the argument that you're making.

          6               MR. WEINBERG:    They're omitted where the Sentencing

          7     Commission in its text included so many others.              But then they

          8     have a list of factors that you go through.           Is it within 201?

          9     No.   Are they state or local elected officials?             No.   Are they

    11:54 10    -- you know, the emphasis is on public and every one of these

         11     guideline criteria, Mr. Cromwell, whatever his leadership of a

         12     2600-member tribe is, it's not a public tribe.

         13               THE COURT:    But you're making this Manichean

         14     distinction between public and Indian sovereign, and I would

         15     suggest that Indian sovereign means a special kind of public.

         16               Now, is this language infelicitous?          Yes, it is.      The

         17     guidelines at every turn make clear how difficult it is to

         18     capture things on the run.       And of course we only now are

         19     getting a commission that's capable of even doing anything with

    11:55 20    the guidelines.   We've been dealing not with the dysfunctional

         21     Sentencing Commission, a nonfunctional Sentencing Commission.

         22     But reading this language from a broader perspective, I wonder

         23     whether that makes sense.

         24               MR. WEINBERG:    The Commission did try to address the

         25     scope of -- in that, I think section E, and he talked about, is




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          1     this somebody who is acting under color of law or official

          2     right, just like as to language of the Hobbs Act official

          3     right.    Is he different than, you know, somebody who is elected

          4     by the public in terms of an open-ended public?              And that's

          5     what all of the other criteria mentioned, except one where they

          6     exclusively talk about someone who is a political leader almost

          7     anticipating the Supreme Court's case in Percoco or however I

          8     pronounce that.

          9                THE COURT:   I note, as you just have, that Percoco is

    11:56 10    going to be argued at the end of this month.           The briefing was

         11     only completed yesterday.

         12                MR. WEINBERG:   Lastly, Judge, if we remember what the

         13     act is that Mr. Cromwell is being punished for and that it

         14     risks an elevation of Mr. DeQuattro's sentence, it's

         15     Mr. Cromwell's conduct as the chairman of the Gaming Authority,

         16     not the chairman of the tribe.       He wasn't elected to the Gaming

         17     Authority.   He was appointed because he was the head of the

         18     tribe.    He was one of five members.      It was a business

         19     transaction.   It didn't deal with legislation.          It didn't

    11:56 20    deal --

         21                THE COURT:   But that's not a requirement, that it deal

         22     with legislation.

         23                MR. WEINBERG:   No.     The requirement is that it be an

         24     elected public official whose conduct as an elected public

         25     official is at the heart of 666.       He was a member of a Gaming




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          1     Authority that --

          2               THE COURT:    You mean you have to be elected at each of

          3     the levels separately?

          4               MR. WEINBERG:    If there's the separation, as there

          5     is --

          6               THE COURT:    And if I say there isn't?

          7               MR. WEINBERG:    The Gaming Authority insulated the

          8     tribe from any liability for any decision made by Mr. Cromwell,

          9     any decision about federal program funds.         So in this case --

    11:57 10              THE COURT:    I'm not sure I understand what you mean by

         11     that, insulated the tribe?

         12               MR. WEINBERG:    Well, from Mr. DeQuattro's perspective,

         13     he's dealing with Mr. Cromwell not as the head of the tribe as

         14     he did when they built the government center but as the head of

         15     the Gaming Authority.     They signed the contract that said that

         16     no liability by the Gaming Authority to RGB can obligate the

         17     tribe.   You can't sue the tribe.

         18               THE COURT:    But you could sue the Gaming Authority.

         19               MR. WEINBERG:    You could sue the Gaming Authority.

    11:58 20              THE COURT:    So the Gaming Authority is simply a

         21     subordinate entity of the tribe?

         22               MR. WEINBERG:    But he wasn't elected to the Gaming

         23     Authority, Judge.

         24               THE COURT:    I think I understand that argument.

         25               Anything else, Mr. Flaherty?




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          1               MR. FLAHERTY:    Just, not to repeat and reiterate

          2     Mr. Weinberg's arguments, but I think the catch-all clause,

          3     subsection paragraph E of 2C1.1 does not include tribal

          4     officials, Judge.   And I know that you said are we then to say

          5     that tribal sovereign officials are second-class citizens.               No,

          6     not at all, or second-class officials.          But they're not public

          7     officials.   Tribal government affairs, the Mashpee Wampanoag

          8     tribe is no more public than the Edgartown Yacht Club, Your

          9     Honor.

    11:59 10              THE COURT:    The government hasn't yet gone after the

         11     Edgartown Yacht Club for breach of fiduciary duty or some

         12     property crime, wire fraud.        That's not the issue.       The issue

         13     is whether or not we're dealing with a sovereign who can be

         14     swept up in this particular guideline.

         15               MR. FLAHERTY:    But to reiterate my arguments in Rule

         16     29 and my memorandums afterwards post-conviction, public means

         17     just what it means, Judge.       And the elections were limited to

         18     the 2,600-member Mashpee Wampanoag Tribe.           I couldn't

         19     participate.   You couldn't participate.         Any other person who

    11:59 20    is not an enrolled member of the tribe couldn't participate.

         21     That membership is guided by ancestral lineage, bloodlines, and

         22     the tribe by its very existence, by its definition, is not

         23     public.

         24               Article I Section 8 recognizes independence of tribes.

         25     And that's going back to 1787.        And I know it's been abrogated




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          1     in many respects over the years, but here the sentencing

          2     guidelines are silent.     1951 is silent.        And for those reasons,

          3     Judge, the court has I know thought very long and hard about

          4     it, I would suggest that that particular enhancement on

          5     sentencing not be applied in this case or any tribal case

          6     specifically because the language is not included therein

          7     describing tribal officials as elected public, public

          8     officials.

          9                 THE COURT:   Well, I'm not going to allow the

    12:00 10    enhancement, and the reason I'm not going to is basically the

         11     same way in which I dealt with 666(a) here.             If an entity, a

         12     government entity like the Sentencing Commission wants to do

         13     it, they know how to do it.         The language is clear in this area

         14     that it requires them to apply.         They haven't drawn the tribe

         15     into this directly.      They've given a generality, a generality

         16     generated I think by where they were at the time that they

         17     entered that guideline.      Maybe they'll tidy it up.          They've got

         18     a lot of work to do.     This will become part of their work if

         19     that's what they want to do.        But until they do, it seems to me

    12:01 20    that this is not a guideline that I'm going to honor for these

         21     purposes.    So I exclude that.

         22                 Now I ask a separate question with respect to this.

         23     It's a larger question that's raised by these kinds of

         24     guidelines, and I don't know whether the parties -- well, the

         25     parties will be heard on it.        I don't know whether they've




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          1     considered it deeply, but it's this.        It's pretty clear to me

          2     that the Sentencing Commission at least is making a distinction

          3     between the persons who offer a bribe and the persons who

          4     solicit the bribe and that the persons who solicit the bribe

          5     are the more culpable in this area.

          6              That hasn't really been fully developed into case law

          7     under statutes, but it seems to be the thrust of what's going

          8     on in the guidelines themselves.      I ask that question because

          9     it's perhaps in the air in dealing with this.          It would affect

    12:03 10    the question of what the proper sentence should be in dealing

         11     with this.   And I don't know whether the parties want to be

         12     heard with respect to that before we move on, because I think

         13     that's the only guideline issue.      Perhaps there's another

         14     guideline issue that you want to raise.

         15              MR. WEINBERG:     There's just one other guideline issue,

         16     Your Honor, and that's the multiple bribe, two-level

         17     enhancements for the multiple gifts.        I want to make sure, I

         18     argued in the Rule 29 that Your Honor could consider one rather

         19     than both.

    12:03 20             THE COURT:     Why would I do that?      I mean, where?

         21     They're two discrete things.

         22              MR. WEINBERG:     They're discrete gifts, but they have a

         23     common object, according to the government theory.

         24              THE COURT:     Every gift that has a common object

         25     becomes a single gift?    Gift, I shouldn't say.        Bribe.    That




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          1     is, they break it up.      You know, the Bowflex wasn't brought to

          2     the hotel room.    It's not part of the same kind of activity.

          3                MR. WEINBERG:    The guideline is not crystal clear, but

          4     the case law kind of says the first factor, this is the Arshad

          5     case quoted by Ms. Victoria, had a number of different ways to

          6     uphold the multiple bribe allegation.         But it said the first

          7     factor, which the Court found determinative, is whether the

          8     payments were made to influence a single action.             The

          9     government theory here is that you can't take the Bowflex

    12:04 10    without taking the acquitted conduct and considering it, even

         11     though they don't have a stream of payments.

         12                THE COURT:   So protecting a contract is a single

         13     action.

         14                MR. WEINBERG:    That would be the argument, is that the

         15     government theory was that there's a singular purpose to these

         16     multiple requests and multiple gifts.

         17                Now, they didn't occur at the same time.           Certain

         18     cases go off and talk about whether it's an installment

         19     program.   The Court has discretion when there's a single

    12:05 20    purpose to multiple gifts to not impose the multiple bribe

         21     guideline, and this would be an appropriate case for not

         22     imposing it.

         23                THE COURT:   Okay.     I don't accept that argument.         The

         24     language in this area can be, even in the judicial decisions,

         25     Delphic at best.   But taking away the distinctions between the




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          1     separate kinds of bribes that are made in this case seems to me

          2     to really conflate beyond actual recognition of what's going

          3     on, the government's theory of the case.         So I decline to do

          4     that.

          5              So let's go back then to where the guidelines are,

          6     unless the government wants to be heard in some fashion on

          7     this?

          8              MS. WICHERS:    Just on the issue that Your Honor raised

          9     about whether the guidelines place more culpability on the

    12:06 10    recipient of the bribe than the payor.

         11              THE COURT:     Okay.

         12              MS. WICHERS:    I don't see that in the guidelines.           I

         13     do see, obviously, that people, the public official is more

         14     culpable, a public official is a more culpable than a

         15     non-public official.

         16              THE COURT:     So let's go look at the special offense

         17     characteristics and particularly the language, the 203 language

         18     that says, "An elected official or any official holding a high

         19     level decisionmaking or sensitive position" -- now that's not

    12:07 20    necessarily who we're dealing with here -- "is subject to a

         21     more significant recognition reflecting the Commission's

         22     conclusion that, in general, public corruption offenses

         23     previously did not receive punishment commensurate with the

         24     gravity of the offense," and that the government, the

         25     Sentencing Commission meant to reflect the Commission's view




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          1     that "offenders who abuse their positions of public trust are

          2     inherently more culpable than those who seek to corrupt them

          3     and their offenses present a somewhat greater threat to the

          4     integrity of the governmental process."

          5              Now, it may be a little bit different under other

          6     circumstances.   The variety of ways in which people are

          7     corrupted or offer themselves up for corruption are more

          8     complex, but this is one in which it seems to me possible to

          9     say that Mr. DeQuattro was on a different level than

    12:08 10    Mr. Cromwell here, and I don't know why I wouldn't look at it

         11     from that perspective.    Whether or not it's applying the

         12     guidelines is simply to alert you to my view about relative

         13     culpability of offers and solicitors.

         14              MS. WICHERS:    Well, certainly I think the government

         15     agrees that Mr. Cromwell is more culpable in the sense that he

         16     is a public official, and he exerted the influence and the

         17     power of that public office to his benefit.          And I take your

         18     point -- I think I take your point that Mr. DeQuattro is

         19     perhaps less culpable in the sentencing context because he did

    12:09 20    not offer the bribes.    They were solicited by Mr. Cromwell, and

         21     he complied and he paid them, rather than offering, rather than

         22     being the first person to offer the bribes.

         23              I don't know that that makes him less -- I see the

         24     point, but I don't know that it makes him less culpable in the

         25     sense that you've got to have a quid and you have to have a




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          1     quo.

          2                THE COURT:   Well, that flattens the landscape

          3     substantially, and that's a problem.           That is to say, once

          4     you're guilty, you're guilty.        You're in for a dime, you're in

          5     for a dollar.   It's a lack of proportion.           And I have to make a

          6     proportionate determination.         It may be the same proportion; it

          7     may not.   But to say, Gee, everybody's culpable here, don't

          8     make a distinction.

          9                MS. WICHERS:    Again, I think the culpability really, I

    12:10 10    certainly agree that Mr. Cromwell is more culpable.              But I

         11     think the government's point is that is because he was a public

         12     official and exerted his influence and power.             Mr. DeQuattro

         13     was not.

         14                THE COURT:   Okay.      I understand the point I think.

         15     I'm sorry, Mr. Weinberg, something else?

         16                MR. WEINBERG:     Yes.    Speaking for Mr. DeQuattro, I

         17     would think there's a related factor, and it really goes to the

         18     heartland or what is the paradigm of bribery, which is two

         19     factors that are important in Your Honor's consideration of

    12:10 20    this issue.

         21                You know, one is the government agrees that he had,

         22     again under the Court's ultimate determination, multiple

         23     motives, that the government says in their objection to the

         24     Presentence Report, "The government does not dispute that based

         25     on the trial evidence the jury could have found that friendship




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          1     and/or desire to generate future business was one reason why

          2     Mr. DeQuattro gave Cromwell the Bowflex, paid for his hotel

          3     stay."   That may not make him innocent to the extent the Court

          4     found sufficient evidence of an --

          5               THE COURT:    That I guess is the point.          If we were

          6     assuming that there was an acquittal on these counts and

          7     somehow it came into the context of calculating the guidelines,

          8     I'd be obligated I think to observe the choice that the jury

          9     made on that subject, irrespective of whether it might be

    12:11 10    construed differently.    It doesn't quite arise in that context

         11     because it doesn't arise in that context when the government

         12     raises the claim or when the government is not faced with

         13     acquittal.

         14               MR. WEINBERG:    But if somebody has multiple motives,

         15     and let's say the predominant motive, as I would contend, was a

         16     gift to Mr. Cromwell because of his health conditions, the

         17     predominate motive for the hotel was future business, not the

         18     RGB contract, even if there was sufficient evidence of the RGB

         19     contract submitted to a jury, it matters for sentencing that

    12:12 20    this was different than the paradigm of somebody --

         21               THE COURT:    It may.    But I want to be sure that I'm

         22     not missing an argument that you're making that multiple

         23     motives categorically exclude bribery here, if there's more

         24     than simple bribery involved in this.

         25               MR. WEINBERG:    I don't think if you had an incidental




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          1     motive that you're like the person you're bribing and wanted to

          2     give him something that that immunizes you --

          3                 THE COURT:   That isn't the question, as you know.          And

          4     so I'm taking it that you are not challenging, there doesn't

          5     seem to be a basis to challenge the idea that if there is among

          6     the mixed motives bribery, that's sufficient as I instructed

          7     the jury.

          8                 MR. WEINBERG:   I didn't object to that instruction

          9     then and I'm not going to object to it now.           I don't think that

    12:13 10    if you have mixed motives that you can immunize the criminal

         11     motive with the benign motive, but I do think to the extent

         12     that Your Honor thinks that the benign motive was there

         13     juxtaposed with the illegal motive and even predominated as the

         14     principal motive, I think that's a very significant sentencing

         15     factor as is the fact, Your Honor, that he never initiated any

         16     conduct.    He never asked for anything.       He never asked for a

         17     benefit.    He never received one.     He never asked to go and

         18     initiate a payment.      I think that, too, is supportive of the

         19     distinction between he who receives and who he gives in this

    12:14 20    case.

         21                 I don't think you have to make it global.         If there

         22     was somebody that was pushing money on a public official, Your

         23     Honor might find in that paradigm there shouldn't be

         24     distinctions.    But with Mr. DeQuattro in this case and these

         25     facts, I believe they strongly spell out a case that's outside




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          1     the heartland.   And as the statistics we gave you, 27 to 35

          2     percent of bribery convictions under 2C1.1 end up with

          3     probations and home confinements.       And I know we're not at

          4     sentencing yet, but we're getting there.         And I believe that

          5     Mr. DeQuattro's offense conduct on the unique facts of this

          6     case and what he didn't do cry out for a strong consideration

          7     along with all the other factors that we've provided to the

          8     Court.

          9               THE COURT:    All right.   Thank you.      Mr. Flaherty,

    12:15 10    anything you want to add to that?

         11               MR. FLAHERTY:    Just to say, Judge, I don't see any

         12     specific language in the sentencing guidelines that says that

         13     the solicitor should be held more culpable than any other

         14     party.   And I understand the undercurrent, Judge.          I just ask

         15     the Court to exercise its discretion with proportionality.

         16               THE COURT:    All right.   Well, what I'm making

         17     reference to is the kind of language that the Commission was

         18     using during the course of its amendment process, which is

         19     perhaps useful, perhaps not in this context, but it's certainly

    12:15 20    not obligatory in this setting.

         21               So we go back then to the guideline calculation.            As

         22     always, Ms. Victoria, I need help on that.         I take it now we're

         23     dealing with a total offense level of 14.         Is that right?

         24               U.S. PROBATION:      Are we talking about Mr. DeQuattro?

         25               THE COURT:    Yes.




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          1              U.S. PROBATION:     Yes.    So for Mr. DeQuattro, you are

          2     correct, Your Honor.    It's base offense level two plus two for

          3     more than one bribe, adjusted offense level and total offense

          4     level of 14.

          5              THE COURT:     Okay.    And that generates guidelines of?

          6              U.S. PROBATION:     With a Criminal History Category I,

          7     that generates an advisory guideline range of 15 to 21 months,

          8     one to three years of supervised release and a fine range of

          9     7,500 to 75,000.

    12:16 10             THE COURT:     And he is eligible for probation, isn't

         11     he?

         12              U.S. PROBATION:     No, Your Honor.       With a total offense

         13     level of 14, it falls within Zone D of the sentencing table.

         14     So under the guidelines, no, but per the statute, yes, one to

         15     five years.

         16              THE COURT:     Okay.

         17              U.S. PROBATION:     If you were to impose probation, it

         18     would have to be a variance or a departure from the guidelines.

         19              THE COURT:     And why wouldn't I do that if that was --

    12:17 20             U.S. PROBATION:     Yes, you certainly can.

         21              THE COURT:     This kind of distinction between

         22     supervised release and probation is increasingly artificial.               I

         23     just want to be sure I haven't missed something other than the

         24     bucket that the Sentencing Commission would like us to put

         25     things in.




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          1              U.S. PROBATION:     No, Your Honor.      I think practically

          2     speaking, time served, you know, one day and supervised release

          3     and a year or however many years of probation are essentially

          4     practically the same thing.

          5              THE COURT:     Right, right.    Okay.    All right.     Any

          6     dispute about those guidelines as a basis for the discussion

          7     that I've had so far?

          8              MR. WEINBERG:     No, Your Honor.

          9              MS. WICHERS:    Yes, Your Honor.      We disagree about your

    12:18 10    rejection of the public official enhancement.

         11              THE COURT:     Right, I understand that, but now I've

         12     made those calculations.

         13              MS. WICHERS:    Yes.

         14              THE COURT:     Do you disagree with anything that we have

         15     here, not in the past, just now disagree with any of it?

         16              MS. WICHERS:    I agree that 12 plus two is 14 and it

         17     falls outside of the -- falls in Zone D.

         18              THE COURT:     Mr. Weinberg, same thing?

         19              MR. WEINBERG:     I agree, yes, Your Honor.

    12:18 20             THE COURT:     Okay.    So let's turn to Mr. Cromwell for

         21     the calculations.

         22              U.S. PROBATION:     Your Honor, with respect to

         23     Mr. Cromwell, the parties had raised a couple of other

         24     objections in the PSR.    I don't know if they're pursuing them

         25     today.




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          1                THE COURT:   Maybe, Mr. Flaherty, if you want to go to

          2     those, anything else that you want to raise?

          3                MR. FLAHERTY:   Well, the calculation of the loss,

          4     Judge, I think it's a six-level enhancement, and the

          5     calculation of loss that Probation and the government I guess

          6     agree on is 53,000, and it includes acquitted conduct.

          7                THE COURT:   Right.

          8                MR. FLAHERTY:   And I'd like to vigorously argue,

          9     Judge, that the calculation of the loss should only be the

    12:19 10    value of the Bowflex and the hotel suite and the $10,000 check

         11     for which Mr. Cromwell was convicted by the jury.             And the

         12     Court has denied the motion for judgment of acquittal on that.

         13     And, you know, my argument I guess is what's the reason to have

         14     a trial?   And we spent many months, Judge --

         15                THE COURT:   Well, but acquitted conduct is something

         16     that the courts are permitted to consider, and the question is

         17     why shouldn't I, I guess?

         18                MR. FLAHERTY:   Well, I would suggest you shouldn't,

         19     Judge, because it's otherwise bad policy to consider it.               I

    12:20 20    think that we want to encourage jury trials.          I think we want

         21     to encourage parties to make principled challenges to evidence.

         22     I think we want to encourage parties to not seek the benefit to

         23     plead guilty and a reduction for an acceptance of

         24     responsibility.

         25                THE COURT:   That's a different issue.           Acceptance of




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          1     responsibility is a different issue under these circumstances.

          2     And nobody's, at least in this session, getting dinged for

          3     going to trial.   But once they go to trial, I have to make

          4     reasoned judgments about various factors that bear on

          5     sentencing.   Among them, other activity.        Maybe even uncharged

          6     activity as well.   And I'm not sure why I wouldn't do that,

          7     under these circumstances, assuming that there has been shown

          8     by a fair preponderance that the transactions took place.

          9              MR. FLAHERTY:     I suppose, Judge, I would ask the Court

    12:21 10    to respect the jury's verdict of acquittal.          And I understand

         11     that the Court is not obligated to consider the acquitted

         12     conduct, but I think in this case I would ask the Court not to

         13     include it for the purposes of loss in the six-level

         14     enhancement that dramatically changes the guidelines

         15     calculation with respect to Mr. Cromwell because the jury

         16     rejected that proposition that these were bribes.

         17              And I'd simply say, Judge, that it just strikes me

         18     that if a party puts himself at the bar at prejudice and

         19     suffers all the prejudice of going to trial and then is

    12:22 20    acquitted after a very what I would say a well-tried case by

         21     the government, by the parties and by the Court, and if the

         22     jury does acquit, the benefit of the acquittal should inure to

         23     the defendant, most respectfully, Your Honor.

         24              And I recognize the fact that there is that sort of

         25     element of these transactions occurred, they were charged, but




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          1     the criminality of them was rejected by the jury.           And for

          2     those reasons, I would ask the Court not to sentence

          3     Mr. Cromwell with respect to that loss and limit the loss to

          4     only those dollars and the value of the gifts or the items that

          5     he received for which he was convicted by this jury.

          6              THE COURT:     All right.

          7              MS. WICHERS:    May I be heard, Your Honor?

          8              THE COURT:     Yes.

          9              MS. WICHERS:    The jury convicted Mr. Cromwell on the

    12:23 10    extortion counts, including conspiracy to commit extortion.             So

         11     we agree that the Court should respect the jury's verdict, but

         12     that would include all of the $50,000 and the Bowflex and the

         13     hotel stay.

         14              THE COURT:     I'm not sure I understand that.

         15              MS. WICHERS:    I believe that Mr. Flaherty was arguing

         16     that his client was not convicted of conspiracy to commit 666

         17     bribery and therefore Your Honor should not consider all of the

         18     acts that fell within the conspiracy, including the $40,000

         19     that preceded the fifth check.       He was convicted of conspiracy

    12:23 20    to commit extortion, and that would include all of the $50,000.

         21              THE COURT:     I'm not sure why I shouldn't -- why my

         22     decision to grant judgment of acquittal with respect to the

         23     Hobbs Act doesn't extend to 1951.

         24              MS. WICHERS:    That is a legal decision, a decision as

         25     a matter of law.   It doesn't distort or reverse the facts as




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          1     found by the jury.

          2                 THE COURT:   Right.       The question is, I guess I had

          3     been assuming that that's what I was doing.

          4                 MS. WICHERS:    But the jury, Your Honor, did not reject

          5     the criminality that Mr. Cromwell even --

          6                 THE COURT:   My point is, given the determinations I've

          7     made about the sovereignty concerns, don't they extend to 1951?

          8                 MS. WICHERS:    Your Honor has held that they do.

          9                 THE COURT:   Right.       And it's not a foolish consistency

    12:25 10    to try to be consistent.

         11                 MS. WICHERS:    Well, our point is that the jury found

         12     that Mr. Cromwell extorted 50,000 plus the Bowflex and the

         13     hotel stay from RGB.

         14                 Now, Your Honor has held, okay, that's true, but he

         15     cannot be held liable under the statute because he's a tribal

         16     official.

         17                 THE COURT:   Right.       I mean, this will give you some

         18     more things to talk about with your appellate advisors, right?

         19     But it's consistent with the decision that I've made to have

    12:26 20    that extend to the conspiracy to extort.

         21                 MS. WICHERS:    We disagree, but I take your point, Your

         22     Honor.

         23                 THE COURT:   You keep saying you disagree.

         24                 MS. WICHERS:    Yes.

         25                 THE COURT:   You've got to be clear about it.            I really




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          1     am trying to be sure that I give every party their due, and so

          2     I ask the questions over and over again to make sure that I

          3     haven't missed something here.      But you don't like the

          4     determination that I've made with respect to Hobbs Act

          5     extortion.   Okay, I understand that.       But I've made it.

          6              Now, there was a conviction for an extortion count

          7     here, and that's the conspiracy to extort, and I don't know why

          8     that isn't swept up in what you believe to be the erroneous

          9     determination that I've made about the Hobbs Act.

    12:27 10             MS. WICHERS:     Because we believe, the government

         11     believes that in the context of sentencing, we have to go with

         12     the jury's verdict.     As a matter of law, Your Honor has said --

         13              THE COURT:     Okay, but I have to do that for purposes

         14     of the guidelines, don't I?

         15              MS. WICHERS:     I've made my point.      Thank you.

         16              THE COURT:     Not entirely.    You obscured it.       So I

         17     guess, Ms. Victoria, under the circumstances in which I've

         18     dismissed the Hobbs Act matters or judgment of acquittal, is

         19     there any reason why conspiracy to commit extortion would be

    12:27 20    included in the guidelines?

         21              U.S. PROBATION:     No, it wouldn't be included.         That's

         22     not the reason that I included the additional payments.            I

         23     think that just under general relevant conduct principles you

         24     could include them, but I think your analysis is correct.              You

         25     shouldn't be considering if you've acquitted on those counts.




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          1     You can, in your discretion, consider it for the guidelines,

          2     but to be consistent, you may not want to.

          3                 THE COURT:   Right.       I think I'm not going to do it for

          4     the guidelines.    So that then takes me back to what I consider

          5     to be the proper calculation of the guidelines.                 It may be that

          6     I look at acquitted conduct in various ways, as Ms. Victoria

          7     indicated, but that's the next step in this.              So if we're

          8     dealing with that, we've got under $25,000 I guess, right, as

          9     the loss?

    12:28 10                U.S. PROBATION:     You're saying excluding the other

         11     four $10,000 payments?

         12                 THE COURT:   Right.

         13                 U.S. PROBATION:     Yes, it would be 13,000 or so of

         14     loss.

         15                 THE COURT:   Right.       So what's the relevant guideline

         16     for that?

         17                 U.S. PROBATION:     That would be a two-level loss

         18     enhancement instead of six.

         19                 THE COURT:   Okay.      So that then takes us to --

    12:29 20                MS. WICHERS:    Your Honor, the government had one more

         21     objection.

         22                 THE COURT:   Okay.      I'll hear that, but I want to do

         23     these serially rather than all merged together.

         24                 U.S. PROBATION:     Your Honor, just to explain, under

         25     2B1.1, subsection (b)(1)(B), because the loss would be more




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          1     than 6,500 but not more than 15,000, it would be a two-level

          2     increase for loss.

          3              THE COURT:     Or alternatively stated reduce the total

          4     offense level to 24?

          5              U.S. PROBATION:     No, Your Honor.       So far we have that

          6     the base offense level would be 12 because you've determined

          7     that the defendant is not a public official.           So it would be a

          8     base offense level of 12, plus two for more than one bribe,

          9     plus two for the loss.    So now we're at a 16.

    12:30 10             THE COURT:     Right.

         11              U.S. PROBATION:     We've taken out the four-level for

         12     elected public official as well.

         13              THE COURT:     So, okay.    I think that deals with your

         14     objections, Mr. Flaherty.       I do want to hear from the

         15     government obviously.

         16              MR. FLAHERTY:     Yes, sir.

         17              THE COURT:     Okay.    So, Ms. Wichers.

         18              MS. WICHERS:    Yes, Your Honor.       The government is

         19     asking for and believes that it's appropriate for a two-point

    12:31 20    enhancement under 3B1.1(c) because Mr. Cromwell supervised

         21     Constantinos Mitrokostas in the criminal activity, specifically

         22     directing him to use his shell company CM International

         23     Consulting as a passthrough for Mr. DeQuattro's checks and to

         24     then use that passthrough to pay him, Mr. Cromwell, in

         25     anonymous treasurer's checks.




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          1                THE COURT:   All right.     Let me look at this again.

          2     Remind me, did you designate Mr. Mitrokostas as an unindicted

          3     co-conspirator?

          4                MS. WICHERS:    We did not, Your Honor, because we did

          5     not believe that he knew about the ultimate purpose of why he

          6     was asked to basically launder the checks.

          7                THE COURT:   So why isn't that relevant here when we

          8     talk about 3B1.1 which defines a participant as someone who is

          9     criminally responsible for the commission of the offense but

    12:33 10    need not have been convicted?

         11                MS. WICHERS:    What was the portion you just read?             I'm

         12     sorry, Your Honor.

         13                THE COURT:   3B1.1 defines a participant as someone who

         14     is -- I'm reading of course from the Probation Office's

         15     response to the addendum -- as someone who is criminally

         16     responsible.   You go to your assistant and say, "Mail this

         17     letter."   Have you now brought yourself within that aggravating

         18     offense as an organizer, leader?

         19                MS. WICHERS:    No.     And we're actually arguing under

    12:33 20    3B1.1(c) specifically not talking about a participant but that

         21     Mr. Cromwell supervised Mr. Mitrokostas in the criminal

         22     activity, and it wasn't just mailing a letter, but it was, "I

         23     want you to use one of your shell companies, let's try" -- I

         24     can't remember the name of it -- "the CM International

         25     consulting.    Oh, that's dead.      We'll use the other one.        Oh,




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          1     that's dead."   Then he goes back to CM International after

          2     reinstating it through the Secretary of State.            "Now take these

          3     checks," and the initial check was for $10,000 from

          4     Mr. DeQuattro, and Mr. Cromwell says, "I want you to take that

          5     to the bank on different dates.        Take it to the bank, deposit

          6     it, and then on different dates get anonymous treasurer's

          7     checks in smaller amounts, and don't make it out to my full

          8     name.   Make it out to C. Cromwell or C.D. Cromwell.            Do that."

          9     And we don't have any evidence that he told him why but he

    12:34 10    supervised him in that way and in that way allowed the checks

         11     to be laundered.

         12               THE COURT:    But I still don't understand how you would

         13     respond to my asking the assistant to make a change in the file

         14     with the Secretary of State or something like that.             That is,

         15     the assumption is because the government took the position that

         16     Mr. Mitrokostas was not a co-conspirator, that he was not

         17     criminally responsible here.        And so it kind of captures, you

         18     pick it up by C.   And why isn't C applicable to the

         19     hypothetical that I've raised, someone who is unaware?              If

    12:35 20    they're aware, that's a different issue.           Then we're talking

         21     about are they criminally culpable, and of course they're not.

         22     Mr. Mitrokostas is not.

         23               MS. WICHERS:    Understood, but we're reading any

         24     criminal activity as criminal activity of Mr. Cromwell, not

         25     Mr. Mitrokostas.   We're not arguing that Mr. Mitrokostas --




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          1              THE COURT:     So I'm back to my hypothetical.          Why

          2     doesn't that apply?     You're saying Mr. Mitrokostas doesn't have

          3     to be criminal.    He's just being supervised, right?          Okay.    So

          4     let's take the assistant who is told first to mail the letter,

          5     then told to go to the Secretary of State's office and change

          6     or submit 50 bucks or whatever it is that you submit, and

          7     consequently, he goes in and does that.         Are they captured by

          8     C?

          9              MS. WICHERS:     I think it's obviously a balancing test

    12:36 10    how much of the -- sorry.

         11              THE COURT:     But what's the balance?        What's the

         12     tipping balance?   Culpability, isn't it?         That is, you've

         13     referred to Mr. Mitrokostas as being aware of what's going on

         14     under these circumstances.       If he was aware of what's going on,

         15     you think he would be a co-conspirator.

         16              MS. WICHERS:     We have not said that he was aware of

         17     what was going on in terms of the ultimate goal of RGB bribing

         18     Mr. Cromwell.   But this wasn't just a "Go mail the letter."

         19     This was a specific scheme that Mr. Cromwell supervised in

    12:37 20    terms of getting Mr. Mitrokostas to do some of the --

         21              THE COURT:     Let's assume, as I tried to, that all of

         22     the activities that the assistant performs are the same ones

         23     that Mr. Mitrokostas performed.       Are you saying that the

         24     assistant would be sufficient to cause the application of C?

         25              MS. WICHERS:     Yes.     If the assistant had a shell copy




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          1     and Mr. Cromwell asked the assistant, "I want you to reinstate

          2     your shell company and take those checks that you're going to

          3     get from Mr. DeQuattro and then funnel them through your shell

          4     company and get me anonymous treasurer's checks," and that

          5     person happened to be his assistant, then yes.

          6                THE COURT:    Okay.    Ms. Victoria, any thoughts about

          7     that?   It's a refinement that's been developed here.

          8                U.S. PROBATION:    Your Honor, yes.      The way that we've

          9     always viewed the leadership enhancement under 3B1.1, whether

    12:38 10    you're under A, B or C, there has to be at least one other

         11     criminal participant that you're supervising.           So as

         12     "participant" is defined, it's somebody who is criminally

         13     responsible for the commission of the offense.

         14                THE COURT:    But isn't that importing into C something

         15     that only appears in A and B?

         16                U.S. PROBATION:    Well, A and B have a minimum of five

         17     or more.

         18                THE COURT:    Right, but they talk about participants.

         19     This one does not.      I understand the numbers that are involved.

    12:39 20               U.S. PROBATION:    I do see what you're saying.         C

         21     doesn't specifically list the word "criminal participant."              But

         22     implicitly a criminal activity would have more than one

         23     participant.   And if he were an organizer, leader, manager or

         24     supervisor, I suppose it could be over a criminal activity with

         25     no other participants, but we've always interpreted it as there




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          1     needs to be somebody that you're instructing that could be

          2     criminally liable for the offense.

          3              Your Honor, actually, application note 2, "To qualify

          4     for an adjustment under this section, the defendant must have

          5     been an organizer, leader, manager or supervisor of one or more

          6     other participants."    So then that refers you back to the

          7     definition in application note 1 of who criminal participants

          8     are.

          9              THE COURT:     Right.

    12:40 10             U.S. PROBATION:     So you had to have authority over one

         11     other criminal participant.        And in this case it wasn't clear

         12     to Probation.   Your Honor presided over the trial, so you may

         13     have a different view.    It wasn't clear from the offense

         14     conduct information that Mitrokostas could be considered a

         15     criminal participant.

         16              THE COURT:     So that's why I asked the question to be

         17     reminded about the government's position, which is, it should

         18     be applied consistently, I think, of whether or not there's a

         19     co-conspirator, and he was not designated as co-conspirator.

    12:41 20    There may be strategic judgments involved in that, but the

         21     government finds itself facing that choice that was made here.

         22              It has always been my view that there had to be

         23     culpability, criminal culpability for anything in the

         24     aggravating role setting.     No one else has been suggested here

         25     other than Mr. Mitrokostas, and the only criminal culpability




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          1     that he might have had here is as a co-conspirator.            So I

          2     decline to add that.     And the government's objection is

          3     anticipated and noted here.

          4                 So back to the calculation.      We come to a 16.      And

          5     Ms. Victoria, what would that be?

          6                 U.S. PROBATION:   It would be a total offense level of

          7     16, and with a Criminal History Category of I, the advisory

          8     guideline range would be 21 to 27 months, which is in Zone D of

          9     the sentencing table, one to three years of supervised release.

    12:42 10    Probation, he would be eligible for one to five years of

         11     probation under the statute, ineligible as a guideline

         12     sentence.    The fine range becomes 10,000 to 95,000.

         13                 THE COURT:   Okay.    All right.   So those are the

         14     guideline ranges.    I've made it clear in the past that I do not

         15     consider myself a slave of the guidelines.          But I have an

         16     obligation to try to get them right to orient myself in this

         17     area.   This is the best calculation I think I can make with

         18     respect to the guidelines.

         19                 So I'm prepared to hear anything orally that has to be

    12:43 20    said by any of the persons who are prepared to stand up as

         21     victims in this case.     I understand them to be Mr. Weeden on

         22     behalf of the tribe as the current chair of the tribe and Gayle

         23     Andrews Peters.    I recognize that they've also made

         24     recommendations.    I'll hear their recommendations, that's

         25     ancillary to the question of what loss if anything they have




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          1     experienced or the tribe has experienced.             I've got this

          2     generalized statement by Mr. Weeden of costs and so on.                 They

          3     haven't been liquidated.        I don't know what they're asking for,

          4     whether the Bowflex should be returned or what.                 So before we

          5     go any further, I'm interested in whether either of them wants

          6     to speak.

          7                 MS. WICHERS:    Yes, Your Honor.       Just to make sure

          8     there's no confusion, there was one letter put on the public

          9     docket by Mr. Weeden on behalf of the tribe and I believe three

    12:44 10    letters by tribal members submitted by Mr. Kelly to us and then

         11     through Ms. Victoria, but they were very late to Ms. Beatty at

         12     the same time.    Those three individuals do not wish to be

         13     heard.

         14                 THE COURT:   Okay.      Well, as I said with respect to two

         15     of the individuals who did not, merely not wish to be heard but

         16     didn't wish to be seen to have attempted to influence any

         17     decision, I'm striking those two from the record here.                 They

         18     can't do that.    And so I'm not even considering them.               And I

         19     understand that Ms. Peters, if I have it right, just simply

    12:45 20    doesn't want to speak here; is that right?             She's the only one

         21     left, with the exception of Mr. Weeden.            We'll get to that in a

         22     moment.

         23                 MS. WICHERS:    Yes.      I'm just confused as to why you're

         24     striking two of the letters and not all three.

         25                 THE COURT:   Because one of the people in the letters




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          1     said that, she didn't provide a limitation on the submission of

          2     it.   She did it publicly.      The other one said they didn't want

          3     anybody to know that they had submitted something to the judge

          4     that was supposed to influence the judge in his determinations.

          5     Is that distinction not clear?

          6               MS. WICHERS:    It is, Your Honor, but maybe I

          7     miscommunicated.   Mr. Kelly communicated to me that none of

          8     those three wanted to be heard publicly.

          9               THE COURT:    Do you mean to tell me that I made

    12:46 10    reference to Ms. Peters publicly and I shouldn't have?

         11               MS. WICHERS:    No.     We are not treating them like

         12     victims of, for example, a CP crime.         Their names are fine.

         13     They just didn't want to put their letters on the docket.

         14               Your Honor may disagree with that decision.            I'm just

         15     telling you what Mr. Kelly communicated to us.           The person who

         16     does want to speak here, Mr. Weeden, is unavailable, but the

         17     vice chair of the tribe, Mr. Carlton Hendricks, is here as are

         18     several other members of the tribe, and he would like to speak

         19     on behalf of the tribe.

    12:47 20              THE COURT:    Is there quality control in the submission

         21     of victim statements through the United States Attorney's

         22     Office?   I read carefully what is submitted, and I get this

         23     email late in the day that suggests that -- not suggests, says

         24     to me or any fair reading of it is that they don't want their

         25     name to be known at all.      I mean, it's not a useful way to




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          1     proceed.

          2                So are you telling me that -- well, I'm not exactly

          3     sure what you're telling me.         Are the two letters that I was

          4     prepared to strike available to be placed not under seal on the

          5     record in this case?

          6                MS. WICHERS:    None of the three are prepared for that,

          7     Your Honor.

          8                THE COURT:   And why was it that I was not told that

          9     with respect to the third one submitted this morning?

    12:48 10               MS. WICHERS:    The way that our office, the victim

         11     assistance specialists handled this, as I was told, is if the

         12     victim wants their letter to be public, we file it on the

         13     docket, which we did only with Mr. Weeden's letter, and

         14     otherwise we submit them through probation and then to Ms.

         15     Beatty.

         16                I apologize that letter was submitted early this

         17     morning.   I apologize if the communication that that writer did

         18     not want her statement to be filed on the docket was not made

         19     clear.

    12:49 20               Your Honor asks about quality control.              I'm not quite

         21     sure how to answer that, except to say we don't, it is our

         22     position as representatives of the public that we don't strike

         23     letters.   We don't say, "You're not in time, you can't be" --

         24                THE COURT:   Something that clearly identifies for

         25     Probation, for me, for Ms. Beatty what it is that is being




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          1     offered, and I don't want to willy-nilly put somebody's name on

          2     the record if they don't want their name on the record.               By the

          3     same token, I don't consider them, I won't.

          4                 MS. WICHERS:    Understood.

          5                 THE COURT:   And filing it under seal doesn't do

          6     anything, except suggest that I've looked at it or peeked under

          7     the sheets to see what they're saying.           I don't.

          8                 And so unless there's some mechanism within the U.S.

          9     Attorney's Office that makes clear we are submitting this under

    12:49 10    seal and the Court can take whatever action it wants, it's very

         11     hard for us to do that and particularly to do it when it comes

         12     in at the last minute.       But the short of it is, as you've

         13     explained it, I'm not considering any of those three letters.

         14                 MS. WICHERS:    Yes, Your Honor.

         15                 THE COURT:   And they will be stricken from the docket.

         16     In the case of one of them, it's already on the docket.               The

         17     other ones I was holding off.

         18                 MS. WICHERS:    The one that's on the docket is the

         19     letter written on behalf of the tribe?

    12:50 20                THE COURT:   No.    There are more than one.

         21                 MS. WICHERS:    No.

         22                 THE COURT:   Hold on just a second.         Ms. Beatty was

         23     anticipatory enough to realize that this created a tremendous

         24     problem.    She has not put it on the record.           So it's not

         25     stricken.    It's simply not something I'm going to consider.




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          1                 MS. WICHERS:    Mr. Weeden's letter?        Okay, Your Honor.

          2     Mr. Weeden's letter is the only one you will consider?

          3                 THE COURT:   Yes, that's right, that's right.

          4                 MS. WICHERS:    Thank you.     So Mr. Carlton Hendricks,

          5     the vice chair of the tribe is here and would like to speak on

          6     behalf of the tribe if Your Honor permits.

          7                 THE COURT:   Well, is Mr. Kelly here?         And I would add

          8     one other thing.    I did receive from Mr. Hendricks a motion

          9     during the course of the proceedings to see the grand jury

    12:51 10    material.    He then withdrew that motion in this case, but he is

         11     listed as an interested person in the case as well.               So

         12     Mr. Hendricks, I'll hear from you.

         13                 MS. WICHERS:    Where would you like him to stand?

         14                 THE COURT:   Wherever he's comfortable.            It's probably

         15     best, Mr. Hendricks, to use the microphone over there.                  Stand

         16     behind that podium there.

         17                 MR. HENDRICKS:     Good afternoon, Your Honor.          I

         18     appreciate the time to hear from me.           I'd also like to submit,

         19     Councilman Aaron Tobey is present.          He submitted a letter also

    12:52 20    that didn't get into the record.

         21                 THE COURT:   Why was that?      Who did he submit it to?

         22                 MR. HENDRICKS:     Attorney Paul Kelly.

         23                 THE COURT:   So it wasn't submitted through Mr. Kelly

         24     at least as far as we know.

         25                 MS. WICHERS:    It was, it was one of the three letters.




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          1     Just to be clear, I think Your Honor knows we did copy the

          2     defense on all of these letters.

          3              THE COURT:      I'm sorry?

          4              MS. WICHERS:      We did copy the defense when we

          5     submitted these letters when we received them from Paul Kelly,

          6     just to be clear.

          7              THE COURT:      Yes.    The problem is that this is an open

          8     proceeding, and the idea is that the public gets to see these

          9     things, and now I'm told that this is a letter that you want

    12:53 10    the public to see.      Is that right?     Mr. Tobey wants the public

         11     to see it, is that it?

         12              MR. HENDRICKS:        Correct.

         13              MS. WICHERS:      You want this on his public docket?

         14     Aaron Tobey is here.     He wrote one of those three letters.

         15     Maybe there was a miscommunication between Mr. Kelly and me,

         16     but he would like that document on the public docket.              I

         17     apologize for the confusion.

         18              THE COURT:      So if somebody submits it, I look at it

         19     and I put it on the public record.         I may not accept it, but I

    12:53 20    accept the propositions included in it, but that will be in

         21     addition to Mr. Weeden's letter, which will be transmitted

         22     orally by Mr. Hendricks.        I'll include Mr. Tobey's letter.

         23              MR. HENDRICKS:        Is the letter on behalf of the Tribal

         24     Council not being accepted either?

         25              THE COURT:      No.    It is, it is.    I understand you to be




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          1     speaking on behalf of Mr. Weeden for that; is that right?

          2              MR. HENDRICKS:     I'm speaking on behalf of myself.           I

          3     didn't write a letter.    I okayed the letter that was submitted

          4     on behalf of Mr. Weeden, correct.        I'm not here to read that

          5     letter, but I'm just here to make sure it's in the record.

          6              THE COURT:     It is in the record.       But I'll raise, as I

          7     did earlier, a couple of questions.        It makes references to

          8     losses that are experienced by the tribe, but there's no

          9     calculation of the losses at all.        Losses in terms of cost and

    12:54 10    that sort of thing, losses in terms of presumably the value of

         11     the bribes as I've identified them.

         12              MS. WICHERS:    May I be heard on that, Your Honor?

         13              THE COURT:     Yes.

         14              MS. WICHERS:    We learned last week meeting with the

         15     tribe that they incurred close to $200,000 complying with grand

         16     jury subpoenas, collecting all the records, reviewing the

         17     records, attorneys' fees, and so we learned about it late, so

         18     we didn't put it --

         19              THE COURT:     Last week?

    12:55 20             MS. WICHERS:    Yes, Your Honor.

         21              THE COURT:     Late is, at least as the government seems

         22     to understand it, the morning of the day of the hearing.              You

         23     received liquidated damages that they said --

         24              MS. WICHERS:    No, no.     We were simply told that it was

         25     approximately this amount.       They'd have to go back and




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          1     calculate it.    We're not asking for that today.             What we're

          2     asking for --

          3                THE COURT:   When might you sometime ask for it?

          4                MS. WICHERS:    Today we are asking that Your Honor in

          5     the future allow the parties to brief the issue of restitution

          6     of those expenses, whether the tribe is eligible for

          7     reimbursement of those expenses, specifically under 18, U.S.C.,

          8     3663(a)(B)(4) which provides --

          9                THE COURT:   Why was I not notified that this was what

    12:56 10    you were going to ask for, I mean, that this was not going to

         11     be completed today?

         12                MS. WICHERS:    We understand, Your Honor, and I

         13     apologize for that, but the government is allowed to ask for

         14     this.

         15                THE COURT:   It is, but it's got to ask.

         16                MS. WICHERS:    We're asking for it now.

         17                THE COURT:   And the point is that you gave no notice

         18     ahead of time.   We scheduled this hearing.          I tried to move

         19     forward.   I pressed the parties to respond to various

    12:56 20    late-rising contentions.       And now you say, "But, wait, there

         21     will be more."

         22                MS. WICHERS:    Well, under 3664 section (d)(5), "The

         23     government shall inform the Court if the victims" -- I

         24     apologize.

         25                We are asking for Your Honor -- and obviously it's




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          1     late, is for Your Honor to schedule an evidentiary hearing

          2     later on to determine whether the tribe is eligible and, if so,

          3     for how much in restitution.

          4                 THE COURT:   What's the position of the government as

          5     to whether they're eligible?

          6                 MS. WICHERS:    We think that they are eligible, and

          7     we're not asking for other costs.

          8                 THE COURT:   If you say they're eligible, that's not

          9     yours to ask for.    That's yours to convey.

    12:57 10                MS. WICHERS:    No, I understand, but that is our

         11     position.    And we are only asking -- obviously Your Honor can

         12     reject it, but we're asking we be heard in consultation with

         13     them after receiving their records to identify what we believe

         14     is the loss they incurred in complying with the subpoenas.

         15                 THE COURT:   I want to wrap this all up together here.

         16     The defendants may say they want to go forward at this point

         17     but I do not.    I do not want to take extra time like this.              Now

         18     it's clear that there's going to have to be a second hearing

         19     for which the government was aware before today.               And late

    12:58 20    disclosure was now.      It's just wrong.

         21                 So I'll hear any objections that the defendants have

         22     about extending the period of time, but I want to set a time to

         23     deal with this because apparently it's going to be raised.

         24                 MR. WEINBERG:     Respectfully, Your Honor, I don't

         25     think, even if the tribe was a victim, and I know Mr. Flaherty




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          1     will dispute that, and requests restitution, whether it's late

          2     or not is a separate issue.        They're not requesting it from

          3     Mr. DeQuattro.   He has no restitution obligations to the tribe,

          4     and I would respectfully ask for him to be sentenced today.

          5              THE COURT:     Okay.    Mr. Flaherty?

          6              MR. FLAHERTY:     Your Honor, today is the day for

          7     sentencing.    I'm not prepared to respond to a request for

          8     restitution.   I didn't receive any notice of it.

          9              THE COURT:     You just did.      You just did.      That's when

    12:59 10    the government thinks it's a good time to give notice of their

         11     concern about restitution.

         12              MR. FLAHERTY:     But I do read the definitions under

         13     3663, and I don't see under the facts and circumstances of the

         14     convictions here that the tribe is a victim as related to the

         15     convictions here.

         16              THE COURT:     I have to order briefing and order a

         17     hearing with respect to your client now.           Mr. Weinberg says he

         18     wants to go forward.    I'm not sure I feel the same way, but in

         19     any event, now there has to be another hearing.

    12:59 20             MS. WICHERS:     Your Honor, we believe that the Court

         21     has the ability to sentence both defendants.

         22              THE COURT:     I do, I do.     But you know what?        Part of

         23     this is to take all of this information together at the same

         24     time to make a truly informed decision.          We go through all of

         25     these steps to do that.     And, you know, I spent a fair amount




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          1     of time reading and rereading the record in this case to be

          2     sure that I wasn't going beyond Stewart in my judgment about

          3     it.   But the parties are entitled to have the judge make a

          4     determination like this.     This is not, you know, are there some

          5     questions of, did the -- was the uber expense for this, for

          6     delivering of this kind of document.        This is fundamental to

          7     all of it.

          8               I am not going forward with the sentencing today on

          9     this.   I'm going to reschedule it for the hearing on loss.            I

    01:01 10    am going to hear from you, Mr. Hendricks, because I know you

         11     are here and you want to be heard on your own on this, and I'll

         12     permit you to speak on your own.      But too much time was spent

         13     trying to get this properly in place.        We went through a

         14     variety of different proposals on it, and then to have it

         15     pretermitted in this fashion is just not the way I want to

         16     proceed in imposing sentence.

         17               I understand the issues, have understood the issues

         18     that Mr. DeQuattro in particular has faced here, and that's why

         19     I tried to expedite the case but not in a disorderly fashion.

    01:02 20              So we'll figure a time to get this done.          I assume

         21     that the government will be cooperative in telling us what they

         22     want to have done in this case and that there are people who

         23     wish to be heard with respect to the sentencing and can't be

         24     heard some other time, and I'll hear them now.

         25               MR. FLAHERTY:    Judge, for purposes of expedience, can




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          1     I join in the government's request to the Court that sentencing

          2     proceed today and the issue of restitution be separated for an

          3     additional hearing that's related I think just for

          4     Mr. Cromwell.   I know the parties have been here and have

          5     anticipated this and have undergone all of the anxiety in

          6     anticipation of today's date.      And but for this late

          7     development, I think they expected some finality, some closure

          8     at least as to this step in the proceedings.           And for those

          9     reasons, Judge, I think it's incumbent upon me to agree with

    01:03 10    the government's suggestion that sentencing proceed as to this

         11     aspect.   And then as to restitution, we can separate it out and

         12     deal with it later with respect to Mr. Cromwell if the Court

         13     would entertain that suggestion.

         14               THE COURT:    I'll entertain it.      It's the parties'

         15     choice ultimately on that.       I've got the government saying that

         16     we're going to have another hearing in this case.             You don't

         17     get a choice about being here for that hearing.              You're going

         18     to have to be here for that hearing and respond to whatever it

         19     is that the government submits.

    01:03 20              Mr. Weinberg tells me that he views this, I think

         21     views this as not relevant to Mr. DeQuattro's circumstances

         22     here.   But you understand that Mr. DeQuattro will have a

         23     conviction at the end of the day here on the basis of what I've

         24     done so far.    And that, it seems to me, to be something that is

         25     relevant for purposes of licensing and so on there, and




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          1     treatment of the sentence may have a mitigating effect; it may

          2     not.

          3              MR. WEINBERG:     I do, Your Honor.       And whether it

          4     occurs today or whether it occurs in a month, there will be

          5     consequences to the conviction that Your Honor upheld today,

          6     and absent a successful appeal, he's going to lose his

          7     architecture license.

          8              THE COURT:     Right.     It's going to be suspended, as I

          9     understand it, during the period of conviction.

    01:04 10             MR. WEINBERG:     I'm not clear on whether or not the

         11     conviction would be interpreted by the Rhode Island

         12     Architectural Board as a judgment that would result in an

         13     extinction of the license or not.

         14              My guess is, Mr. DeQuattro's guess is that the license

         15     is in peril as of Your Honor's decision to uphold the jury

         16     verdict and as of the sentence.       And again, the reason he would

         17     want to go forward is just to be able to have the finality to

         18     tell his people and --

         19              THE COURT:     I hear what you have to say, and I'm

    01:05 20    prepared to go forward then.       But Mr. Hendricks, you've been

         21     interrupted.   I'll hear from you on what you want to say.

         22              MR. HENDRICKS:     Your Honor, would you allow Mr. Aaron

         23     Tobey to read his own letter?

         24              THE COURT:     I've read it now.      I read it earlier.       I

         25     wasn't going to consider it.       Now I'm considering it.




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          1                MR. HENDRICKS:    So you read it into the record.

          2                Again, good afternoon, Your Honor.        My name is Carlton

          3     Hendricks, Jr.   I am the vice chairman of the Mashpee Wampanoag

          4     Tribe.    I was elected to vice chairman in 2001, May 16.          I've

          5     sat on Tribal Council since 2010, a year after Mr. Cromwell was

          6     elected as chairperson.

          7                I'm not here to really discuss the legal arguments

          8     that are going on, but I will say that it's pretty

          9     disheartening to know where we are as a tribe, that we should

    01:06 10    have 3,000 people, roughly about 700 tribal members in a

         11     50-mile radius of Mashpee, Mashpee being our home, that we're

         12     here on only talking about $23,000, $30,000.          When Mr. Cromwell

         13     was elected in 2010, the tribe's current debt with interest was

         14     $25 million.   When I was elected in May 16, 2021, the tribe's

         15     debt was $867 million.

         16                Our tribe consists and runs off grant funding.          80

         17     percent grant funding is how we operate and how we service our

         18     people.   And I'd like to acknowledge the elders that did come

         19     up today to see this.    This is our second chairperson that's

    01:07 20    been convicted of corruption, extortion, bribery, second in a

         21     row.   When do we actually say enough is enough to our people

         22     that we're truly hurting and crushing?

         23                He created this Gaming Authority in 2012.         2012, this

         24     Gaming Authority was used as a personal piggybank, the way it

         25     was run with five council members or five tribal members that




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          1     they were paid to vote on all these contracts that came

          2     through, every single one of them.        What does the tribe have

          3     for the intangibles from RGB or any of these contracts?             I

          4     haven't seen any of the intangibles as of yet of over $350

          5     million, never mind the 23,000 that we're kind of discussing

          6     right now.

          7               When you talk about the damage, the damage of the

          8     division of our tribal people, quite honestly, he was paid

          9     $189,000 a year as chairman of the tribe.          Never once, never

    01:08 10    once in 12 years of being there did we ever have any economic

         11     development plan to be self-sufficient on our own.            It was all

         12     in the casino, all in the contracts.         But he did find enough

         13     time to create five businesses for himself, never once thinking

         14     about how can the tribe benefit and the tribal members benefit.

         15     It was always about self, self, self.         And it's just, to know

         16     that we've come to this and we're in the bracket of 12, 23

         17     months.   The last chairman received three years for pretty much

         18     the same thing.   And I just think we have to send some type of

         19     deterrent for public officials, tribal officials, that this

    01:09 20    just can't happen.      Our opiate overdoses, no filing audits, no

         21     budget presented to the tribe.       Constitution, we should have a

         22     budget every single year.      We didn't have a budget for four

         23     years while he was the chairman of the tribe.           And there's

         24     really no difference between chairman of the tribe or Gaming

         25     Authority.   It's one in the same because the tribe is still




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          1     sitting with the same debt that the Gaming Authority is sitting

          2     with.   So how do we as a tribe get out of $867 million and say

          3     that is the Gaming Authority, well, that is the Gaming

          4     Authority.    But now the tribe can't file for grants because all

          5     of our audits, no budget was passed, no audits can be done.

          6     How do we support our tribal members?        How do we dig out of

          7     this hole?

          8                When we talk about the 200,000 that we may come to a

          9     hearing, we had to hire consultants, lawyers to get and gather

    01:10 10    this evidence to give to the government to make this

         11     conviction.   Where does that money come from, from a tribe that

         12     operates off of grants?     How do we -- I mean, we just last

         13     month alone we buried over six tribal members that requested

         14     funding.

         15                So the damage that has been done, never mind the

         16     second chairman in a row, to our credibility and our

         17     respectability amongst tribal nations and amongst ourselves

         18     just in our own community, the things that we have to rebuild

         19     and build a reputation of being respectful good human beings in

    01:10 20    our own community, never mind outside of our community, is

         21     immeasurable.   I really can't measure it.

         22                And when the U.S. Attorney came down last week, first

         23     time they've ever come down to our building without a subpoena

         24     quite honestly.   But it was nice to actually have them hear our

         25     side of the version.    And when does it end?        It's every single




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          1     day that these acts are causing us a reflex to do something

          2     else to get us out of this hole.

          3                 So again, the tribe, myself, we're asking for the most

          4     severe penalty that you can possibly give under the guidelines

          5     with your discretion.     I've been -- and I do want to

          6     acknowledge Laura Miranda.        She was a council member with me,

          7     sat on the council with me since on 2010.            We have voted no

          8     consistently against the Gaming Authority, against every single

          9     contract that came through.         You see in my minutes that I voted

    01:12 10    no consistently, along with Laura.          For them ten years of going

         11     on, we was traitors, we was against the casino.                So when I say

         12     it caused a division amongst families and tribal members, some

         13     of them damages that have been caused, they can't reconnect.

         14     They can't reconnect.

         15                 And again, living in the heart of Mashpee, living in

         16     the heart of the tribe is a little bit different when you leave

         17     your people and you live amongst your people than in Attleboro.

         18     It's just a different -- it's a different connect when you live

         19     amongst your people that you're leading.

    01:12 20                So again, we're looking for the most possible

         21     sentence, extreme sentence that you can give for these crimes.

         22     And that's all I have to say for right now.             Thank you and I

         23     appreciate the time.

         24                 THE COURT:   Thank you, Mr. Hendricks.             I think a

         25     couple --




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          1              MS. WICHERS:     Will you permit Mr. Tobey, Aaron Tobey

          2     to be heard from?   He wrote one of the letters.

          3              THE COURT:     He did, but I understand he was simply

          4     going to read the letter again.       Is that it or not?       I've read

          5     the letter, Mr. Tobey.    The discussion I was having with

          6     counsel was over the question of whether or not it would be

          7     part of the record under circumstances in which there was

          8     apparently some miscommunication about whether or not you

          9     wanted it on the record or didn't want it on the record.

    01:13 10             I now understand you want it on the record.             It will

         11     be on the record, and I've read it, and I will include it in my

         12     consideration.   I don't know if there's anything further that

         13     you want to say at this point?

         14              MR. TOBEY:     If I may, Your Honor?

         15              THE COURT:     Sure.

         16              MR. TOBEY:     Do you mind if I refer to my letter?

         17              THE COURT:     You can refer to it, but I'd rather that

         18     you not read it.    If there's something more that you want to

         19     say, I'd be glad to hear it.       It's just that the parties are

    01:14 20    interested in getting to this promptly, as you heard, and I

         21     want to honor that.     But I also want to be sure that I've heard

         22     everything that you want to say.

         23              MR. TOBEY:     I just wanted to re-emphasize that, I

         24     believe the first sentence of that letter was that I wanted my

         25     statement to be on the record.




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          1              My name is Aaron Tobey, Jr.         I served with Cedric from

          2     2009 until 2012.    He was elected the chairman, and I was

          3     elected the vice chairman.       Somewhere along those lines in his

          4     second term, he was able to -- somewhere along those lines he

          5     got involved -- if you don't mind, if I could just --

          6              THE COURT:     Sure.

          7              MR. TOBEY:     Thank you.

          8              The reason why this is important to me, and it's not

          9     just for you to listen, but we also have tribal members here as

    01:15 10    well as the elders.

         11              In 2009, the tribal citizens elected Cedric Cromwell

         12     as chairman.   If I could.      I'm currently an elected Tribal

         13     Councilman and the tribal elders chairman.          I am one of

         14     approximately 2,000 enrolled Mashpee Wampanoag tribal citizens.

         15     All enrolled Mashpee Wampanoag citizens are related by blood.

         16     We're one family.

         17              In 2009, the tribal citizens elected Cedric Cromwell

         18     as chairman and elected me as the vice chairman.             We served

         19     four years together.    Our mission was to maintain and foster

    01:15 20    our tribal culture, to protect our homeland, to conserve and

         21     develop its natural resources, to promote the socioeconomic and

         22     spiritual well-being of our tribal family and advance the

         23     common good of our tribe for future seven generations.

         24              By Cromwell's second term in office, he had political

         25     power, access to money, and he was intoxicated by fame.             He was




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          1     loved and trusted by many tribal citizens who believed he would

          2     advance the common good of our tribe.          Although the tribe had

          3     only two sources of income, grants and investor loans, the

          4     tribe paid Cromwell more than $1 million during his tenure as

          5     chairman and president of the Mashpee Wampanoag tribe and

          6     Gaming Authority.   Yet he betrayed us by using his elected

          7     position to line his own pocket.        His reckless greed and no

          8     conscience -- his reckless greed had no conscience, nor shame.

          9                As a community, we need to heal from his abuse and

    01:16 10    misdeeds and take appropriate action to deter any public

         11     servant from using his or her political office for personal

         12     gain.    I'm praying that the Court takes into consideration our

         13     pain of betrayal and help us deter such crimes from happening

         14     to us again by having Cromwell serve the maximum sentence

         15     available under the law.       Thank you.

         16                THE COURT:   Thank you, Mr. Tobey.

         17                MR. TOBEY:   Appreciate it.

         18                THE COURT:   So I don't know if any counsel need a

         19     break.   We're ready to go forward, so we will.           So I'll hear

    01:17 20    the government's recommendations.

         21                MS. WICHERS:    In a moment, Your Honor.           I'm sorry.

         22                Your Honor, this is a statement in regard to both

         23     defendants.

         24                THE COURT:   All right.

         25                MS. WICHERS:    The Mashpee Wampanoag are a proud




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          1     people.    They have a unique culture and language going back

          2     12,000 years.   They have always treated their most vulnerable

          3     members with particular respect.      And they are a sovereign

          4     nation with their own government.       Their government is led by

          5     their Tribal Council, whose members are elected by the tribe.

          6     The leader of the Tribal Council is the chair.          The primary

          7     responsibility of the chair is to protect the welfare of the

          8     members of the tribe, to look out for their best interests, not

          9     his own.

    01:18 10               The tribe elected Cedric Cromwell to be their

         11     chairman, their leader, their protector.         They respected him.

         12     They trusted him to use his office to put their interests first

         13     and foremost, and they paid him a generous salary.           When the

         14     tribe voted to build a casino, it was the biggest decision in

         15     their history because the tribe's primary source of income for

         16     generations, as you've heard, had been federal grants.            They

         17     had very limited other sources of income because this country

         18     has taken away their land and their source of sustenance and

         19     decimated their population and forced them to give up their way

    01:19 20    of life.

         21                The tribe voted to build a casino in order to become

         22     economically self-sufficient, to no longer rely on federal

         23     grants.    And not to build just any casino but a fabulous

         24     billion-dollar casino and resort.       The investment firm they

         25     hired loaned hundreds of millions of dollars to the tribe to




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          1     hire vendors and to design and build the casino.

          2                 Cedric Cromwell saw that money coming in, and he

          3     wanted some of it.      As the chairman of the tribe and the

          4     president of the Gaming Authority, he knew that he had the

          5     power to use his office to pressure vendors for some of that

          6     money, and that's exactly what he did.          He monetized his

          7     position.

          8                 One of those vendors was Robinson Green Beretta, and

          9     RGB's manager for the casino project, as Your Honor knows, was

    01:20 10    Mr. Cromwell's co-defendant David DeQuattro.            Mr. Cromwell

         11     asked Mr. DeQuattro for $10,000 to put in his own pocket.

         12     Mr. DeQuattro gave him that money, so Mr. Cromwell asked for

         13     another $10,000, and again Mr. DeQuattro complied, again and

         14     again and again.    And then Mr. Cromwell asked for a piece of

         15     exercise equipment, and Mr. DeQuattro gave it to him.              And

         16     finally Mr. Cromwell asked for a fancy hotel stay for his

         17     birthday weekend, and Mr. DeQuattro gave it to him.

         18                 Mr. Cromwell asked for those bribes, and Mr. DeQuattro

         19     and his co-conspirator, Joseph Beretta, paid those bribes in

    01:20 20    order to protect RGB's contract from termination by

         21     Mr. Cromwell and the tremendous power and influence that he

         22     had.   It was a quid pro quo.       It was a two-way street.        One

         23     person accepts the bribe and another pays him.            This was a

         24     pay-to-play arrangement.      They were and they are equally

         25     culpable.




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          1               Mr. Cromwell concealed his bribery by asking his

          2     friend Constantinos Mitrokostas to funnel Mr. DeQuattro's

          3     checks through a shell company and by converting those checks

          4     into anonymous treasurer's checks.       Mr. Cromwell was not only

          5     greedy, he was cunning and deceptive.        Mr. Cromwell took all of

          6     that bribe money and spent it on personal expenses, all of it.

          7     The Bowflex was also for him and the hotel stay was also for

          8     him.   None of this money went to the tribe.

          9               Mr. Cromwell betrayed the tribe.        He abused their

    01:21 10    trust.   This was public corruption, pure and simple.          He even

         11     betrayed the trust of other tribes by falsely representing that

         12     his LLC, One Nation Development, to which Mr. DeQuattro paid

         13     $20,000, helped tribes across Indian country with economic

         14     development.   That was false.     Money paid to One Nation

         15     Development went into Mr. Cromwell's pocket.          His public

         16     representations on his public website about helping other

         17     tribes were all lies.    He was in it for himself.

         18               Both defendants have submitted, as we acknowledge,

         19     letters of support from family and friends.          And there's no

    01:22 20    dispute, Your Honor, that in all other regards, other than

         21     their crimes, they have been well-respected community leaders.

         22     But that, Your Honor, is the face of a white-collar defendant.

         23     White-collar defendants hide behind the fact that they are

         24     respected in their professions and their communities, and they

         25     care for their families and their neighbors.




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          1                The sentences that the government is requesting are

          2     sufficient but not greater than necessary to satisfy the goals

          3     set forth in section 3553, in particular to reflect the

          4     seriousness of their crimes, to promote respect for the law and

          5     to deter others.

          6                General deterrence is critical in this case.           Your

          7     Honor, if these defendants are given a lenient sentence, the

          8     message that would send to other would-be white-collar

          9     criminals is that all they would stand to lose is some portion

    01:23 10    of their ill-gotten gains and practically none of their

         11     liberty.

         12                After all, RGB lost the bribe money it paid to

         13     Mr. Cromwell, but Mr. DeQuattro benefited greatly from the

         14     contract that he paid to protect.        When the contract was in

         15     effect, his salary went up and up.        And he's not being asked to

         16     repay any of those increases.

         17                Your Honor, public corruption is a serious problem in

         18     this country, as you well know.       Pay-to-play schemes cannot be

         19     tolerated.   We cannot function in this country if we cannot

    01:23 20    trust our elected officials.       Democracy in our nation and

         21     states and cities and tribes depends on elected officials

         22     serving their constituents, not lining their pocket with

         23     ill-gotten gains.

         24                The Mashpee Wampanoag placed their trust in

         25     Mr. Cromwell and he abused it.       He monetized his position.          Not




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          1     just by soliciting and accepting bribes from RGB but also in

          2     ways that are not public but are described in the Presentence

          3     Report.

          4               For these reasons, the government requests the

          5     following sentences:

          6               For Mr. Cromwell, that he be sentenced to 78 months in

          7     prison, one year of supervised release, a fine of $25,000,

          8     forfeiture of the Bowflex and a forfeiture money judgment in

          9     the amount of $50,503.34.       Also, as we have gone over, the

    01:24 10    government requests a future briefing and hearing on the issue

         11     of restitution to the tribe for expenses incurred in complying

         12     with the grand jury subpoenas.

         13               With respect to Mr. DeQuattro, the government requests

         14     that he be sentenced to 27 months in prison, one year of

         15     supervised release, and a fine of $250,000, given his

         16     substantial assets.     Thank you.

         17               THE COURT:    Let me ask a couple of questions with

         18     respect to it.   You said they're equally culpable.            Why aren't

         19     the recommendations the same?

    01:25 20              MS. WICHERS:    Because the guidelines are different.

         21               THE COURT:    So this is driven entirely by the

         22     guidelines?

         23               MS. WICHERS:    The recommended sentences are driven

         24     entirely by the guidelines as we have calculated them, yes.

         25               THE COURT:    Okay.     So I understand that aspect of it.




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          1     Now, the forfeiture money judgment, in light of the

          2     determinations that I've made about the actual amount of money

          3     that is involved for purposes of this case, why is the

          4     forfeiture money judgment $50,000 -- 50,000 and some change

          5     here, as opposed to wrapping that up, as the government

          6     indicates it intends to do, in the restitution discussion?

          7                MS. WICHERS:    So restitution obviously is separate,

          8     just going to what we've already discussed.

          9                THE COURT:   It is.       The question always in my mind is

    01:26 10    double-dipping by the government on forfeiture and on

         11     restitution, and so I'm trying to make sure that I've teased

         12     this out accurately.

         13                MS. WICHERS:    As Your Honor knows, they serve

         14     different purposes.     And restitution, if any, awarded by Your

         15     Honor would go to the tribe.         Forfeiture goes to the

         16     government.   In terms of what is the right amount of the money

         17     judgment that we should be requesting, I defer to the

         18     forfeiture specialist who filed the motion for forfeiture.                I

         19     don't --

    01:26 20               THE COURT:   Before the determinations were made

         21     regarding the guidelines?

         22                MS. WICHERS:    Well, that's -- I don't know honestly

         23     whether -- we would argue that relevant conduct, even Your

         24     Honor having stricken the conspiracy to commit extortion, that

         25     the relevant conduct still be included in the forfeiture money




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          1     judgment.    If I am wrong as a matter of law, that can be

          2     stricken, but we would ask that it be included for the amount

          3     just stated.

          4                 THE COURT:   And if you're wrong as a matter of law,

          5     what happens?    It just sits there for a while and then somebody

          6     else makes the determination, not me?           Are you just saying pass

          7     it down the line, Your Honor?

          8                 MS. WICHERS:    Well, no.    The motion for forfeiture

          9     money judgment has been filed.

    01:27 10                THE COURT:   I have to act on it, right?           And I have to

         11     act on it in a legal way.        And so I'm asking these questions to

         12     get answers that deal with precisely that issue.               And as I hear

         13     you, you're saying, you know, just enter it.             We'll clean it up

         14     afterwards.

         15                 MS. WICHERS:    I'm not trying to be that flippant about

         16     it, Your Honor.    What I'm saying is I believe that the relevant

         17     conduct that you can consider would include not just the 10,000

         18     that he was convicted of and the value of the hotel stay, but

         19     the previous $40,000 as well as relevant conduct can be

    01:27 20    included in the forfeiture order.          If I am wrong as a matter of

         21     law, the AUSA who filed that motion who is a specialist in

         22     forfeiture, which I am not, will let me know by tomorrow, and

         23     we will file something if that is wrong, and the judgment can

         24     be modified, or frankly it can be modified before Your Honor

         25     even enters judgment if Your Honor waits a day or two.




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          1                 I promise this will be done promptly and that we will

          2     notify, if Your Honor agrees with that, that we would notify

          3     the Court immediately one way or the other whether we believe

          4     it is the correct amount or not and here is why.

          5                 THE COURT:   Okay.     Mr. Flaherty.

          6                 MR. FLAHERTY:   May I, Your Honor?

          7                 I just ask the Court to accept the principle that no

          8     man can be judged by the single worst episode or episodes of

          9     his life; that that's not the definition of the entirety of the

    01:28 10    man.

         11                 And in my dealings with Mr. Cromwell over the past two

         12     and a half, three, three and a half years, I can only tell the

         13     Court that he has always been nothing but the epitome of a

         14     gentlemen.    He's kind, he's insightful, he's thoughtful, he's

         15     unfailingly polite.      And I don't know if there are adequate

         16     words really to describe his character as I have seen it, but

         17     there's a goodness to him, Judge.         There's a decency.        There's

         18     an authenticity to his intentions.

         19                 And as I know the Court knows, he's a man that has

    01:29 20    suffered physical disabilities and injuries throughout his

         21     lifetime.    He had cancerous growths as a child.             He has since

         22     2010 suffered from IBM.      He can't even give his lawyer a proper

         23     handshake because he can't grip my hand, Judge.               And I know the

         24     Court knows that he fell in the corridor here during a pretrial

         25     hearing.    And through all of that, through the multiple




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          1     surgeries, through the difficulties, I've never heard a single

          2     word or utterance of a complaint from him.

          3                And there's a decency to him, Judge.         There's a

          4     goodness to him.   And I know there's an undercurrent through

          5     all of this of a hubris or an arrogance, an ungratefulness with

          6     a gift he received in the trial record.         I've never seen

          7     anything like that, anything even approaching any of that,

          8     Judge, and I'd just like the Court to recognize that.

          9                In 2010, he was diagnosed with this Inclusion-Body

    01:30 10    Myositis, which is that chronic neuromuscular disease that

         11     gives him difficulty in walking, standing, up and downstairs.

         12     Like I say, he can't grip.       He has severe weakness in his

         13     muscles.   I know the Court knows this.        As a matter of fact,

         14     what the Court probably doesn't know and what I didn't know is

         15     the assistance he needs.     On one of the final court appearances

         16     we had before today, when I was leaving I had to use the men's

         17     room, and I saw Mr. Cromwell receiving assistance from his wife

         18     at the urinal.   I mean, that's the degree of assistance that he

         19     needs on a daily basis.

    01:31 20               He's also always, and I know it's detailed in the

         21     report, suffered from spinal stenosis for many years.             He's had

         22     four very serious and invasive spinal surgeries which obviously

         23     exacerbated the IBM that he suffers from.          He's had a

         24     laminectomy, decompression, fusion, his L5-S1, L2 vertebras.

         25     These surgeries happened in 2016, 2020, in February of 2022




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           1    just before the beginning of this trial and then in July of

           2    2022 when he fell at home after doing some sort of just daily

           3    activities.   And each time after the surgeries, he spent many

           4    weeks at the Spaulding Rehabilitation Center in Charlestown

           5    going through extensive rehabilitation which still renders him

           6    really, he sits here today in a wheelchair, Judge, with the

           7    assistance of a walker.

           8               And I know the Court looked at the letters that were

           9    submitted and probably looked closely at Exhibit U, which is a

    01:32 10    letter that was drafted by his primary care physician, Dr.

         11     Leslie Fang who is associated with Harvard University and Mass.

         12     General.   And he points out that in his daily activities he

         13     needs assistance, that he can't care for himself.

         14                In 2017, he suffered from a pulmonary embolism.           He

         15     had blood clots in his lungs.       2016, total left hip replacement

         16     surgery.   He suffers from high blood pressure, high cholesterol

         17     and Type II diabetes.

         18                In my view, Judge, any, any term of incarceration to

         19     Mr. Cromwell not only will interrupt the treatment and further

    01:33 20    debilitate him, maybe rendering him in a wheelchair for the

         21     remainder of his life, but it will put him at risk.            It will

         22     put him at risk for life expectancy.        A single day that this

         23     man serves behind bars will be tantamount to a month or many

         24     months of an able-bodied man.       It will be that difficult for

         25     him.




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           1              The government noted and I congratulate them that he

           2    has led an otherwise exemplary life.            He married a woman.       He's

           3    57 years old now, Judge.       He's been married for 16 years.            He

           4    married a woman who had several children from a prior

           5    relationship.   And despite none of those being his biological

           6    children, he fathered them in every sense of the word.                He was

           7    there emotionally.      He provided them support, a home, a roof

           8    over their heads.       He was there for them spiritually.           He was

           9    there for them financially.           He did all that he could for them.

    01:34 10    And that, Judge, I would submit is an uncommon trait that

         11     speaks to his goodness and his decency as a man.

         12               We see this current running through his life.               His

         13     mother he took in in her later years and she lived with him

         14     until her death.    And they had a special relationship, which

         15     I'm sure weighs on Mr. Cromwell very heavily, especially today.

         16     And, you know, he spent time with her, and this was reflected

         17     in some of the letters that were submitted, and people

         18     recognized that.    And again, this speaks to his goodness.               And

         19     it's uncommon, Judge.       As a friend, Robert White who submitted

    01:35 20    a letter, when he was deployed overseas as a member of the

         21     United States military, Mr. Cromwell took it upon himself to

         22     look after his two young daughters.            Again, some uncommon

         23     goodness about him.      As a mentor, and there was a letter

         24     submitted by a young African American man by the name of, I

         25     hope I'm saying it right, Afolabi Jalaoso, and he wrote, Judge,




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           1    and this resonated with me, that he could have been dead or in

           2    jail.    Statistics spoke to this.      He could have been dead or in

           3    jail, but Cedric made sure that that was never an option.               He

           4    mentored this young man.     He injected himself into his life,

           5    and he made certain this fellow became a Division I scholar

           6    athlete at the University of Kansas.         Again, it speaks to his

           7    decency and goodness.

           8               His in-laws, the Thorntons, submitted letters.            They

           9    spoke about how he took it upon himself to be involved in a

    01:36 10    young man, their nephew Darrell's life, and taking him to tai

         11     kwon doe practices and tournaments and enrolling him in college

         12     preparatory classes.     And he did this because he was a young

         13     man who didn't have a father.       And through his church groups,

         14     participating in Bible study and scripture and men's group,

         15     I've seen it, Judge, I've witnessed this spirituality.             It's

         16     real, and it's very authentic, and it guides him.             And Bishop

         17     Williams speaks of his contrition.

         18                There were other letters submitted by leaders of other

         19     tribes who respected him, recognized his work ethic, saw the

    01:37 20    accomplishments and the passion that he had committed to the

         21     tribe.   And, you know, the Court heard the statements from

         22     Mr. Hendricks and Mr. Tobey.        It's clear I think, and I hope,

         23     when Mr. Hendricks was very, you know, forthcoming to the

         24     Court, he voted no on the casino.        They have been political

         25     opponents.   They're on opposite sides of the issue.            And I




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           1    credit that.    That's what makes government work, opposite

           2    ideas.   But that doesn't mean that they're a sort of, those

           3    animosities that may be driven by political disagreements have

           4    a place here in court for sentencing.

           5              This man, Judge, spent years working 16-hour days on

           6    behalf of the Mashpee Wampanoag Tribe, and he accomplished

           7    great things.   He helped them get their land into trust.            He

           8    helped them become federally recognized after many years.             He

           9    helped them negotiate host community agreements with Taunton

    01:38 10    and Mashpee, entering a compact with the Commonwealth of

         11     Massachusetts, created a pathway to economic sustainability

         12     with a very visionary and aggressive and I would say wonderful

         13     prospect of having the exclusive right for a casino in the

         14     southeast region of Massachusetts.

         15               And, you know, there was an internal audit commission

         16     by the tribe, and this was to see whether or not claims made

         17     against Mr. Cromwell, that there was embezzlement of funds from

         18     Genting and the tribe could be found, and there was not a

         19     single dollar found from any of that, Judge, none of it.             There

    01:38 20    was no misappropriation of funds or taking of funds from

         21     Genting or the tribe.     None of that has ever been demonstrated.

         22     And, you know, in this case the Court has already heard from me

         23     about my -- I guess I'll use the word again, concern about the

         24     standard of circumstantial proof in this case.

         25               I would just ask the Court to consider Mr. Cromwell as




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           1    the whole person that he is.        He's suffered greatly as a result

           2    of this.   This is a dramatic and tragic fall from grace.              He's

           3    been convicted of serious offenses before this Court.             He

           4    recognizes the severity of this.        He recognizes what has

           5    transpired here.    And I would ask you, Judge, most specifically

           6    to not incarcerate the man, that what's occurred here is, as I

           7    said, a tragic, tragic fall from grace.          There is no way that

           8    Mr. Cromwell will go on from here and ever be entrusted with a

           9    position that would enable something like this ever to occur

    01:40 10    again.    It just won't happen in his lifetime.          The necessary

         11     components of sentencing right now have been accomplished, and

         12     there will be no further, I would suggest to the Court, benefit

         13     to incarcerating the man.

         14                So I would ask the Court to consider, most

         15     respectfully, departing from the guidelines, giving him a

         16     probationary sentence of whatever term the Court thinks is

         17     appropriate with home confinement which would allow him at

         18     least to survive, not flourish but survive, and whatever type

         19     of community service that the Court thinks is appropriate.

    01:41 20               He is a man that has something to offer.           And I hope,

         21     I hope for him and I hope for his family that the future is

         22     something that he'll be able to participate in, if not enjoy.

         23     So I would just ask the Court to consider him as the full

         24     person.

         25                THE COURT:   All right.     Thank you.




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           1                Mr. Cromwell, I'll hear from you if there's something

           2    that you'd like to say at this point.         You can remain seated if

           3    you want.

           4                MR. CROMWELL:   Thank you, Your Honor.        Again, Your

           5    Honor, thank you for allowing me to address the court.             The

           6    greatest love I feel in my heart is for my wife who has

           7    supported me throughout the most challenging moments in our

           8    marriage and our life together.       My children are my pride, my

           9    joy, my inspiration and my tribe.        The Mashpee Wampanoag nation

    01:41 10    is the most resilient and proud --

         11                 THE COURT:   Mr. Cromwell, if you could go a little bit

         12     slower so that I can absorb it and the court reporter can

         13     record it.

         14                 MR. CROMWELL:   I stand here before the Court and my

         15     God.   I ask for some measure of mercy for my mistakes and my

         16     errors of judgment that have brought me shame, humiliation and

         17     great personal pain to all of those whom I love, especially my

         18     family and my tribe and all those who have supported me and the

         19     mission of the Mashpee Wampanoag Tribe.

    01:42 20                I will spend the rest of my life seeking redemption

         21     and trying to regain the trust many have placed in me.             It was

         22     my great honor and privilege to serve the people of my tribe.

         23     And I pray that my errors will not interrupt the mission and

         24     that our nation will achieve the economic sustainability,

         25     tribal self-determination and good health and prosperity that I




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           1    worked so hard for so many years to help realize.

           2              I've spent many hours in prayer contemplating my

           3    mother's legacy with the tribe, and there are no words to

           4    adequately describe my remorse for damaging her good name.                My

           5    life's greatest regret is that I have brought dishonor to our

           6    tribe and my family, and I'm deeply sorry.

           7              I hope that this experience will make me a better man.

           8    I know that I have learned from my mistakes, and I know that

           9    life's most important lessons are often life's most difficult.

    01:43 10    I'm committed to my faith and the Lord.         I trust in the Lord

         11     and I repent for my sins.     And I can only hope that, with mercy

         12     from the Court, I will someday feel some peace.              Thank you.

         13               THE COURT:    Thank you, Mr. Cromwell.

         14               Mr. Weinberg.

         15               MR. WEINBERG:    Thank you, Your Honor.

         16               I'm not a lawyer that always speaks unequivocally

         17     positively about my clients' characters.         I've been a criminal

         18     defense lawyers for 50 years and have represented the spectrum

         19     of clients both federally and state, but I can say to you

    01:43 20    honestly what I've said almost never before.          I've never

         21     represented a better man than David DeQuattro.           It's like he's

         22     a man from a different generation, I used to know people when I

         23     was young, the World War II generation.

         24               The words in the Presentence Report reflect some of

         25     what his background is, well-respected, loves to mentor, loves




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           1    to give back, hardworking, family-oriented, ethical, follows

           2    the rules, loves to help his community, proud of his military

           3    service, generous, humble, loyal, faithful, supportive of

           4    others.

           5                I was considering putting him on the witness stand as

           6    a testifying defendant.      We investigated his whole life in

           7    preparation for what we understood would be a difficult

           8    cross-examination.      There is simply nothing in his life, not

           9    even no 404(b), nothing unethical, nothing he's done that he's

    01:44 10    not proud of.    His fiance who he will soon marry who was with

         11     him every day in court talks about, the first statement in her

         12     letters are high integrity, honor, patriotism, proud of his

         13     military service, supportive of veterans.          And the letters from

         14     the veterans group show he gives not just money but time, he

         15     has created with his architectural skills buildings for

         16     veterans.    He's taught Boy Scouts architecture.

         17                 In a letter from his sister, the words she used are

         18     family-oriented, hardworking, organized, calm.            From John

         19     Racine, a key employee, says, "Dave is a family man, supported

    01:45 20    his son and daughter through school and sports.               Has been a

         21     coach, mentor and adviser to his own kids and those of his

         22     employees."    And they talk about how his employees are like a

         23     second family to him, and he mentors and teaches their

         24     children.    Neighbors that talk about in a blizzard -- I don't

         25     have neighbors like this.      He had a generator, invites them in




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           1    to take showers.    He and Monica take soup out to them because

           2    it's cold and their houses are cold.          The kind of stuff that I

           3    grew up with, with a family that was a World War II generation,

           4    but I don't experience in my life in my neighborhood, amongst

           5    my friends.

           6                This is just such an aberration to his life.           I ask

           7    myself how it could occur that he would even walk close to the

           8    line, and reserving where the line is, I think Your Honor

           9    struggled, and I'm not here at sentencing to challenge the

    01:46 10    Court's principled decisions, but this is not the paradigm of a

         11     corrupt briber.

         12                 Even the government in its statements said they

         13     recognize that it was multiple purposes and that the evidence

         14     supported it, friendship and business.          He started, his mother

         15     wanted to be an architect, but again, the times were not there

         16     for her to undertake a profession.         She instilled in him the

         17     desire to be an architect.         He went to technology school for a

         18     year.   He worked his way through Roger Williams for four years

         19     both by working in a store and by military service.              Not only

    01:47 20    did six years in the Air Force National Guard, he did a second

         21     six years.    Not only did it in the states but volunteered for

         22     drug interdiction.      It's just who he is.       He's proud to be an

         23     American.    He's proud of his business.        He's proud of his

         24     profession.

         25                 Collateral consequences matter.        And, you know, this




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           1    architecture license that he went for five years of school and

           2    then five years internship and then went to RGB and became the

           3    head of architects, it matters deeply to him.             It's his

           4    profession.   And as I understand, when he allocutes, Your

           5    Honor, he can restate that if there's a non-custodial sentence,

           6    he's got a chance someday to reapply get his license back, a

           7    license that means so much to him.         It's like a law license

           8    would mean to me.       It would be the worst consequence of a

           9    conviction to not do what my passion is, not do what I've done

    01:48 10    for 50 years, what he's done for somewhat less.

         11               He also worked so hard at his business.               He didn't

         12     come from the Rhode Island elite like Mr. Beretta whose dad

         13     opened the door for him to be the owner of RGB.                He worked the

         14     old-fashioned way, 50 to 70 hours a week, and gradually he got

         15     more and more responsibility.         He learned business as well as

         16     teaching architecture.       He became the head of the architects.

         17     Then he became the head of marketing, then he became vice

         18     president, then he became a minority owner.            And finally, with

         19     Mr. Beretta's retirement, he became the owner of RGB.

    01:49 20              Any sentence that would imprison him, Your Honor,

         21     would deeply imperil his ability to have this company sustain

         22     itself in a coming recession, and with the publicity that would

         23     accompany that sentence, it's already so difficult for the

         24     company to survive.      They rely on school boards, city boards.

         25     They build for veterans.       They build for the Rhode Island State




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           1    Police, police departments.          They were trusted for many years,

           2    Mr. DeQuattro was trusted, and it's a very difficult time for

           3    him to help his company survive and help it survive not just

           4    for his own financial interests but help it survive because he

           5    is the head of the company who treats the company like his

           6    family.   He has 24 families depending on him.             And the fact is

           7    that there's simply nobody in that company, nobody that can do

           8    what he does, which is not only be architects.              They have many

           9    architects.

    01:50 10              Mr. Grieco wrote a letter that was accompanying our

         11     supplemental memo.      He's here today.       Mr. Racine wrote a

         12     letter.   He's one of the longtime architects.             What they say is

         13     that there's nobody with Dave DeQuattro's business skills along

         14     with architectural skills.         There's nobody that can do the

         15     contracts, manage the budget, bid on projects, go to the school

         16     boards, go to the city boards and make RGB compete with the

         17     other firms that are looking for business.             That, too, we would

         18     ask Your Honor to consider.

         19               The pre-Booker third party harm that was the subject

    01:51 20    of debates, whether it even was a legitimate or principled

         21     basis for departure, now the Court can consider third-party

         22     harm along with the consequences to Mr. DeQuattro and his

         23     passion for architecture and his business.

         24               Your Honor might ask, Why?          And I think part of the

         25     reason is that his clientele that he tried to develop were




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           1    happy clients, clients that worked with him, clients that he

           2    worked next to.    The tribe was one of them, and he built their

           3    government center along with tribe members that he taught.                 One

           4    of them is today an RGB employee, a tribe member named David

           5    Greene.   He honored the TERO project which tried to teach

           6    tribal members on projects.         He tried to do everything right

           7    for the tribe, tried to help them build a casino, tried to

           8    protect them from vendors that weren't doing their job.

           9    Genting, the developer, trusted them to look at each invoice.

    01:52 10    The Gaming Authority did as well.         He's done nothing but try to

         11     do the right thing for the tribe.         In fact, in 2020 when there

         12     were problems in some of their projects, they asked him to come

         13     back and try to help them.

         14               He grows up in a business and he watches how

         15     Mr. Beretta deals with clients and the amount of gifts that

         16     were given and the playing at golf courses and lights to

         17     education school presidents and donations to schools, and it

         18     probably depressed his vigor at knowing where the line was in

         19     this case, Your Honor, because he wanted to develop clients.

    01:53 20    And as you were told, one of the clientele that he was hoping

         21     to develop with the help of Mr. Cromwell was to gain some

         22     entry, some credibility from the good work he did in Mashpee

         23     and in Taunton with others.

         24               This is not a heartland corrupt briber.              There was

         25     mixed motives that don't occur in many cases.             The government




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           1    cites to all of these other cases in their sentencing brief,

           2    from Wilkinson to DeMasi.     This is not any of those people.

           3    This is a good person that just didn't walk too close to the

           4    line, in the Court's judgment, walked over the line.

           5              As I said before, the statistics show that 27 to 35

           6    percent of people convicted of this crime get probation.

           7    Nobody looking at what's occurred to him, the anxiety, the loss

           8    of business, the loss of his license, you know, would not be

           9    deterred if they were subject to being deterred.               I understand

    01:54 10    the government's argument about general deterrence, but it

         11     doesn't need to be applied by imprisoning every defendant, and

         12     again between 27 and 35 percent of federal judges have found

         13     that the deterrence and punishment purposes of sentencing in

         14     the correct case have been met by a non-custodial sentence.                 A

         15     non-custodial sentence would keep a conviction, would allow him

         16     someday to reply for a license, would allow him to keep this

         17     company alive, would allow the company and it employees to have

         18     the best chance to survive.

         19               So finally, Judge, I just beg you.           This is a decent,

    01:55 20    decent man.   He's been through a lot.         And if ever there was a

         21     defendant in this kind of case that was an appropriate

         22     consideration for a non-custodial sentence, it's Mr. DeQuattro.

         23               The government's recommendations act as if there was a

         24     conviction on every count, and the plus four guideline, they

         25     ask for an upward variance.         I ask Your Honor to please




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           1    consider a three-level downward variance, make him eligible for

           2    home confinement, any kind of community service.                He does it

           3    already.    He would do it with the veterans, any monetary

           4    penalty that would add to the collective consequences of the

           5    crimes of conviction, Your Honor, but please don't put him in

           6    jail.    Please give him a chance.        Please give his company a

           7    chance.    Thank you, sir.

           8                THE COURT:    Thank you.     Mr. DeQuattro.

           9                MR. DEQUATTRO:    Thanks, Your Honor.

    01:56 10                I've made a lot of good decisions in my life.

         11     Probably having Mr. Cromwell's friendship was probably not the

         12     best decision I've ever made in my life.            For the last two and

         13     a half years, I've felt horror, shame and embarrassment these

         14     charges were brought against me.

         15                 I worked my entire life to where I am professionally

         16     today.    My motivation has always been to help other people.

         17     The dream of owning my own architectural firm started when I

         18     was six years old.       I became a licensed architect at 28.            I

         19     worked diligently and hard in that firm to grow that firm and

    01:56 20    to own that firm.       The year I owned the firm was the year I got

         21     indicted.

         22                 Through the indictment, trial and conviction, I've

         23     suffered with embarrassment and shame in front of my clients,

         24     colleagues and my friends.          When the story went viral, I lost

         25     many friends and clients, and one-third of my office quit on




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           1    me.   My son David, who shares the same name, had people

           2    confused with him and me in this unforgiving world of social

           3    media.   My daughter learned of my indictment through her

           4    college friend over the internet, and I can hardly even

           5    understand what she must have gone through when she read that.

           6    Google is always going to be here.       The story will follow me

           7    the rest of my life.

           8               During the last two years, people in my firm that

           9    remained are more than my employees.        I consider them my

    01:57 10    friends.   We've met several times and talked about strategies

         11     of continuing their employment, continuing the business.             And

         12     we've been successful.     Although they are great, talented

         13     professionals, they've acknowledged that they are not in a

         14     position to manage an architectural firm with over 100 projects

         15     that are currently in design and construction.

         16                I manage the financial process of the scheduling

         17     oversight and I oversee every project.        My physical presence

         18     and experience over the last ten years of working through bad

         19     economies and good economies are what made that company survive

    01:58 20    and those people stay in those jobs.        If I would likely not be

         21     there, the company would likely fail, and the people would

         22     potentially lose their jobs.

         23                I humbly ask Your Honor for a non-custodial service --

         24     sentence rather, one that would allow me to manage the business

         25     and the families that have stuck by me that would retain their




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           1    jobs.   After today's judgment, I'll lose my license.            The

           2    license as I used to be on the registration board, I got off

           3    the registration board when I got indicted out of respect for

           4    the registration board.     The other board I got off was the

           5    National Accreditation of Architectural Registration Board.

           6    It's a national board.

           7              In those boards, I was on the committee that looked at

           8    people like myself that were convicted.          Probation, you can

           9    could potentially get your license back through probation.

    01:58 10    When you were convicted and went to jail, you didn't get your

         11     license back.   If that were to happen, that would cause me not

         12     to practice the rest of my life.        And more importantly, it

         13     would cause the employees a better -- with the practice and

         14     would financially spare the fate of a 76-year old company from

         15     going out of business.

         16               Your Honor, there's one thing I learned from serving

         17     honorably for 12 years in the military, is that I know how to

         18     take orders and I know how to listen.         So, Your Honor, I

         19     respect any judgment you make in sentencing, and I thank you

    01:59 20    for listening to me today.

         21               THE COURT:    Thank you.

         22               So the course of this case has been a challenging one

         23     in a variety of different senses.        It's one in which the legal

         24     issues bristle with alternatives in which the questions are

         25     substantial.    I've tried to resolve those legal issues in the




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           1    best way I know in light of the directives I've received from

           2    the courts whose judgments I must follow.

           3              This is a case in which I will be entertaining the

           4    prospect of bail pending appeal here because of the nature of

           5    the matters that will be raised by both parties here because,

           6    as today illustrated, neither party is -- neither of the

           7    parties, none of the parties is satisfied with the legal

           8    judgments.

           9              I'm not, as I said, a slave to the guidelines.            They

    02:00 10    provide some orientation, but having dealt with political

         11     corruption cases throughout my professional life, I think I

         12     have a broader understanding of what the range of alternatives

         13     are and the range of activities that come within the ambit of

         14     political corruption.

         15               Like everyone, I've been increasingly sensitized to

         16     the issues that confront tribes and the duty both to respect

         17     the tribes and to respect their immunities in making a judgment

         18     in this case, and it's I suppose the hope of all of us that at

         19     some point Congress is going to get this better, if not right.

    02:01 20              But I have to make the judgment now.          And in doing so,

         21     I advert directly to the larger principles of sentencing, which

         22     are set forth in Section 3553.      They're familiar ones but they

         23     require some nuance.

         24               First, the question of the seriousness of the offense

         25     or offenses.   I think of political corruption as being the most




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           1    corrosive of white-collar crimes.       It eviscerates the sense

           2    that those who are engaged in a political community feel about

           3    their agency.   It happens in the broadest sense in the federal

           4    courts with the core federal bribery guideline which is used as

           5    a kind of standard generally as the court, particularly the

           6    Supreme Court has developed this more fully.          But the short of

           7    it is that this is a sentence that deserves -- this is a crime

           8    which on its face deserves substantial sentences.

           9              I listened of course to the people from the tribe and

    02:03 10    read their reputations in the victim context little bit

         11     irregularly, but I think I understand where this stands now for

         12     them, and I can't disagree with anything they said.            That is to

         13     say that this tribe has been ill used, ill used by the federal

         14     government and ill used by certain of its leaders of whom

         15     Mr. Cromwell is an example.

         16               The references that I've made to the various ways in

         17     which the criminal law, federal criminal law has come to

         18     recognize the responsibility of tribal leaders are not truly

         19     kind of lawyer talk.     They go to the fundaments of concern

    02:04 20    here.   We do a great disservice to the tribe if we do not

         21     recognize the loss that they've received at the hands

         22     particularly of Mr. Cromwell, and I don't want to in any way

         23     derogate from that.     And of course the impulse is to say I want

         24     the maximum, either the maximum as stated in the submissions by

         25     the victims, but the maximum stated by the government of




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           1    maximum guideline.      But this is not the most serious offense

           2    that I've encountered in the context of political corruption

           3    cases.   It is a serious one to be recognized with a serious

           4    period of time of imprisonment, but that's not the only

           5    dimension to it.

           6              So I turn to the nature and characteristics of the

           7    defendants.   Both defendants have presented very compelling

           8    life stories in different ways.        And it's clear that they both

           9    continue to try to do their best in other circumstances not to

    02:05 10    curry favor with some judge who has to sentence them, but

         11     that's because that's who they are.          But it is important to

         12     emphasize in response to Mr. Flaherty's observation, which is

         13     an observation frequently made, that a person is not to be

         14     recognized in terms of, evaluated in terms of the worst thing

         15     they've done in their life, that they're here because they've

         16     done something bad, fundamentally bad.          Equal culpability, not

         17     in the slightest.       It's an almost robotic trope for there to be

         18     equality between the two expressed by the government but

         19     equally responsible for their acts, despite all the other good

    02:07 20    things they have done and are continuing to do and I think will

         21     continue to do.    I have no doubt about that.

         22               I won't dwell on the letters here.           I will focus on

         23     what's been taken from their tribe in the case of Mr. Cromwell

         24     and the inability to recognize that what he was being drawn

         25     into was something that could be viewed as political corruption




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           1    on the part of Mr. DeQuattro.

           2               So what do we do in evaluating things?              Well, we look

           3    to questions of deterrence.         It's generally broken up into

           4    specific deterrence and general deterrence.            Specific

           5    deterrence is how do we keep them from doing this again?                 It is

           6    frequently the case that one can fairly say that someone in the

           7    positions that Mr. Cromwell and Mr. DeQuattro have been in

           8    never get a chance to do it again.         I'll put to one side

           9    Mr. Cromwell's particular health problems.            But that's not

    02:08 10    always true.

         11                Mr. Weinberg made reference to Ms. Wilkinson who was

         12     convicted, served her time and then convicted again.                There is

         13     a tendency to be immune from what the norms ought to be at a

         14     certain point for people, and I've evaluated that.               I think

         15     that both Mr. Cromwell and Mr. DeQuattro understand, have

         16     internalized those norms.     There is no danger, even if they had

         17     that opportunity, of this to happen again.

         18                So then I look at general deterrence.           What's general

         19     deterrence?    It says to the other people out there who are

    02:09 20    similarly situated to Mr. Cromwell or Mr. DeQuattro, Don't do

         21     this.   It's not worth it.    It's going to cost you

         22     fundamentally.   And of course general deterrence is a legal

         23     fiction.   We have no going rate for general deterrence.                We

         24     can't say this much would be enough but not more than.

         25                In point of fact I've viewed sentences as such as the




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           1    worst -- not the worst, the least effective form of general

           2    deterrence.   The most effective form of general deterrence

           3    would be swift and certain punishment, but in a regime of due

           4    process, not to denigrate a regime of due process, but in a

           5    regime of due process, certainty is not certain and swiftness

           6    comes very slowly.      And so we're left with imposing this crude

           7    instrument of time served or to be served.

           8              Then I turn to the question that was fundamental to

           9    the sentencing guidelines, which frankly were something that

    02:10 10    came into existence after I started practicing, in existence

         11     when I went on the bench but I followed carefully because I

         12     think that they were an important innovation.            The idea that

         13     you do the crime, you do the time.        There's going to be

         14     transparency, and there's going to be equity, a much abused

         15     word nowadays but equity between people who commit white-collar

         16     crimes and those who commit crimes with other uniforms.              It's a

         17     stretch I think, the different kinds of crimes, the differences

         18     between violence and theft are not to be ignored.             Those who

         19     establish the sentencing guidelines were devotees of Judge

    02:11 20    Friendly's observation that one can be just as devastating with

         21     a fountain pen as one can be with a crowbar.           Something that

         22     you can put on a bumper sticker I suppose.           But when you think

         23     about it a little bit more, there's no there there.

         24               We're talking about what is it that as a society we

         25     have generally understood to be the consequences of this kind




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           1    of activity?   I think I have a fairly clear understanding of

           2    that quite apart from the several cases that the parties have

           3    pointed me to.

           4              So I come back to the sentence to be imposed.           In the

           5    case of Mr. Cromwell, I'm imposing a sentence of 36 months

           6    incarceration.   I understand that that is a matter that is

           7    likely to be cabined by extensive appeal and that there are

           8    real issues for appeal.     But I am now being asked to impose the

           9    sentence that best reflects the nature of the offense.            And if

    02:13 10    it has to be modified, the government tells me that we can do

         11     it another day or another couple of days, that kind of thing.

         12     Then of course it will be modified.        But it's important for me

         13     to put the seal on the seriousness of the offense.

         14               It is no derogation of the Mashpee Wampanoag to say

         15     it's not the most, highest, severest sentence in political

         16     corruption.    To the contrary.     It's a recognition that the

         17     tribe finds itself in a position of other sovereigns who are

         18     frequently abused by their leaders and for which there is a

         19     relative, from my perspective, kind of sentence to be imposed.

    02:14 20              I'm told that I'm going to be faced with the question

         21     of calculating a form of restitution in this area that really

         22     has to do with the costs that were imposed on the tribe.             It's

         23     not been finalized.     We'll get it finalized.       I'm not going to

         24     be imposing a sentence that incorporates that at this point.              I

         25     am faced with the customary problem of the government




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           1    frequently asking for both forfeiture and restitution.            I'll

           2    sort that out as it arises in these circumstances, but I will

           3    impose a monetary figure here in the form of a fine.            The fine

           4    here will be $25,000.

           5               I will accept the government's invitation to consider

           6    how the guideline -- how the forfeiture and restitution should

           7    be dovetailed in this area, so I'm not now going to sign off on

           8    the forfeiture order that the government has submitted.

           9               I will impose a period of one year of supervised

    02:15 10    release.   The prospects for Mr. Cromwell, it seems to me, are

         11     guarded, and the time period that's going to be taken in appeal

         12     is likely to be lengthy.     That, it seems to me to be sufficient

         13     for the core of it.     He is also, insofar as I'm concerned here,

         14     the defendant is subject only to the period or the amount of

         15     mandatory special assessments for the crimes for which he's

         16     properly convicted, which I understand here to be Counts Two

         17     and Three here.    There's a $200 special assessment I believe

         18     here because, as I've indicated, I do not believe Hobbs Act

         19     extortion is properly to be considered in this connection.

    02:17 20               The terms of supervision are ones that require that

         21     the case be finalized as far as I'm concerned.           Whether it will

         22     be reached during that period of time, I do not know.            I'm not

         23     making a recommendation with respect to place of confinement

         24     unless the question of bail pending appeal is pressed more

         25     vigorously than I would think makes sense under these




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           1    circumstances, but I leave that open.        The defendant in any

           2    event has the obligation to pay no later than the completion of

           3    his supervised release the fine of $25,000.          In addition, he

           4    has the obligation to pay, if he has not paid it during the

           5    period of confinement, the $200 special assessment.

           6              He's obligated obviously not to commit another

           7    federal, state or local crime.      He must not unlawfully possess

           8    a controlled substance.     I'm waiving the question of drug

           9    testing for him, although he must cooperate in the collection

    02:18 10    of a DNA sample as directed by the Probation Office here.             So

         11     long as the defendant is subject to these financial obligations

         12     as a special condition, I am imposing the obligation that he is

         13     prohibited from incurring new credit charges or opening

         14     additional lines of credit without the approval of the

         15     Probation Office while any of the financial obligations remain

         16     outstanding.   And the defendant is obligated to provide access

         17     to any requested financial information which may be shared with

         18     the asset recovery unit of the United States Attorney's Office.

         19               I'm delaying the question of surrender pending the

    02:19 20    discussion of bail pending appeal.       I put that out as a likely

         21     prospect, but it seems to me that, given the unanswered

         22     questions that still remain to be dealt with, we have time to

         23     deal with that, and I'll set up a schedule to deal with that.

         24               I turn then to the sentence with respect to

         25     Mr. DeQuattro.   Here I don't see equal culpability at all.            I




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           1    made reference to observations that the Sentencing Commission

           2    has made in the past in the course of dealing with its efforts

           3    to define the guidelines.     I've made clear that I don't

           4    consider them to have been successful or even complete in doing

           5    so, but they are something to listen carefully to, and that

           6    really has to do with how do you assess culpability.            The most

           7    culpable person is the leader in most circumstances.

           8              Here I'm faced with a businessman who threw his all

           9    into business, who was insufficiently sensitive to what it

    02:20 10    might mean to acquiesce in efforts on the part of a leader to

         11     receive benefits to which he was not entitled.           It is the case

         12     that if there is a dual multiple purpose for payments to a

         13     political figure that, so long as one of them is bribery, then

         14     it involves a violation, but this is different.

         15               I look at the acquitted conduct in this case and I

         16     don't necessarily see increased toxicity, the argument that the

         17     government has made, but I do see payments that were made for

         18     purposes of advancing a business, and so I include it in my

         19     evaluation.   I do it by the standard of preponderance that adds

    02:22 20    $40,000 into the mix.     But I'm more concerned with the crimes

         21     of conviction.   And the crimes of conviction here are ones in

         22     which the defendant, Mr. DeQuattro, became overtaken with the

         23     desire to be a friend, to be supportive, to be non-judgmental

         24     in the way in which he addressed matters that Mr. Cromwell, as

         25     far as I'm concerned and my reading of the circumstantial




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           1    evidence leads to a finding that he knew part of it was for

           2    purposes of maintaining the kind of relationship that was

           3    necessary to maintain the contracts that he had, such as he

           4    had, and they were of course diminishing at the time.

           5                The request that the defendant has made seems to me to

           6    be an appropriate one under the circumstances.           That is to say

           7    I'm not going to impose a period of incarceration.           I will

           8    style it as probation.     It can be styled as supervised release

           9    or probation.    I will style it as probation, with a period of

    02:24 10    one year of home confinement.

         11                 It does amount to a conviction in this setting.

         12     Mr. DeQuattro will have to deal with that and what that means

         13     in the larger scheme of things for the registration boards that

         14     are relevant and are going to be relevant for his colleagues.

         15     It may well be that it's possible with his business skills and

         16     not exercising the responsibility of a registered architect

         17     that he'll be able to continue the function of the business

         18     that he was so instrumental in growing.

         19                 I am sensitive to the collateral impacts that

    02:24 20    something like this has on people who work for someone who has

         21     gotten himself into this kind of fundamentally corrosive

         22     activity.    But it is not the kind of political corruption by an

         23     offerer that calls for an extraordinary sentence or even the

         24     guideline sentence in this area unless one simply ignores the

         25     whole range of impacts that are involved, so I won't impose




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           1    that.

           2              I will however impose a sentence of $50,000 for a

           3    fine.   I do it as a fine because I find really quite disturbing

           4    the idea that the government double dips through forfeiture and

           5    restitution and arrogates to itself the idea that they will

           6    remit if they feel like remitting.       If the government wants the

           7    money, they can take it as a fine.       They get it directly.        The

           8    question of forfeiture and restitution and how that's allocated

           9    is something to be dealt with differently, and I'm told that

    02:26 10    I'm going to be learning more about that.         But that's a delayed

         11     activity and I will, unless the parties are asking me to impose

         12     the sentence immediately, that is execute the sentence

         13     immediately, give the government a couple of days to get back

         14     to me about that as they've offered to do.

         15               During the period of probation obviously the defendant

         16     is going to be subject to the obligation to pay the balance of

         17     any fine that's imposed.     And if he does not pay the mandatory

         18     special assessment here, which I believe is $100, then he will

         19     be barred from incurring any new credit charges himself or

    02:27 20    opening any additional lines of credit without the approval of

         21     the Probation Office.     Similarly, he must provide the Probation

         22     Office with access to any requested financial information which

         23     may be shared with the asset recovery unit of the United States

         24     Attorney's Office.

         25               He is however obligated to pay the special assessment




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           1    immediately upon the entry of the judgment in this case.             And

           2    as I've indicated, I'm staying the case for purposes of

           3    surrender or imposition while the question of bail and the

           4    nature of the questions on appeal are under evaluation.

           5              I go back to where I started, which is that measuring

           6    this in terms of years is a crude instrument.           Recognizing the

           7    seriousness of the offense is absolutely necessary.

           8    Recognizing that someone who commits a crime like this with the

           9    backgrounds and character that the defendants here have is not

    02:29 10    doing anything other than the worst day of his life, but the

         11     worst day of his life is the one that he's going to be

         12     sentenced for, and that's the sentence that I think is

         13     appropriate under these circumstances.

         14               Ms. Victoria.

         15               U.S. PROBATION:    When you're finished, Your Honor, I

         16     have a few questions about sentences.

         17               THE COURT:    Yes, go ahead.

         18               U.S. PROBATION:    So for Mr. DeQuattro, what is the

         19     length of the term of probation?

    02:29 20              THE COURT:    One year.

         21               U.S. PROBATION:    One year.     And during that one year,

         22     what is the term of the home detention?

         23               THE COURT:    One year.

         24               U.S. PROBATION:    One year.     And will that be with

         25     electronic monitoring?




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           1              THE COURT:    I don't think it's necessary unless you

           2    do.

           3              U.S. PROBATION:      That's really the major way that we

           4    would be able to supervise him.

           5              THE COURT:    Okay.     Then I'll impose electronic

           6    monitoring for which he's responsible.

           7              U.S. PROBATION:      Okay.     And as far as the mandatory

           8    and standard conditions would apply to him, and I'd also

           9    recommend drug testing be waived with respect to Mr. DeQuattro.

    02:30 10              THE COURT:    Yes.    I didn't say that and I do waive it.

         11               U.S. PROBATION:      And then there may be, the only issue

         12     is there may be a slight delay in getting him hooked up with

         13     the electronic monitoring.

         14               THE COURT:    There's a slight delay, I'm told, by the

         15     government in getting to the bottom of this.

         16               U.S. PROBATION:      Exactly.     So you talked about the

         17     self-surrender, the restitution.          The only thing that wasn't

         18     addressed in this hearing was just what's going to happen with

         19     Mr. Cromwell in Counts Eleven to Fourteen which are the tax

    02:30 20    counts.   I don't know how that impacts you --

         21               THE COURT:    I've severed the counts.           I'm going to

         22     impose judgment in this case.       That permits the time to move

         23     forward on this, and I'll take up tax, if it ever becomes

         24     necessary.   But this was a non-custodial case.             I advanced it

         25     promptly in recognizing that it could be advanced by a separate




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           1    judgment.    I can't imagine that there's going to be an

           2    objection to that.       It will be taken up as a tax case in due

           3    course, assuming that there is a due course.

           4                MR. DOLAN:    Your Honor, on that subject, just for

           5    purposes of preservation, we'd ask that the Court enter an

           6    order of excludable delay until the restitution hearing so we

           7    can deal with the tax issue.

           8                THE COURT:    Yes.   I'm going to do that as well, but I

           9    think the government should be prepared to address the question

    02:31 10    why this should be advanced in some fashion for trial over

         11     other cases where it had been custodial during the period of

         12     the pandemic.

         13                 MR. DOLAN:    Understood.

         14                 THE COURT:    And my view in response to Ms. Victoria's

         15     effort to clarify this, is that judgment, final judgment can

         16     enter as to both of these once we get through the question of

         17     restitution here.       I'll set a schedule.      You can think about a

         18     schedule that you want, if there's going to be a contest over

         19     the question of bail pending appeal.          There is no question in

    02:32 20    my mind that these are, as I said, prickled with issues of

         21     current contention as to which the positions that the parties

         22     have taken have more than colorable value.            So that's my

         23     general view about it.       Okay?

         24                 Anything else with respect now to -- I guess you want

         25     to move on to Mr. Cromwell.




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           1              U.S. PROBATION:    The tax counts were a reference to

           2    Mr. Cromwell.     He was the only one with the tax counts.          So I

           3    just want to make sure I'm understanding.         Have you made the

           4    decision yet that their bail will extend pending appeal?

           5              THE COURT:    I am extending it right now pending

           6    appeal.   I'm going to permit the parties to make their

           7    arguments about that and set up a schedule.          I will do that.

           8    Well, perhaps what I'll do is ask the government to consult

           9    with defense counsel, particularly Mr. Flaherty under these

    02:33 10    circumstances but Mr. Weinberg as well, on the question of

         11     staying this pending appeal and what kind of briefing if any

         12     you want to do with respect to that issue here and what kind of

         13     hearing you want to have with respect to that issue.

         14               U.S. PROBATION:    And then the only other issue is the

         15     restitution, and you did say you were going to set that up for

         16     a further hearing.

         17               THE COURT:    I'm told I'm going to be provided with the

         18     basis for doing that.

         19               U.S. PROBATION:    Right.    And the statute says the

    02:33 20    restitution needs to be resolved within 90 days.

         21               THE COURT:    Yes, it does, and here is hoping.         That's

         22     not merely here's hoping.     I hope that the government is more

         23     timely in teeing this up than it has been so far.            Is there

         24     anything else?

         25               Okay.    So I tried as best I can, Mr. Cromwell and




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           1    Mr. DeQuattro, to explain why I've done -- and frankly it's

           2    important, fundamentally important that those who may be

           3    considered to be victims in this case here, why I've done what

           4    I've done.   You may or may not agree with it, but you're

           5    entitled to a full statement of it, and I've tried to do that,

           6    listening carefully to what you've had to say to the degree

           7    that it may properly be included in the record of this case.

           8              The larger issues are fundamental to this country.

           9    And the Supreme Court has indicated a considerable degree of

    02:35 10    concern that what might otherwise be ordinary political

         11     activity not be turned into political corruption.            That's why I

         12     made the instructions as hard as I did on quid pro quo.             I

         13     think they are as good as they can be under these

         14     circumstances, but mine will not be the last word, I suspect,

         15     on these issues.

         16               Thank you very much.      We will be in recess.

         17               (Adjourned, 2:35 p.m.)

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           1                     CERTIFICATE OF OFFICIAL REPORTER

           2

           3                   I, Kelly Mortellite, Registered Merit Reporter

           4    and Certified Realtime Reporter, in and for the United States

           5    District Court for the District of Massachusetts, do hereby

           6    certify that the foregoing transcript is a true and correct

           7    transcript of the stenographically reported proceedings held in

           8    the above-entitled matter to the best of my skill and ability.

           9                            Dated this 18th day of November, 2022.

         10

         11                             /s/ Kelly Mortellite

         12                             _______________________________

         13                             Kelly Mortellite, RMR, CRR

         14                             Official Court Reporter

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                                     UNITED STATES DISTRICT COURT
                                      DISTRICT OF MASSACHUSETTS

       UNITED STATES OF AMERICA                     )
                                                    )
                                                    )
              v.                                    )          Criminal No. 20-10271-DPW
                                                    )
       (1) CEDRIC CROMWELL and                      )
       (2) DAVID DEQUATTRO,                         )
                                                    )
                             Defendants             )


         GOVERNMENT’S STATEMENT REGARDING REVISED FORFEITURE MONEY
           JUDGMENT AMOUNT, AND MOTION FOR HEARING ON RESTITUTION

              During the sentencing hearing on November 15, 2022, the Court asked whether the

       government’s motion for a money judgment order of forfeiture in the amount of $50,503.34

       against defendant Cromwell (Doc. No. 275) should be in a lower amount, now that the Court has

       entered judgment of acquittal on the extortion counts against him (Counts 6, 7, 8, and 10). The

       answer is yes. The government now seeks a money judgment order of forfeiture against Mr.

       Cromwell in the amount of $11,849.37. The government has filed a revised proposed Order of

       Forfeiture (Money Judgment) in this amount. Doc. No. 285. The government still also seeks an

       order of forfeiture for the Bowflex, as requested in Doc No. 275.

              On the issue of restitution, the government respectfully requests that the Court schedule a

       hearing in 60 days, and a pre-hearing briefing schedule, to address whether the Mashpee

       Wampanoag Tribe is entitled to restitution from the defendants for legal expenses it incurred in

       complying with grand jury subpoenas during the investigation of this case. See 18 U.S.C. §

       3663A(b)(4). Through his counsel, Mr. Cromwell has assented to this request. Through his

       counsel, Mr. DeQuattro takes no position on the request, reserving his right to oppose restitution

       as being applicable to him.




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              With regard to Mr. Cromwell, against whom charges of filing false tax returns are still

       pending, the government respectfully requests that the Court enter an order excluding the time

       from November 15, 2022 until the date that the Court enters a restitution order. The ends of

       justice that would be served by granting this continuance outweigh the best interest of the public

       and Mr. Cromwell in a speedy trial. Failure to grant such a continuance would deny Mr.

       Cromwell’s counsel or the attorneys for the government the reasonable time necessary for

       effective preparation, taking into account the exercise of due diligence. See 18 U.S.C.

       §3161(h)(7)(A), (B)(iv).

                                                     Respectfully submitted,

                                                     RACHAEL S. ROLLINS
                                                     United States Attorney

                                               By: /s/ Christine Wichers
                                                   Christine Wichers
                                                   Jared C. Dolan
                                                   Assistant U.S. Attorneys




                                             Certificate of Service

               I certify that this document filed through the ECF system will be sent electronically to the
       registered participants as identified on the Notice of Electronic Filing (NEF) on November 18,
       2022.

                                                     /s/ Christine Wichers
                                                     Christine Wichers




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                                     UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF MASSACHUSETTS




                                                    )
                UNITED STATES OF AMERICA,           )
                                                    )            Criminal Action
                           Plaintiff,               )            No. 20-10271-DPW
                                                    )
                v.                                  )
                                                    )
                CEDRIC CROMWELL and                 )
                DAVID DEQUATTRO,                    )
                                                    )
                           Defendants.              )
                                                    )



                             BEFORE THE HONORABLE DOUGLAS P. WOODLOCK
                                    UNITED STATES DISTRICT JUDGE


                                              TELECONFERENCE

                                             November 22, 2022
                                                10:01 a.m.



                              John J. Moakley United States Courthouse
                                           Courtroom No. 1
                                         One Courthouse Way
                                    Boston, Massachusetts 02210




                                                         Kelly Mortellite, RMR, CRR
                                                         Official Court Reporter
                                                         One Courthouse Way, Room 3200
                                                         Boston, Massachusetts 02210
                                                         mortellite@gmail.com




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           1    APPEARANCES:
                Counsel on behalf of United States:
           2    Christine J. Wichers
                Jared C. Dolan
           3    United States Attorney's Office MA
                1 Courthouse Way
           4    Suite 9200
                Boston, MA 02210
           5    617-748-3278
                Christine.wichers@usdoj.gov
           6    Jared.dolan@usdoj.gov

           7    Counsel on behalf of Defendant Cedric Cromwell:
                Timothy R. Flaherty
           8    699 Boylston Street, 12th Flr.
                Boston, MA 02116
           9    617-227-1800
                Timothyrflaherty@gmail.com
          10
                Counsel on behalf of Defendant David DeQuattro:
          11    Martin G. Weinberg
                Maksim Nemtsev
          12    Martin G. Weinberg, PC
                20 Park Plaza
          13    Suite 1000
                Boston, MA 02116
          14    617-227-3700
                Owlmgw@att.net
          15

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           1                            P R O C E E D I N G S

           2    (Case called to order.)

           3               THE COURT:     Well, I wanted to get you in promptly to

           4    put things in order for purposes of the judgment in the case

           5    and also to pick up the question that I anticipate of stay

           6    pending appeal.      It has been to some degree developed in

           7    preliminary filings that I've received really in the last few

           8    days.    But let me outline for you really what's on my mind as a

           9    broader matter and then narrow it down to more specific issues.

    10:01 10               In cases like this, there have been several of them,

          11    in which there are significant issues that are on the cutting

          12    edge, I've been of the view that I would like to have the case

          13    in a posture that the Court of Appeals can deal with it

          14    promptly and fully.       As a consequence, for example, my larger

          15    interest is in making sure that all of the transcripts are

          16    prepared, they're ready to go, that sort of thing.

          17               In looking at the docket in the case, I noted that,

          18    while there were a number of transcripts, not all of the

          19    transcripts were prepared, and I don't know whether the parties

    10:02 20    are considering asking for additional transcript for purposes

          21    of appeal, but to the degree they are, that implicates of

          22    question of what the issues would be for appeal.

          23               The example that I would use is that, in part from my

          24    review of the docket, it did not appear that Trial Day Nine had

          25    been asked for or prepared.         Ms. Mortellite prepared it.        It's




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           1    been provided to you.       And that's a critical issue with respect

           2    to the question of how the jury was instructed in this case.

           3               I'm also struck by and was struck by the Court of

           4    Appeals decision on Friday afternoon in Moffett, which was a

           5    case that Mr. Weinberg and Mr. Nemtsev handled as well dealing

           6    with how Judge Young had handled jury matters.             I don't think

           7    this has any Moffett dimension to it.           I don't think this case

           8    has jury issues, although we did have discussions about juries.

           9    In any event, I would like to be sure that I've addressed all

    10:04 10    of the potential issues in the case.           So that's the broader

          11    outline.

          12               More narrow are a couple of things that popped up

          13    during the course of the discussion that we had.             One of them

          14    was the question of outstanding Hobbs Act cases that the

          15    government seemed perplexed when I asked about cases that I

          16    thought I was going to receive an update about, but I went back

          17    and looked more intensively at document number 228, which is

          18    the government's initial brief addressing jurisdictional

          19    issues, and it was cross-referenced in the supplemental memo,

    10:05 20    but only two cases have been identified to me involving Hobbs

          21    Act extortion in the context of allegations that an officer,

          22    tribal officer is someone who acts under the color of official

          23    right.

          24               One of the citations is to Wikipedia.           It appears that

          25    the case is so old that it can't be found referenced elsewhere.




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           1    My recollection is I asked the government to go through its

           2    files and see if you could find it somewhere.             I recognize that

           3    we've got problems arising from the amount of issues of COVID

           4    shutdown and that sort of thing, but I really would like to

           5    know a bit about the Overton case.

           6               Separately there is a case, United States v. Blackhair

           7    that was cited.      It was quiescent at the time it was cited, but

           8    I went back and looked at it.         It is -- just hold on for a

           9    second.    Can I put you on hold for a second?

    10:07 10               (Off the record.)

          11               THE COURT:     Sorry, the event of the holidays means

          12    more stuff happens rather than less here.

          13               In any event, I was speaking to United States v.

          14    Blackhair, which now is apparently getting ready for trial.

          15    It's scheduled for trial in mid-December.            My quick reading of

          16    the materials in the case is that the what I'll call tribal

          17    official issue is not fully developed there, surprisingly to

          18    me.   So that's not my case, and it's not my responsibility to

          19    talk to any defense counsel involved in that case.              But I would

    10:08 20    note that the critical case that made a transformation I think

          21    in Section 666 was from the Tenth Circuit pointing out that

          22    there had not been identification of the tribal officials as

          23    being the types of officials who should be considered in this

          24    context, and shortly thereafter Congress changed the statute to

          25    be explicit, and that was something that was important to me.




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           1               In any event, I guess I would like to have developed

           2    that part of this.       And I don't know, Ms. Wichers, if you've

           3    had communications with anybody about those two cases.

           4               MS. WICHERS:     Not about Blackhair.       But the other one,

           5    the Oklahoma case, someone in my office was able to track down

           6    the docket number as well as the district.            We weren't sure of

           7    which district.      So we have asked for -- I was just actually

           8    emailing my paralegal to see how that was going.             He was going

           9    to check with both the U.S. Attorney's Office in that district

    10:09 10    to see if they still had the records and, if not, to contact

          11    NARA.

          12               So I should be able to get back to Your Honor shortly

          13    to see which of those two offices has the records and when we

          14    can expect to get them.        And I'm also prepared, if Your Honor

          15    permits, to quickly brief the issue of the Tenth Circuit case

          16    that Your Honor mentioned and the effect that it had on

          17    Congress' amendment of 666.

          18               THE COURT:     Right.    That may be useful.      I guess I

          19    want to be sure that I've outlined the issues fully here, but I

    10:10 20    want to understand whether or not in the chain of command in

          21    the department there was any need to consult with the public

          22    integrity section or whoever it is who oversees Hobbs Act

          23    extortion under color of official right to see if there are

          24    other cases, any other cases involved.

          25               MS. WICHERS:     We did that, Your Honor, and they are




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           1    not aware.

           2               THE COURT:     Okay.     So these, so far as you know, these

           3    are the only two cases?

           4               MS. WICHERS:     Yes, Your Honor.

           5               THE COURT:     And with respect to Blackhair, you said

           6    you wanted to -- you might have something more that you wanted

           7    to say about the Tenth Circuit.

           8               MS. WICHERS:     Not about Blackhair but the Tenth

           9    Circuit case that Your Honor mentioned.

    10:11 10               THE COURT:     Yes.

          11               MS. WICHERS:     Yes, that case and how it then affected

          12    the amendment, what the effect was in amending 666 by Congress.

          13    I'm not prepared to do it now unless you give me a minute.

          14    Because Skip Lockhart, the chief of our appellate unit, looked

          15    at that case and had some information which I can certainly

          16    brief the Court on.       I could file something today if Your Honor

          17    would like.

          18               THE COURT:     I think that would be helpful.         That gives

          19    me a chance to absorb it.         I of course tried to track the

    10:11 20    chronology of the Tenth Circuit case and the enactment within

          21    really a couple of months of an amendment that I found

          22    important to 666(a).       So if you could do that, that would be

          23    helpful.

          24               MS. WICHERS:     Yes.

          25               THE COURT:     Then turning back to Moffett as an




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           1    example, I don't know what the defendants intend to raise on

           2    appeal, but in order to have a full opportunity to address the

           3    questions of likelihood of success on appeal and the impact

           4    that that has on stay, I think I should know.

           5               And so, I don't know, Mr. Weinberg, if you're prepared

           6    to deal with that now, or Mr. Flaherty, if there are things

           7    beyond what we've talked about so far, the issues that have

           8    been teed up.     And particularly because of the discussions that

           9    had to do with charging the jury, I wanted to be sure that I

    10:12 10    was aware of them and I could speak to them if necessary.

          11               MR. WEINBERG:      So, Judge, I don't know that this will

          12    be one of the issues raised on appeal.           We have other issues

          13    that the Court has labeled --

          14               THE COURT:     Yes.

          15               MR. WEINBERG:      -- you've heard me at length.         But one

          16    issue that we preserve, both Mr. Flaherty and I, the period

          17    between the oral instructions which led to the jury being

          18    allowed to deliberate but not deliberate to finality and then

          19    the I think two days that resulted in written instructions that

    10:13 20    were submitted to the jury with Your Honor then liberating

          21    them, authorizing them to review the written instructions,

          22    treat them as final and to deliberate to verdict.              We did

          23    object to the period where they were not permitted to reach a

          24    verdict.

          25               I know that's the opposite of the issues that were




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           1    raised in the Pullman case regarding whether they could

           2    deliberate at all.       We did not object to the deliberation.

           3    Rather we urged the Court to reconsider whether the jury should

           4    be free to reach a verdict even before receiving the final

           5    written instructions.

           6                So I'm not waiving that issue.        I'm not admitting to

           7    it being an appellate issue.         I have just not reached that

           8    decision.    To some extent we have other significant issues that

           9    we want to raise regarding what is the standard of review, is

    10:14 10    it the Yin or the Yang in terms of Your Honor's definitions of

          11    Stewart and the equipoise laws, a variety of other issues, but

          12    that would be the one we preserve, Judge.

          13                THE COURT:    Well, that's helpful I think in part

          14    because it's an issue that arises both pro and con.              That is to

          15    say it's arisen in cases in which I've been asked not to permit

          16    the jury to deliberate to completion.           And my quick read of

          17    Trial Day Nine told me that there was that issue out there.                I

          18    wanted to be sure that it was there.

          19                I think it's something that I will want to know about,

    10:15 20    I'll want to have the parties brief here.            I'm not really

          21    trying to force more briefing, but I want to be sure that I've

          22    got the case in the posture that the Court of Appeals can deal

          23    with it promptly here.

          24                Now let me turn to more specific issues.           As the state

          25    of the record stands now, I have announced my judgment in the




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           1   case, and we all understand that the written judgment and

           2   commitment order can't depart from that.          It has to reflect

           3   that.    So what I've said I was going to do is what I'm going to

           4   do, unless of course I really do encounter some issue that

           5   gives me sufficient pause that I either enter a further

           6   judgment of acquittal or I order a new trial in a different

           7   setting.    That's what I'm thinking about right know.           I want to

           8   be sure I've got that.       I don't want to take too much time to

           9   do that, but I'd like to have that straightened away.

    10:16 10              If I were to grant a stay pending appeal, there would

         11    be, as you've pointed out, issues concerning the question of --

         12    yet another -- I hate to impose on you, but can we reconvene at

         13    11:00?    Is that possible for the parties?         I'm sorry to tie you

         14    up, but I'm being pressed by another matter.           Is that

         15    sufficient for everybody else?         That will give me a little bit

         16    of time to talk to you as well.

         17               MS. WICHERS:     Yes, Your Honor.

         18               MR. WEINBERG:     Yes, Your Honor.

         19               MR. FLAHERTY:     Yes.

    10:17 20              THE COURT:     Ms. Beatty, is that okay with you?

         21               THE CLERK:     That's fine.

         22               THE COURT:     Okay.     I would prefer, as this discussion

         23    develops, to take more time and not feel pressed to answer some

         24    questions that I have to answer immediately.           Okay?   So we'll

         25    reconvene.     Let's make it at 11:00.      Okay.    Thank you very




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           1   much.

           2              (Recess, 10:17 a.m. - 11:01 a.m.)

           3              THE COURT:     I apologize for interrupting, but it was a

           4   matter that needed to be dealt with promptly.           I want to go

           5   back to where we were before, which is the identification of

           6   the potential issues here.

           7              Mr. Weinberg obviously has identified one particular

           8   issue that has been reserved here that I'll want to look at

           9   more carefully of course in all of this, and he promptly

    11:01 10   indicated there may be other issues here.           But you understand

         11    my view, which is I'd like to be able to address anything that

         12    is likely to be presented here and have a reasonable amount of

         13    time in which the parties can brief it to me as well as prepare

         14    to go to the Court of Appeals.

         15               I don't know, Mr. Weinberg, if you have anything else

         16    that you wanted to identify?

         17               MR. WEINBERG:     No.    Just if we could have until

         18    Tuesday, given the Thanksgiving holiday.

         19               THE COURT:     No, this is not going to be a race here.

    11:02 20   I want a reasonable amount of time.         I mean, I want to get to

         21    it promptly, but I want a reasonable amount of time.             Tuesday

         22    is fine, that's okay.       But we'll talk about it in just a

         23    broader sense in just a moment.         Let me go back to Ms. Wichers.

         24    You were going to offer some observations about the Tenth

         25    Circuit.




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           1              MS. WICHERS:     Yes.    I'd like the chance to brief it.

           2   And I should say more specifically, because the appeal will be

           3   handled by AUSA Karen Eisenstadt, she will need to review

           4   anything that I write.       But in general, I believe that the case

           5   Your Honor referenced is United States v. Barquin.

           6              THE COURT:     Right.

           7              MS. WICHERS:     And then I mean, the text at that time

           8   of 666 did not refer to Indian tribal governments.            It said

           9   local government agency.       And the Court held that an Indian

    11:03 10   tribe is not a governmental subdivision of a state because

         11    tribes are their own sovereignties and are not parts of a state

         12    government.     And then Congress amended 666 to clarify that

         13    tribal governments are covered.         So we don't think that is --

         14    we'd like to brief it, but we don't think that is on point and

         15    certainly not on point with regard to 219.51.

         16               So I'd like to brief that issue as well as get

         17    further -- we just heard from the Western District of Oklahoma

         18    that they destroyed the case file in 2000 because Mr. James was

         19    sentenced to less than ten years, and that was their practice.

    11:04 20              THE COURT:     I think that was Mr. Overton.

         21               MS. WICHERS:     Overton James or James Overton, that

         22    gentleman.

         23               THE COURT:     Okay.

         24               MS. WICHERS:     So they are contacting the court to see

         25    if they have a docket sheet at least.          It seems that the U.S.




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           1   Attorney's Office there in Oklahoma does not have anything.

           2   But I'd like to follow up on that and address the effect of

           3   Barquin and anything else that Your Honor would like briefing

           4   on.

           5              THE COURT:     Okay.     Well, that's fine.    I think I, as

           6   you've recognized, read the chronology of the transformation of

           7   666 differently than you do on that.          But I'm open obviously to

           8   having this developed fully on both sides because it is a

           9   question that arises about the substantiality of the appeal

    11:05 10   issues that is at the foundation of a stay pending appeal.

         11               So I would like to get a structure of timing.           With

         12    respect to what the court in Oklahoma is likely to have, it's

         13    probably likely to be just like what we have here, which is

         14    that, at a certain stage, the dockets were maintained

         15    separately and sent to NARA, but we'll see, you'll see what's

         16    involved, and you'll see what NARA has as well.

         17               There was a wholesale effort in the last several years

         18    to cut back on the amount of paper, and as a consequence,

         19    there's been destruction of documents.          In theory the documents

    11:06 20   have been changed in terms of the media that's available.              I

         21    say that in theory because it's in my experience been that

         22    large numbers of documents that I've looked for can't be found.

         23    But in any event, whatever you find is more than what we have

         24    now, so I welcome that.

         25               Let me turn to the question of -- someone else picked




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           1   that line up.

           2              Let me turn to the question of what I'll call broadly

           3   timing of what we want to do here and, assuming that there's

           4   going to be a stay pending appeal, what would be appropriate.

           5   I do want to get to the question of restitution, but I'm not

           6   sure there's a lot to do in restitution here.           Certainly not

           7   enough to take it out 60 days, particularly in light of the

           8   revised submission that was made by the government.

           9              I've thought about the question of the forfeiture of

    11:07 10   the Bowflex.     My concern is twofold there.        Number one, I

         11    suppose that's probably the best and easiest way of dealing

         12    with it.    The second is that I do think that the tribe should

         13    be offered the opportunity to take it.          I also recognize that

         14    the tribe may under the circumstances view it as further insult

         15    to be offered it.      And I don't know what proposals either you

         16    or Mr. Flaherty have with respect to that issue.

         17               Ms. Wichers, you know, Mr. Weeden indicated that there

         18    had been some communications -- and you did too --

         19    communications with the tribe before the hearing discussion

    11:08 20   about the concerns of the U.S. Attorney's Office, and I don't

         21    know whether this was swept into that discussion at all.             So

         22    maybe you can start on that.

         23               MS. WICHERS:     We did not discuss that, but we are

         24    meeting with those same gentlemen today at 2:30, so I'll have

         25    an answer to that.




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           1               THE COURT:    Okay.     So I think my thought is this, that

           2   I would otherwise, for instance, if it were a thing of value

           3   that really belonged to the tribe and the tribe might want it,

           4   a house or something like that, I might very well say I'm not

           5   going to do a forfeiture, I'm going to do it as restitution or

           6   at least have the government explain to me why it shouldn't be

           7   done that way.

           8               Here I think it's a little bit different for the

           9   reasons that I've outlined, but if they think differently,

    11:09 10   you'll advise me with respect to them there, the people

         11    involved.

         12                So now we're down to really a money judgment

         13    forfeiture that's relatively modest in terms of number, but

         14    they sure are obviously important in terms of maintaining a

         15    particular position, but I'm not sure that it requires very

         16    much more than me making a ruling after hearing the respective

         17    views of the parties on that.

         18                Mr. Flaherty, do you have any different view about

         19    that?

    11:10 20               MR. FLAHERTY:    I really don't, Judge.       I think it's

         21    teed up for you to make a ruling.

         22                THE COURT:    Okay.     If you want some further

         23    opportunity to brief that question in its current form, that is

         24    to say it was filed after we had the hearing or at least

         25    contemporaneous with the hearing, I guess, you can have it.              I




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           1   don't know how much time you'd want.

           2              MR. FLAHERTY:     This is on the money judgment

           3   forfeiture, the 11,000-and-some-change, Judge?

           4              THE COURT:     Yes.

           5              MR. FLAHERTY:     I don't know that a briefing will do

           6   any -- add any value to the argument, Judge.

           7              THE COURT:     That's fine, if that's the position that

           8   you want to take.      I think, Ms. Wichers, you may want to have

           9   something to say about that, and I don't know how long it would

    11:10 10   take you to do it.

         11               MS. WICHERS:     No, Your Honor.

         12               THE COURT:     No.    Okay.   So I will address that myself

         13    to decide what the restitution figure will be and the

         14    forfeiture will be.      We'll get that straightened away.         Then

         15    the question of fine.

         16               MS. WICHERS:     Sorry, did you just ask about

         17    restitution, or were you only asking about forfeiture?

         18               THE COURT:     Both.

         19               MS. WICHERS:     Well, so today when we meet with the

    11:11 20   tribe we're expecting to receive the legal invoices, which is

         21    the basis for their claim, so we will certainly submit those to

         22    Your Honor.     I don't know if you want to set out a briefing

         23    schedule on it.

         24               THE COURT:     Yes, I do.     That's why I was raising this

         25    together, these issues.         I understand, correct me if I'm wrong,




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           1   I understand that as far as both of you are concerned there's

           2   nothing more that you want to file with respect to the question

           3   of the money judgment forfeiture.         I will get some filing about

           4   the forfeiture of the Bowflex here, whether they're prepared to

           5   go forward, put that into the context of restitution.             I may

           6   view the money judgment forfeiture in one of two ways, that is

           7   to say no, it should be put into restitution, or,

           8   alternatively, I'll simply reorder what gets paid first in this

           9   area.    But it seems to me that that is probably money that

    11:12 10   belongs to the tribe rather than to the government even though

         11    the government has its forfeiture possibilities here.             Now

         12    we'll deal with the straight restitution issue that you've been

         13    talking about, and I want to get a sense from you what you

         14    believe you need to tee that up by briefing.

         15               MS. WICHERS:     Not much, Your Honor.      Really just the

         16    legal invoices.      I don't know whether Mr. Flaherty intends to

         17    argue that the tribe legally is not entitled to restitution

         18    with regard to the legal bills.         If not, then I think we'll

         19    just send you the legal bills.

    11:13 20              THE COURT:     Well, here is what I want from you, and

         21    Mr. Flaherty can think about a response, but simply the

         22    position of the United States government with respect to the

         23    victim status of the tribe and its entitlement to legal fees,

         24    and you submit their invoices if you find them to be

         25    well-founded, I mean, not that you've gone through hour by hour




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           1   but they're suitably supported by payments and money that

           2   they've lost already.

           3              Then Mr. Flaherty can respond to that, which may well

           4   be that they're not a victim at all, and, consequently, they

           5   don't get restitution.       And it may also include that what's

           6   been submitted is not supported adequately, or if it's

           7   supported, it's inflated.        I don't know whatever claims are

           8   going to be made about that.        That, it seems to me, may take a

           9   little bit of time.      But I would think that if you can,

    11:14 10   Ms. Wichers, get that basic brief to me by next Friday.

         11               MS. WICHERS:     No problem.

         12               THE COURT:     Not this Friday.     The 2nd.

         13               MS. WICHERS:     Yes, it can be done.

         14               THE COURT:     And Mr. Flaherty, then I'll give you what

         15    you want, whatever that is.         What is it?

         16               MR. FLAHERTY:     I will probably need until the 16th,

         17    Judge.    I've got some other matters that I have to try in the

         18    intervening days.      I may even ask for, from the government, in

         19    connection with whatever submission that the tribe makes on

    11:15 20   legal expenses, if I could have access to any grand jury

         21    subpoenas that are connected to those served on the tribe.

         22               THE COURT:     Let's wait and see on that.       I mean, I

         23    suppose it's to check against whether or not when there's claim

         24    for the need to respond there is in fact a grand jury subpoena

         25    outstanding and so on.       But I don't really want to get into, I




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           1   don't think we need to get into too much more of the grand jury

           2   stuff, except that they were asked to do stuff and they did it.

           3              So I think my view right now is you'll respond at a

           4   reasonable time, if the 16th is a reasonable time.            If you say,

           5   I need more information as well, I object, but I need more

           6   information as well, I'll look at it at that point and we'll

           7   get that straightened away as we move along.           So we've got the

           8   5th and the 16th for that aspect of the restitution issue.

           9              Now, the question of fine here.        The way in which some

    11:16 10   of the case law has gone on this is to permit either security

         11    or for fine to be put into the registry of the Court.             And that

         12    will be, on the face of it, the way I think I would do it here.

         13    The parties may have or particularly the defendants may have a

         14    different view about that.          But if I were to stay, I'd

         15    certainly want to have security with respect to the judgments

         16    in the case that have economic dimensions to them.

         17               I don't know, Mr. Weinberg or Mr. Flaherty, if you

         18    have views about that that you'd like to share at this point.

         19               MR. WEINBERG:     I don't have strong views, Your Honor.

    11:17 20   I could offer as an alternative Mr. DeQuattro post $50,000 that

         21    I would keep in escrow and, if his appeal was unsatisfactory,

         22    was denied, immediately pay the fine to the clerk's office as

         23    contrasted to paying the clerk and then going through the

         24    process of getting it back if he prevails.

         25               THE COURT:     Well, you think about it.       I'm a little




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           1   concerned about having counsel provide the escrow, just as a

           2   difficult -- it can be a difficult issue of a different sort.

           3   A way of dealing with it can be a letter of credit as well.

           4   There are a variety of different security devices that can be

           5   provided there.      They cost some money.      The value of putting it

           6   into the registry of the Court is it doesn't.           That is to say

           7   it's put in the registry of the Court.          It accrues or not,

           8   according to the registry's elements.          But you take a look at

           9   it and think about it.

    11:18 10              I think I would like to have a response on that

         11    dimension of it by, I'll use the next Friday as the date for

         12    all of this, I guess just to keep it straightened away so

         13    everybody understands what's involved.          And that includes the

         14    additional issues that may be pressed here rather than turning

         15    it around on Tuesday after the holiday.          I assume that's

         16    agreeable to the parties.

         17               MS. WICHERS:     Yes, Your Honor.

         18               THE COURT:     Okay.     Now, I think that covers all of the

         19    issues that may arise here.         My general view, as I've

    11:19 20   indicated, is that I'm likely to enter a stay pending appeal in

         21    this case.     I want the last opportunity to look at the issues

         22    and be persuaded otherwise as to them, if I can be.            And the

         23    way in which to do that is, as I said, to get the record as

         24    close to what would be appropriate for the Court of Appeals to

         25    be looking at as possible.          So those are the guiding principles




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           1   in dealing with it.

           2               Are there other questions that the parties have about

           3   this?    So long as this is the case, that is, we still have the

           4   pronouncement of the judgment here, oral announcement, but

           5   there is no judgment that's entered, I probably will -- not

           6   probably.     I of course have prepared a draft of the judgments

           7   in the case already, but I think I want to look at whatever it

           8   is that you raise, and I'll share those with you, and then

           9   we'll enter the judgment and go from there.

    11:20 10               MS. WICHERS:    Your Honor, the only other question I

         11    have is, since restitution, to the extent it's to be awarded by

         12    the Court to the tribe, it would be restitution for their legal

         13    costs incurred in collecting and producing records relevant to

         14    the investigation, which was the investigation of both

         15    defendants.     And so is Your Honor inclined to consider that

         16    issue with restitution with regard to both defendants?

         17                THE COURT:    I would.   You make the argument, you now

         18    have two people fighting against it, but so long as you've got

         19    a basis for an allocation between them, and I think I hear you

    11:21 20   saying the basis for the allocation is equal apportionment,

         21    that is, both of them were the targets of a grand jury

         22    investigation at the same time and these materials were

         23    addressed to the same set of issues, it may be that someone's

         24    going to say there should be a different kind of apportionment,

         25    I don't know.     That can make it more difficult, but we'll face




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           1   that one when we have to.        But you're now in that game,

           2   Mr. Weinberg.

           3              MR. WEINBERG:     So I assume, if I can, that since I was

           4   aware that there was an investigation of Mr. Cromwell and the

           5   compelling of records from the tribe far before Mr. DeQuattro

           6   became a target, Ms. Wichers will be required, when she makes

           7   her submission on December 2, to break out when Mr. DeQuattro

           8   became a target and to only provide the documents regarding any

           9   contention that DeQuattro pay restitution for that period on

    11:22 10   rather than the lengthy period before that, when the government

         11    was investigating Mr. Cromwell I think for other offenses

         12    rather than specific allegations that resulted in convictions.

         13               THE COURT:     I think that's a fair request.        Although

         14    I'm not going to put it quite that way.          I think, Ms. Wichers,

         15    you've got to give us or give them and me a basis for your

         16    allocation among them between the parties.           That is to say, to

         17    the degree that Mr. DeQuattro became a target after

         18    Mr. Cromwell did, that the time period leading up to that would

         19    not necessarily be allocated to Mr. DeQuattro.            But maybe you'd

    11:23 20   say otherwise, I don't know.

         21               Second, that Mr. Cromwell's income tax violations you

         22    may or may not treat as separate.         My view of it from afar is

         23    that the government's view was that the engagement of the IRS

         24    agents fortified the basic case before I severed the counts for

         25    income tax fraud, income tax violation, and those were of




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           1   course added by the superseding indictment here.

           2              Now, that leads me to one further point, which is to

           3   say that I've indicated and I want to be sure that there's not

           4   some issue about this; that my severance of the case with

           5   respect to tax involving Mr. Cromwell severs that case and

           6   judgment can enter with respect to the superseding indictment

           7   or the original indictment, I suppose, as to the original

           8   counts there.     But I just want to be sure that's understood

           9   here because I want this case to move on what the jury has

    11:24 10   dealt with here, and we'll get back to the question of income

         11    tax violation at a later point as necessary.

         12               MS. WICHERS:     Yes, that's the government's

         13    understanding, that that is permissible.          Your Honor would

         14    enter judgment with regard to Counts One through Ten on the

         15    superseding indictment and the others would be tried later.

         16               THE COURT:     Okay.     All right.   So then once the -- I

         17    believe, once judgment is issued with respect to Counts One

         18    through Ten as to the superseding indictment, the government

         19    would be dismissing the original indictment itself.

    11:25 20              MS. WICHERS:     I think that's right.

         21               THE COURT:     Okay.     All right.   That's my understanding

         22    as well, but I raise it because it's a touchy issue having to

         23    do with double jeopardy, frankly, and the potential for finding

         24    that there's a prior judgment on this issue.           But that's where

         25    I think it will be.      That's the way I'll be thinking about the




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           1   judgment that I will be fashioning here.

           2              MS. WICHERS:     Your Honor, what's the -- sorry, I'm not

           3   following.     What's the potential double jeopardy issue?          I

           4   hadn't thought that through.

           5              THE COURT:     If you came back and said we want to try

           6   him on the original indictment.         He's been found guilty or not

           7   guilty on the superseding but not on the original indictment.

           8   Ordinarily what happens is people supersede and then they

           9   dismiss the underlying indictment afterwards.           But it may be

    11:26 10   that the government will have a different view about that.

         11    That's why I throw it out.          I have my own views, which is I'm

         12    not fully informed yet with the particulars of this case, but

         13    my guess is you've had your trial on Counts One through Ten.

         14               MS. WICHERS:     Yes.

         15               THE COURT:     You either win or you don't, and the Court

         16    of Appeals does what it does or doesn't in terms of this, or I

         17    do something with respect to it.         But in any event, that was

         18    your chance to prove those charges.

         19               MS. WICHERS:     Right, I think that's right.        I'll just

    11:26 20   check with someone in my office, but I anticipate that we would

         21    agree with that and dismiss the original indictment.

         22               THE COURT:     And that would happen after the judgment

         23    enters here.

         24               MS. WICHERS:     Yes.

         25               THE COURT:     Right.     Okay.   Anything else that we need




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           1   to talk about?      So we've got this thing coming up on the 5th.

           2   That is the kind of witching hour for various issues here that

           3   the parties will be submitting to me.          And then Mr. Flaherty

           4   has until the 16th to respond.         And Mr. Weinberg, you may also

           5   want to respond after you take a look at whatever is submitted

           6   with respect to the additional restitution.

           7              MR. WEINBERG:     Thank you, Judge.

           8              THE COURT:     Okay.     Thank you very much for indulging

           9   me both immediately this morning and on the cusp of

    11:27 10   Thanksgiving and also for letting me break off to deal with yet

         11    another inconsistent matter.         But we'll be in recess.      Have a

         12    good holiday.

         13               (Adjourned, 11:27 a.m.)

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           1                      CERTIFICATE OF OFFICIAL REPORTER

           2

           3                    I, Kelly Mortellite, Registered Merit Reporter

           4   and Certified Realtime Reporter, in and for the United States

           5   District Court for the District of Massachusetts, do hereby

           6   certify that the foregoing transcript is a true and correct

           7   transcript of the stenographically reported proceedings held in

           8   the above-entitled matter to the best of my skill and ability.

           9                          Dated this 29th day of November, 2022.

         10

         11                           /s/ Kelly Mortellite

         12                           _______________________________

         13                           Kelly Mortellite, RMR, CRR

         14                           Official Court Reporter

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                                    UNITED STATES DISTRICT COURT
                                     DISTRICT OF MASSACHUSETTS

       UNITED STATES OF AMERICA                      )
                                                     )
                                                     )
              v.                                     )          Criminal No. 20-10271-DPW
                                                     )
       CEDRIC CROMWELL,                              )
                                                     )
                              Defendant.             )


                               UNITED STATES’ SUPPLEMENTAL BRIEF
                               ADDRESSING THE HOBBS ACT COUNTS

              During the status conference on November 22, 2022, the Court invited the government to

       brief two issues raised by the Court on November 15, 2022 when it granted Cedric Cromwell’s

       motion for judgment of acquittal on the Hobbs Act counts.

              The first issue concerns the 1985 case of United States v. Overton James, No. 85-cr-25-T

       (W.D. Okla.). Contrary to a Wikipedia entry on Mr. James, which states that he was charged

       with extortion, https://en.wikipedia.org/wiki/Overton_James, it appears from the docket sheet

       that he was not charged with that offense. See Exhibit A. The docket sheet indicates that Mr.

       James pled guilty to an information charging him with Conspiracy, in violation of 18 U.S.C. §

       371; Perjury, in violation of 18 U.S.C. § 1623; and Receiving HUD Rebates with Intent to

       Defraud, in violation of 18 U.S.C. § 1012. Id. at p.1 (listing charges), p.14 (docket entries noting

       plea agreement and information), p.15 (docket entries noting James was sentenced to nine

       months on each of the three counts, to run concurrently). 1



              1
                The government has ordered the following five docket entries from the National
       Archives and Records Administration and will submit them to the Court as soon as it receives
       them: (1) original indictment (DN 1); (2) second indictment (DN 58); superseding indictment
       (DN127); information (DN 180); and judgment (DN 184).




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               The second issue concerns Congress’s amendment of 18 U.S.C. § 666 after the Tenth

       Circuit decided United States v. Barquin, 799 F.2d 619 (10th Cir. 1986), and the relevance of

       that amendment, if any, to Hobbs Act extortion under color of official right as it applies to tribal

       officials. As explained below, Congress’s amendment of Section 666 is irrelevant to the

       government’s position that Section 1951’s prohibition of extortion under color of official right

       applies to tribal officials.

               The defendant in Barquin paid a bribe to an agent of the Northern Arapahoe Business

       Council. Id. at 619. He argued that Section 666 did not cover tribal councils. The statute at the

       time read as follows:

               (a) Whoever, being an agent of an organization, or of a State or local government
                   agency, that receives benefits in excess of $10,000 in any one year period
                   pursuant to a Federal program involving a grant, a contract, a subsidy, a loan,
                   a guarantee, insurance, or another form of Federal assistance, embezzles,
                   steals, purloins, willfully misapplies, obtains by fraud, or otherwise
                   knowingly without authority converts to his own use or to the use of another,
                   property having a value of $5,000 or more owned by or under the care,
                   custody, or control of such organization or State or local government agency,
                   shall be imprisoned for not more than ten years and fined not more than
                   $100,000 or an amount equal to twice that which was obtained in violation of
                   this subsection, whichever is greater, or both so imprisoned and fined.

               (b) Whoever, being an agent of an organization, or of a State or local government
                   agency, described in subsection (a), solicits, demands, accepts, or agrees to
                   accept anything of value from a person or organization other than his
                   employer or principal for or because of the recipient's conduct in any
                   transaction or matter or a series of transactions or matters involving $5,000 or
                   more concerning the affairs of such organization or State or local government
                   agency, shall be imprisoned for not more than ten years or fined not more than
                   $100,000 or an amount equal to twice that which was obtained, demanded,
                   solicited or agreed upon in violation of this subsection, whichever is greater,
                   or both so imprisoned and fined.

               (c) Whoever offers, gives, or agrees to give to an agent of an organization or of a
                   State or local government agency, described in subsection (a), anything of
                   value for or because of the recipient's conduct in any transaction or matter or
                   any series of transactions or matters involving $5,000 or more concerning the
                   affairs of such organization or State or local government agency, shall be

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                    imprisoned not more than ten years or fined not more than $100,000 or an
                    amount equal to twice that offered, given or agreed to be given, whichever is
                    greater, or both so imprisoned and fined.

              (d) For purposes of this section —

                    (1) “agent” means a person or organization authorized to act on behalf of
                    another person, organization or a government and, in the case of an
                    organization or a government, includes a servant or employee, a partner,
                    director, officer, manager and representative;

                    (2) “organization” means a legal entity, other than a government, established
                    or organized for any purpose, and includes a corporation, company,
                    association, firm, partnership, joint stock company, foundation, institution,
                    trust, society, union, and any other association of persons;

                    (3) “government agency” means a subdivision of the executive, legislative,
                    judicial, or other branch of a government, including a department,
                    independent establishment, commission, administration, authority, board, and
                    bureau; or a corporation or other legal entity established by, and subject to
                    control by, a government or governments for execution of a governmental or
                    intergovernmental program; and

                    (4) “local” means of or pertaining to a political subdivision within a State.

       Pub. L. 98-473, Title II, § 1104(a), 98 Stat. 2143 (Oct. 12, 1984) (emphasis added).

              The issue for the Barquin court was whether a tribal council was a “local government

       agency.” Barquin, 799 F.2d at 620. 2 Given the statutory definitions of “government agency” and

       “local,” the ultimate question was whether the tribe or its business council were “subdivisions of

       the executive branch of a political subdivision within a state.” Id. The court held that they were

       not, because they were wholly distinct from, and not subject to the authority of, any state. Id. at

       621. Furthermore, a tribe is not a “subdivision” of any entity; it is a sovereign. Id. The court

       concluded:




              2
                The government conceded that a tribal council was not an “organization” as that term
       was defined in Section 666. Barquin, 799 F.2d at 620 n.2.

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              Accordingly, we hold that Congress did not include Indian tribes or their business
              councils within the ambit of 18 U.S.C. § 666. Moreover, the narrowly drawn
              definitions contained within the section exclude it from the category of general
              federal crimes which are applicable to members of a tribe. We are therefore
              compelled to observe, if it is the intent of Congress to include tribes within the
              ambit of § 666, it must do so with specificity.

       Id. at 621-22 (emphasis added).

              A few months after Barquin was decided, Congress amended Section 666 to read as

       follows:

              (a) Whoever, if the circumstance described in subsection (b) of this section
                  exists —

                  (1) being an agent of an organization, or of a State, local, or Indian tribal
                  government, or any agency thereof —

                     (A) embezzles, steals, obtains by fraud, or otherwise without authority
                     knowingly converts to the use of any person other than the rightful owner
                     or intentionally misapplies, property that —

                         (i) is valued at $5,000 or more, and

                         (ii) is owned by, or is under the care, custody, or control of such
                         organization, government, or agency; or

                     (B) corruptly solicits or demands for the benefit of any person, or accepts
                     or agrees to accept, anything of value from any person, intending to be
                     influenced or rewarded in connection with any business, transaction, or
                     series of transactions of such organization, government, or agency
                     involving any thing of value of $5,000 or more; or

                  (2) corruptly gives, offers, or agrees to give anything of value to any person,
                  with intent to influence or reward an agent of an organization or of a State,
                  local or Indian tribal government, or any agency thereof, in connection with
                  any business, transaction, or series of transactions of such organization,
                  government, or agency involving anything of value of $5,000 or more;

              shall be fined under this title, imprisoned not more than 10 years, or both.

              (b) The circumstance referred to in subsection (a) of this section is that the
              organization, government, or agency receives, in any one year period, benefits in
              excess of $10,000 under a Federal program involving a grant, contract, subsidy,
              loan, guarantee, insurance, or other form of Federal assistance.



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              (c) This section does not apply to bona fide salary, wages, fees, or other
              compensation paid, or expenses paid or reimbursed, in the usual course of
              business.

              (d) As used in this section —

                  (1) the term “agent” means a person authorized to act on behalf of another
                  person or a government and, in the case of an organization or government,
                  includes a servant or employee, and a partner, director, officer, manager, and
                  representative;

                  (2) the term “government agency” means a subdivision of the executive,
                  legislative, judicial, or other branch of government, including a department,
                  independent establishment, commission, administration, authority, board, and
                  bureau, and a corporation or other legal entity established, and subject to
                  control, by a government or governments for the execution of a governmental
                  or intergovernmental program; and

                  (3) the term “local” means of or pertaining to a political subdivision within a
                  State.

       Pub. L. 99-646, § 59, 100 Stat. 3592 (Nov. 10, 1986) (emphasis added). 3 Congress intended the

       language highlighted above to “clarif[y] that 18 U.S.C. § 666 covers programs of Indian Tribal

       governments and Tribal government agencies.” H.R. Rep. No. 797 § 42, 99th Cong., 2d Sess.

       1986, 1986 U.S.C.C.A.N. 6138, 6153, 1986 WL 311964, at *30 (Aug. 15, 1986).

              Except for one small change not relevant here, Congress has never amended the Hobbs

       Act since enacting it in 1948. 4 There was no reason to do so in response to Barquin because the

       language in Section 666 that the Barquin court concluded did not encompass tribal governments

       (“political subdivision[s] within a State”) appears nowhere in the Hobbs Act. See Barquin, 799




              3
                This version of Section 666 is identical to the current version, except that the current
       version includes definitions of “State” and “in any one-year period.”
              4
                In 1994 Congress changed the amount of the fine payable under Section 1951 from
       $10,000 to the amount generally applicable to offenses under Title 18. See Pub. L. 103-322, 108
       Stat. 1796 (Sept. 13, 1994).

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       F.2d at 621 (noting that it was “the specific definitions of § 666” that obligated the court to

       “analyze the governmental structure of the tribe and its place within the hierarchy of the

       governments rather than the conduct of the tribal members”). Unlike 18 U.S.C. §§ 201, 666, and

       872, Congress did not write the Hobbs Act to circumscribe the types of

       bribers/bribees/extortioners to whom it applies. It instead extends to “whoever” commits

       extortion “under color of official right,” which as a matter of its plain text includes tribal

       officials. The statute “speaks in broad language, manifesting a purpose to use all the

       constitutional power Congress has to punish interference with interstate commerce by extortion.”

       Stirone v. United States, 361 U.S. 212, 215 (1960); see also United States v. Rivera Rangel, 396

       F.3d 476, 485 n.8 (1st Cir. 2005) (“The Hobbs Act reaches anyone who actually exercises

       official powers, regardless of whether those powers were conferred by election, appointment, or

       some other method.”) (internal quotation marks omitted).

              Assuming arguendo that any Indian-specific interpretative principle applies to this

       unambiguous statute, 5 it would merely be the general principle—which even the Barquin court

       acknowledged—that “tribal members are subject to general federal criminal statutes unless a


              5
                 The “clear-statement rule for abrogating [tribal sovereign immunity]” applied in In re
       Coughlin, 33 F.4th 600, 610 (1st Cir. 2022), petition for cert. docketed, No. 22-227 (Sept. 12,
       2022), is inapt because the Hobbs Act charges in this case did not implicate the Tribe’s sovereign
       immunity. The Tribe was not a defendant. Although the First Circuit has said in dicta that, “[a]t
       its most expansive, tribal sovereign immunity may extend to tribal officers,” it clarified that this
       could apply “only when such officers are acting within the legitimate scope of their official
       capacity.” Narragansett Indian Tribe v. Rhode Island, 449 F.3d 16, 30 (1st Cir. 2006). The
       Supreme Court in 2017 then reaffirmed the idea that merely acting “within the scope of [one’s]
       employment with the tribe” does not cloak individuals with the tribe’s sovereign immunity; such
       immunity applies only where the tribe is the “real party in interest” of the suit. Lewis v. Clarke,
       137 S. Ct. 1285, 1288, 1291-92 (2017) (“The protection offered by tribal sovereign immunity
       here is no broader than the protection offered by state or federal sovereign immunity.”).
       Cromwell was not acting in the “legitimate scope of [his] official capacity” in committing
       extortion, 449 F.3d at 30, and the Tribe was not the real party in interest of this prosecution.

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       particular Indian right or policy is infringed by enforcement of the law.” Barquin, 799 F.2d at

       621. The First Circuit referenced this same idea in United States v. Boots, where it held that tribal

       members are subject to the wire fraud statute because it “belong[s] to th[e] category of general

       offenses that apply equally to Native Americans,” and the court could not “discern[] how the

       application of [that criminal statute] would interfere with any Native American right protected by

       statute or treaty, or right integral to self-government.” 80 F.3d 580, 593 (1st Cir. 1996),

       abrogated on other grounds by Pasquantino v. United States, 544 U.S. 349 (2005). This

       principle is also articulated in the Restatement of American Indian Law, which states in relevant

       part:

               General federal crimes. In general, the federal government possesses
               jurisdiction to enforce, in Indian country, federal crimes generally applicable
               throughout the United States. Examples include drug offenses, bank robbery,
               felon in possession of firearm, mail fraud, embezzlement or theft from a tribal
               organization, theft from a tribal gaming facility, and failure to report child abuse.
               However, the Supreme Court has held that when federal criminal statutes
               interfere with matters implicating tribal customs and laws, federal law does not
               apply.

       Id. § 70 cmt (h) (2022 ed.) (emphasis added).

               The interest of an individual Indian criminal defendant is plainly not the same as the

       rights of the tribe itself. Cf. Negonsett v. Samuels, 507 U.S. 99, 110 (1993) (declining to equate

       the “benefit of dependent Indian tribes” with the “benefit of accused Indian criminals”); United

       States v. Gallaher, 624 F.3d 934, 941 (9th Cir. 2010) (noting that the Indian-law canons are

       concerned with the “tribal government,” not “individual Indian criminal defendants”).

       Congress’s prohibition of extortion by tribal officials does not “interfere with matters implicating

       tribal customs and laws,” Restatement of Indian Law § 70 cmt (h), or any right integral to self-

       government. Extortion “under color of official right” refers to obtaining property to which a

       defendant is not entitled by virtue of their official position. See Evans v. United States, 504 U.S.

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       255, 268 (1992). No Mashpee Wampanoag custom or law allows its elected officials to use their

       political power to coerce others into giving them property to which they are not entitled. On the

       contrary, the Mashpee Wampanoag, like all tribes, have a strong interest in prohibiting extortion

       by their elected officials, which harms both the victims and the Tribe itself. Interpreting a statute

       containing no definitional limitations as prohibiting extortion by federal, state, and municipal

       officials but not tribal officials is both nonsensical and unfair to tribes. 6

                                                        Respectfully submitted,

                                                        RACHAEL S. ROLLINS
                                                        United States Attorney

                                                 By: /s/ Christine Wichers
                                                     Christine Wichers
                                                     Jared Dolan
                                                     Assistant U.S. Attorneys




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       1, 2022.

                                                        /s/ Christine Wichers
                                                        Christine Wichers




               6
                 During the November 22 status conference, the Court stated that it might “enter a
       further judgment of acquittal or . . . order a new trial . . . .” Tr. at 10. The government
       respectfully submits that, although the Court has not yet entered judgment, it lacks the authority
       to modify the sentences it has already imposed based on the Section 666 counts. See United
       States v. Tanco-Pizarro, 892 F.3d 472, 477 n.1 (1st Cir. 2018) (citing 18 U.S.C. § 3582(c); Fed.
       R. Crim. P. 35).

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                                     UNITED STATES DISTRICT COURT
                                      DISTRICT OF MASSACHUSETTS

       UNITED STATES OF AMERICA                       )
                                                      )
               v.                                     )          Criminal No. 20-10271-DPW
                                                      )
       CEDRIC CROMWELL and                            )
       DAVID DEQUATTRO,                               )
                                                      )
                              Defendants.             )


                               UNITED STATES’ BRIEF ON RESTITUTION

               The government respectfully requests that the Court order the defendants to pay

       $239,726.94 in restitution to the victim in this case, the Mashpee Wampanoag Tribe, and to hold

       the defendants jointly and severally liable. This request is supported by the declarations of Tribal

       counsel Rebekah Salguero and AUSA Christine Wichers, both of which have been filed under

       seal.

                                                  ARGUMENT

               The Mandatory Victims Restitution Act (MVRA) provides in relevant part:

       “Notwithstanding any other provision of law, when sentencing a defendant convicted of an

       offense described in subsection (c), the court shall order, in addition to . . . any other penalty

       authorized by law, that the defendant make restitution to the victim of the offense . . . .” 18

       U.S.C. § 3663A(a)(1). Subsection (c) includes “an offense against property under this title.” Id. §

       3663A(c)(1)(A)(ii). The First Circuit has never defined “offense against property.” Cf., e.g.,

       United States v. Collins, 854 F.3d 1324, 1331 (11th Cir. 2017) (holding that an offense qualifies

       if property is its object, not simply a collateral component); United States v. Turner, 718 F.3d

       226, 235 (3d Cir. 2013) (holding that an offense qualifies if it involves money). Depending on

       the facts, bribery can be an offense against property. See United States v. Razzouk, 984 F.3d 181,




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       188-89 (2d Cir. 2020), cert. denied, 142 S. Ct. 223 (2021). The defendants’ bribery qualifies as

       an offense against property because items of property were the object of the crime: DeQuattro

       wanted RGB’s valuable contract to stay in place (and got it), and Cromwell wanted cash, a

       Bowflex, and payment for a pricey hotel stay (and got it).

              The term “victim” means “a person directly and proximately harmed as a result of the

       commission of an offense for which restitution may be ordered including, in the case of an

       offense that involves as an element a scheme, conspiracy, or pattern of criminal activity, any

       person directly harmed by the defendant’s criminal conduct in the course of the scheme,

       conspiracy, or pattern.” 18 U.S.C. § 3663A(a)(2). A governmental entity can be a victim. See

       United States v. Mei Juan Zhang, 789 F.3d 214, 216 (1st Cir. 2015). This includes Indian tribes.

       See United States v. Zander, 742 F. App’x 358, 362 (10th Cir. 2018).

              The Tribe is a victim of the defendants’ crimes. Among other things, its reputation was

       severely damaged as a result of Mr. Cromwell’s indictment, conviction, and sentence for bribery

       in connection with the Tribe’s plans to build a resort and casino. Salguero Decl. ⁋ 12. That injury

       has caused distrust in potential lenders for the project, impeding the Tribe’s ability to obtain

       financing for economic development. Id.

              The Tribe is a victim in other ways as well. It had a relationship with Mr. DeQuattro’s

       firm, Robinson Green Beretta (RGB), since at least 2011. Id. ⁋ 13. In 2014 the Tribe’s Gaming

       Authority hired RGB to serve as the owner’s representative for its casino project. Id. In 2018 it

       hired RGB to serve as the architect of record for its project to build housing for low-income

       Tribal members and elders. Id. In mid-2020 it hired RGB to serve as the architect of record for

       its project to build a childcare facility. Id. When Mr. Cromwell and Mr. DeQuattro were indicted

       in late 2020, the Tribe immediately terminated its relationship with RGB. Id. The housing project



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       was being built and the childcare facility had been designed. Id. Because of the RGB

       terminations, the Tribe had to hire new architects for both projects, causing significant delays

       and cost increases. Id. The housing project was funded by low-income housing tax credits and

       the Tribe had to spend considerable time and resources assuring its investors and development

       partners that it was not complicit in the Cromwell – RGB conspiracy. Id.

              Restitution includes payment for “expenses incurred during participation in the

       investigation and prosecution of the offense or attendance at proceedings related to the offense.”

       18 U.S.C. § 3663A(b)(4). These expenses include legal fees. See In re: Akebia Therapeutics,

       Inc., 981 F.3d 32, 38 n.4 (1st Cir. 2020) (assuming without deciding that attorney’s fees are

       recoverable under Section 3663A(b)(4)). The restitution calculus is not an inquiry into whether

       the victim hired the least expensive attorneys, but a determination of the victim’s actual loss so

       that the victim can be made whole. See id. at 36.

              The purpose of restitution is to “make the victim whole,” and, “[i]n calculating the dollar

       amount to be awarded, the district court need not be absolutely precise.” Id. While the Court

       undertakes a “fact specific probe,” ultimately, it must make “a reasonable determination of

       appropriate restitution by resolving uncertainties with a view towards achieving fairness to the

       victim, including whether the restitution award has a rational basis in the record.” Id. (internal

       quotation marks omitted).

              There is a rational basis in the record for the Tribe’s request for restitution in the amount

       of $239,726.94. This sum constitutes the total fees and disbursements that the Tribe paid to three

       law firms – Todd & Weld, Jackson Lewis, and Rankin & Sultan – in connection with the

       government’s investigation and prosecution of both defendants, excluding the tax charges still

       pending against Mr. Cromwell. See Salguero Decl. ⁋⁋ 8-11 & Exhibits A-C (invoices). Fees and



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       disbursements not incurred in connection with the investigation and prosecution of this case have

       been redacted from the invoices. Wichers Decl. ⁋⁋ 10-12.

              The Tribe incurred $239,726.94 in order to: (a) review and produce records responsive to

       grand jury subpoenas; (b) provide legal representation to Tribal members who were interviewed

       by the government and/or testified before the grand jury or at trial; and (c) have a legal

       representative monitor its interests by attending hearings and the trial. Salguero Decl. ⁋⁋ 5-11;

       Wichers Decl. ⁋⁋ 10-16. The Tribe incurred the expenses between June 8, 2020, the day it

       received the first grand jury subpoena, and May 6, 2022, the day after the jury returned its

       verdict.

              “If the court finds that more than 1 defendant has contributed to the loss of a victim, the

       court may make each defendant liable for payment of the full amount of restitution or may

       apportion liability among the defendants to reflect the level of contribution to the victim’s loss

       and economic circumstances of each defendant.” 18 U.S.C. § 3664(h); see United States v. Wall,

       349 F.3d 18, 26 (1st Cir. 2003) (“a court issuing a restitution order is permitted to apportion

       liability among defendants according to culpability or capacity to pay, or, in the alternative, to

       make each defendant liable for the full amount of restitution by imposing joint and several

       liability”). If the court chooses to apportion liability, it need not apply any particular formula. See

       United States v. Moran-Calderon, 780 F.3d 50, 52 (1st Cir. 2015).

              Mr. Cromwell and Mr. DeQuattro are equally responsible for the legal expenses incurred

       by the Tribe. The government’s investigation into Mr. Cromwell began in 2019. Wichers Decl. ⁋

       4. However, the Tribe did not begin to incur legal expenses until June 8, 2020, by which time the

       government had already discovered that large, suspect treasurer’s checks made out to Mr.

       Cromwell had been purchased at Cape Cod Five by Constantinos Mitrokostas, and had



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       subpoenaed Cape Cod Five for Mr. Mitrokostas’s bank records. Id. ⁋ 5. 1 When Cape Cod Five

       produced those records, the government learned that the large payments to Mr. Cromwell had

       originated from Mr. DeQuattro. Id. The entire investigation and prosecution occurring thereafter

       – except for the tax charges against Mr. Cromwell, for which the Tribe is not seeking restitution

       – was focused on both defendants. It is impossible to parse the Tribe’s expenses between the two

       defendants. The government investigated and prosecuted them as conspirators working together.

              Moreover, even if it were somehow possible to parse responsibility for the Tribe’s legal

       expenses between the two defendants and it was determined that Mr. DeQuattro bears less

       responsibility than Mr. Cromwell, it would still be fairer to the Tribe to hold Mr. DeQuattro

       jointly and severally liable. That is because he has significant income and assets and Mr.

       Cromwell does not, and holding him jointly and severally liable will make it far more likely that

       the Tribe will be paid. See 18 U.S.C. § 3664(h) (stating that a court may take “economic

       circumstances of each defendant” into account when apportioning or not apportioning restitution

       between multiple defendants); Akebia, 981 F.3d at 36 (a court must resolve any uncertainties

       “with a view towards achieving fairness to the victim” since the purpose of restitution is to

       “make the victim whole”). 2




              1
                 The first grand jury subpoena to the Tribe, which was served on or about June 8, 2020,
       did not request any records relating to RGB. The second subpoena, which was served on or about
       August 10, 2020, did. The Tribe incurred approximately $68,000 in legal fees between its receipt
       of the first and second subpoenas. See Salguero Decl., Exhibit A.
              2
                The Court asked the government to inquire whether the Tribe wants the Bowflex that
       was the subject of Counts 3 and 5. It does not.

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                                                  CONCLUSION

              For these reasons, the government respectfully requests that the Court order the

       defendants to pay $239,726.94 in restitution to the Mashpee Wampanoag Tribe, and to hold the

       defendants jointly and severally liable.

                                                       Respectfully submitted,

                                                       RACHAEL S. ROLLINS
                                                       United States Attorney

                                                  By: /s/ Christine Wichers
                                                      Christine Wichers
                                                      Jared Dolan
                                                      Assistant U.S. Attorneys




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                                                       /s/ Christine Wichers
                                                       Christine Wichers




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                                   UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF MASSACHUSETTS

       ___________________________________
                                           )
                                           )
       UNITED STATES OF AMERICA            )
                                           )
       v.                                  )                                   No. 20-CR-10271
                                           )                                   Leave to File Granted on
       DAVID DEQUATTRO,                    )                                   December 12, 2022
                   Defendant               )
                                           )
       ___________________________________ )

            DEFENDANT DAVID DEQUATTRO’S RESPONSE IN OPPOSITION TO THE
                       GOVERNMENT’S BRIEF ON RESTITUTION

               Now comes the defendant David DeQuattro, by and through undersigned counsel, and

       respectfully submits this Response in Opposition to the government’s Brief on Restitution. In

       sum, the request for restitution, raised for the first time as a potential issue at the sentencing

       hearing, is woefully untimely and raises a host of intricate legal issues, which the government’s

       brief fails to meaningfully address. This post-sentencing demand for almost a quarter million

       dollars from a defendant convicted of giving a tribal leader a used piece of gym equipment and a

       free hotel reservation is not supported by law or fact and should be rejected by this Court for all

       of the reasons set forth below.

       A.      The Request for Restitution is Untimely

               The restitution statute relied upon by the government provides that “not later than 60 days

       prior to the date initially set for sentencing, the attorney for the Government, after consulting, to

       the extent practicable, with all identified victims, shall promptly provide the probation officer

       with a listing of the amounts subject to restitution.” 18 U.S.C. § 3664(d)(1). The Presentence


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       Report (“PSR”) in this case prepared on September 29, 2022 and revised on October 27, 2022

       expressly stated, “[r]estitution is not applicable in this case.” It further stated that the case

       involved “no identifiable victim.” Neither the government nor the Tribe, which was presumably

       in contact with the government as required by statute, objected to these conclusions. Failure to

       object to a PSR finding regularly results in waiver of parties’ rights. See, e.g., United States v.

       Aquino-Florenciani, 894 F.3d 4, 9 (1st Cir. 2018) (citing cases).

               In the midst of the November 15, 2022 sentencing hearing, the government stated for the

       first time, “[w]e learned last week meeting with the tribe that they incurred close to $200,000

       complying with grand jury subpoenas, collecting all the records, reviewing the records,

       attorneys’ fees,” and requested a date for further briefing on the issue of restitution. Nov. 15,

       2022 Tr. 68-69. Notably, the Tribe was represented for a significant period of time by a

       prominent and experienced criminal defense attorney who was also a former Assistant United

       States Attorney who was monitoring the trial, aware of the charges, aware of the verdicts, and

       aware of the sentencing date, but who never submitted a timely claim for restitution.1 Even

       assuming, contrary to the pre-existing invoices itemizing the claimed expenses, that the Tribe’s

       losses were “not ascertainable by the date that is 10 days prior to sentencing,” the statute

       expressly provided that “the attorney for the Government . . . shall so inform the court.”

       § 3664(d)(5). These indisputably missed deadlines are “legally enforceable,” even if they do not

       “deprive the court of the power to order restitution” in the event it chooses to do so. See Dolan

       v. United States, 560 U.S. 605, 611 (2010).




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        That neither the attorney for the Tribe nor the government made a timely and particularized
       application for restitution implies that the current restitution request was an afterthought.
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              Here, the missed deadlines are far from a matter of just form. The interests of finality to

       lengthy and complex district court litigation were anticipated as of the date of sentencing. In

       other contexts, the government regularly raises finality to contest tardy defense motions. Instead,

       the belated request for restitution raises numerous complex legal issues, all coming before the

       Court for the first time at and after sentencing, in a case where the defendant who is intent on

       exercising his appellate rights to respectfully challenge the many difficult and critical legal

       decisions that arose during the trial of the case, must now, instead focus on meeting the Tribe’s

       request that he fund its legal expenses when much of the expenses had nothing to do with him or

       even his company and where none of the expenses have anything to do with his crime of

       conviction. See infra Section F. For these reasons, the defense submits that the Court can and

       should deny restitution based solely on the government and Tribe’s failure to comply with the

       statute. But assuming arguendo the Court disagrees, the request for restitution also fails on the

       merits for a number of reasons.

       B.     Mr. DeQuattro Was Not Convicted of an Offense “Against Property”

              Restitution under this statute is limited to certain categories of offenses, among them

       offenses “against property” under Title 18. 18 U.S.C. § 3663A(c)(1)(A)(ii). As the

       government’s own leading authority on this issue states, interpretation of this provision should

       “start with the rather unremarkable observation that ‘against’ is not the same as ‘relating to’ or

       ‘concerning.’ The latter two . . . sweep much more broadly, and would encompass offenses with

       little more than some connection to property.” United States v. Collins, 854 F.3d 1324, 1331

       (11th Cir. 2017) (citation omitted). By contrast, “against” connotes a level of “directedness.” Id.

       “Property, therefore, must serve as the object of the offense, not simply a collateral component.


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       At its simplest, this understanding includes offenses in which the defendant intends to damage

       another’s property . . . .” Id. (emphasis added) (citation omitted). Indeed, the phrase “against

       property” has its “roots” in common law, where it “referred to a specific set of criminal

       conduct,” namely “larceny, embezzlement, cheating, cheating by false pretenses, robbery,

       receiving stolen goods, malicious mischief, forgery, and uttering forged instruments.” Id. at

       1332-33 (citation omitted).

              It is “not readily apparent” that bribery “will always trigger” this provision of the statute.

       Id. at 1335. As one district court has explained, “the elements of” § 666 “do not make it an

       offense against property.” United States v. Adorno, 950 F. Supp. 2d 426, 429 (E.D.N.Y. 2013)

       (distinguishing honest services fraud in violation of 18 U.S.C. § 1346). According to the

       government’s prior filings in this case, conviction does not require a showing that the recipient’s

       “official conduct” was “influenced.” Id. at 430; see also Dkt. 258 (Govt. Opp’n to Post-Trial

       Rule 29 Motion) at 21 (“The government was not required to prove that the Bowflex and paid

       hotel stay caused Cromwell to refrain from doing something he otherwise would have done.”).

       And there was no evidence that any action by Mr. Cromwell was so influenced. In fact, to the

       contrary, the trial evidence evinced no indication that termination of RGB’s contract was ever

       considered by anyone at any time and, to the contrary, established that stakeholders in the casino

       project were, without exception, completely satisfied with RGB’s performance. See, e.g., Dkt.

       252 at 6-7. This lack of evidence that Mr. DeQuattro’s actions implicated another person or

       entity’s property interest renders the statute relied upon by the government inapplicable. See

       Adorno, 950 F. Supp. 2d at 430; Collins, 854 F.3d at 1335 (suggesting that the statute may not

       apply where the government fails to “demonstrat[e] that any improperly influenced transaction


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       implicated someone else’s property”). The cases cited by the government are all readily

       distinguishable on this basis. See Collins, 854 F.3d at 1335 (noting that defendant withdrew

       funds belonging to the victim bank); United States v. Turner, 718 F.3d 226, 236 (3d Cir. 2013)

       (involving “conspiracy to defraud the IRS of its property,” namely tax dollars owed); United

       States v. Razzouk, 984 F.3d 181, 189 (2d Cir. 2020) (involving payments from the victim for

       which it “received no consideration”).

              Notwithstanding its own reliance upon Collins and its acknowledgement that not all

       bribery would necessarily trigger the statute, the government misses this issue. In a single

       sentence, it asserts that Mr. DeQuattro’s offense “qualifies as an offense against property

       because . . . DeQuattro wanted RGB’s valuable contract to stay in place (and got it), and

       Cromwell wanted cash, a Bowflex, and payment for a pricey hotel stay (and got it).” Dkt. 307 at

       2. This logic would apply to any and all bribery. Of course, the very definition of a bribe

       requires that an item of value be offered or provided to one party. But, under authorities like

       Collins and Adorno, that alone is not sufficient to render an offense one “against property.”

       C.     The Government Has Not Proven that the Tribe Suffered a “Pecuniary Loss”

              In addition to the requirement of an offense against property, the restitution statute

       contains a separate prerequisite of “an identifiable victim or victims” that “has suffered a

       physical injury or pecuniary loss.” 18 U.S.C. § 3663A(c)(1)(B). The harm to the victim must

       moreover be “direct[] and proximate[].” § 3663A(a)(2). The legal expenses claimed as subject

       to restitution cannot be “subsumed under the term ‘pecuniary loss.’” United States v. Yu Xue,

       No. 16-CR-22, 2021 WL 2433857, at *6 (E.D. Pa. June 15, 2021). This is because the statutory

       language “distinguishes between pecuniary loss and necessary expenses.” Id. “[E]xpenses for


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       legal fees and costs incurred during an investigation and prosecution of a defendant would only

       arise after a victim suffers a pecuniary loss ‘as a result of the commission of an offense.’” Id

       (quoting 18 U.S.C. § 3663A(a)(2)).

              The government does not so much as mention the requirement of “pecuniary loss.” It

       does, however, set forth two theories as to how the Tribe was victimized. It first attempts to rely

       upon alleged damage to the Tribe’s reputation. Such harm is self-evidently not “pecuniary” in

       nature. See Black’s Law Dictionary (8th ed. 2007) (defining “pecuniary” to mean “Of or relating

       to money; monetary”). Any resulting “distrust in [unidentified] potential lenders,” allegedly

       “impeding the Tribe’s ability to obtain financing [in an unspecified amount] for economic

       development” has not been proven to be a direct or proximate result of Mr. DeQuattro’s actions

       and remains entirely unparticularized. Dkt. 307 at 2. A similar analysis applies to the only other

       harm cited by the government, namely unenumerated “delays and cost increases” allegedly

       resulting from the Tribe’s decision to terminate RGB’s work on a housing project and childcare

       facility. Dkt. 307 at 3. There is, notably, no indication that RGB was not living up to its

       obligations under either contract – and of course no suggestion that RGB did not fully and

       competently discharge its professional responsibilities pursuant to the contract at issue in the

       trial. The Tribe’s decision to terminate its relationship to RGB which was not a party to this

       case, was entirely its own. Accordingly, any allegation that the Tribe suffered any loss resulting

       from that decision was not proven to have been directly and proximately caused by Mr.

       DeQuattro. See United States v. Cornier-Ortiz, 361 F.3d 29, 42 (1st Cir. 2004) (“Because the

       work for which the . . . funds were disbursed was done, it would be an unfair windfall to HUD to




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       conclude that HUD had directly and proximately suffered a loss . . . .”).2 There was in short not

       “pecuniary” loss to the Tribe from Mr. DeQuattro’s crime of conviction and thus a statutory

       imperative for restitution against him is totally lacking.

       D.     The Government Has Not Proven that the Claimed Loss Was the Direct or
              Proximate Result of Mr. DeQuattro’s Offense of Conviction

              The government brief entirely overlooks binding Supreme Court precedent holding that

       the Court’s authority to award restitution is limited to “the loss caused by the specific conduct

       that is the basis of the offense of conviction.” Hughey v. United States, 495 U.S. 411, 413

       (1990). Accordingly, “a defendant who is charged with multiple offenses but who is convicted

       of only one offense” cannot be required “to make restitution for losses related to the other

       alleged offenses.” Id. at 412-13; see also United States v. Mancillas, 172 F.3d 341, 343 (1st Cir.

       1999) (applying Hughey to restitution statute at issue here); United States v. Comer, 93 F.3d

       1271, 1279 (6th Cir. 1996) (vacating restitution award “based on losses occasioned by conduct

       that was not charged in the indictment and losses that resulted from a charge of which the

       defendant was acquitted”). While the permissible basis for restitution may be somewhat broader

       “[w]hen the offense of conviction involves as an element a scheme, conspiracy, or pattern of

       criminal activity,” that is not the case here. United States v. Lisa, 152 F. App’x 85, 87 (2d Cir.

       2005) (unpublished) (citation omitted). Mr. DeQuattro was acquitted of conspiracy, acquitted of

       all the political donation allegations, and convicted of a single count of substantive bribery in

       connection with two standalone gifts to Mr. Cromwell: a used Bowflex machine and a hotel

       reservation. The government was therefore required to prove that the claimed loss “would not



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        In fact, the Tribe and RGB reached a settlement agreement, releasing each other of liability
       arising from these two projects.
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       have occurred but for” Mr. DeQuattro’s provision of those two gifts and that “the loss is not too

       attenuated (either factually or temporally)” from those gifts. United States v. Cutter, 313 F.3d 1,

       7 (1st Cir. 2002) (citation omitted).

               The government brief reflects no attempt whatsoever to tie the claimed losses to the

       specific conduct underlying Mr. DeQuattro’s single count of conviction. That striking omission

       alone is fatal to the restitution claim. See, e.g., United States v. Chan, No. 16-CR-10268, 2019

       WL 3975579, at *8 (D. Mass. Aug. 22, 2019) (“Under the MVRA, the government has the

       burden of seeking and establishing a claim for restitution.”).

       E.      The Claimed Legal Fees and Expenses Are Not “Other Expenses” Reimbursable
               Under the Applicable Subsection

               The nature of the expenses claimed, namely legal fees and expenses, are also outside the

       scope of the relevant subsection of the restitution statute. The government categorically asserts

       that the covered “expenses include legal fees,” Dkt. 307 at 3, but the sole authority cited in

       support of that proposition merely “assume[d] without deciding” that issue, which was not raised

       in the case at hand. In re Akebia Therapeutics, Inc., 981 F.3d 32, 38 n.4 (1st Cir. 2020). The

       First Circuit has previously stated that “attorney’s fees” will “[f]requently . . . not be

       recoverable” in the context of restitution. United States v. Corey, 77 F. App’x 7, 11 (1st Cir.

       2003) (unpublished). Here, the government seeks to recover the legal fees and expenses under

       the statutory subsection permitting reimbursement “for lost income and necessary child care,

       transportation, and other expenses incurred during participation in the investigation or

       prosecution of the offense or attendance at proceedings related to the offense.” 18 U.S.C.

       § 3663A(b)(4).

               The Supreme Court recently had occasion to construe this same subsection. See Lagos v.

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       United States, 138 S. Ct. 1684 (2018). The issue in Lagos was whether the statutory terms

       “investigation” and “proceedings” “are limited to government investigations and criminal

       proceedings, or whether they include private investigations and civil proceedings.” Id. at 1687.

       The Court ultimately adopted the former, narrower reading. In reaching this result, the Court

       observed that the subsection “lists three specific items that must be reimbursed, namely, lost

       income, child care, and transportation; and it then adds the words, ‘and other expenses.’ Lost

       income, child care expenses, and transportation expenses are precisely the kind of expenses that

       a victim would be likely to incur when he or she (or, for a corporate victim . . . , its employees)

       misses work and travels to talk to government investigators, to participate in a government

       criminal investigation, or to testify before a grand jury or attend a criminal trial. At the same

       time, the statute says nothing about the kinds of expenses a victim would often incur when

       private investigations, or, say, bankruptcy proceedings are at issue, namely, the costs of hiring

       private investigators, attorneys, or accountants.” Id. at 1688 (emphasis added) (citation

       omitted). Thus, applying the noscitur a sociis canon of statutory construction, meaning “that

       statutory words are often known by the company they keep,” the Court found “both the presence

       of company that suggests limitation and the absence of company that suggests breadth.” Id. at

       1688-89. Lagos also noted that a “broad reading” of the statute “would create significant

       administrative burdens.” Id. at 1689. The recoverable expenses must be “necessary,” and

       application of the statute to private investigations would “invite disputes” regarding the necessity

       of particular expenses which “may become burdensome in cases involving multimillion dollar

       investigation expenses for teams of lawyers and accountants.” Id. “[O]ne begins to doubt

       whether Congress intended, in making this restitution mandatory, to require courts to resolve


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       these potentially time-consuming controversies as part of criminal sentencing . . . .” Id.

              Both the legal and pragmatic aspects of Lagos’s rationale are equally applicable to the

       issue presented here: whether “other expenses” may include legal fees and related costs incurred

       during a government investigation and prosecution. The Fifth Circuit recently applied Lagos to

       find that “other expenses” did not include costs of a victim assisting the FBI in investigating an

       alleged hacker. In reaching this result, the court observed, “[i]t would be rather strange for the

       specific items in a list to be the kind of expenses that a victim would be likely to incur when he

       or she . . . misses work, but then for the catchall phrase of the same list to mandate restitution for

       digital forensic services. Think about it: The costs of a babysitter, a tank of gas, a parking

       meter–and a 44-person digital security team.” United States v. Koutsostamatis, 956 F.3d 301,

       306 (5th Cir. 2020) (citation omitted). The combination is similarly unsupportable when one

       replaces “44-person digital security team” with $240,000 in legal fees and expenses. “One of

       these things is not like the others.” Id. The Fifth Circuit relied on the same canon of

       construction cited in Lagos: noscitur a sociis. See id. at 307. Indeed, the Supreme Court

       recently held that the statutory word “expenses” did not include attorney’s fees when read

       “alongside neighboring words” in an unrelated statute. Id. (citing Peter v. Nantkwest, Inc., 140

       S. Ct. 365, 372 (2019)). The Fifth Circuit additionally cited the cannon of ejusdem generis,

       which “limits general terms which follow specific ones to matters similar to those specified.” Id.

       at 308 (citation omitted). Following that canon here, “restitution is required for ‘lost income and

       necessary child care, transportation, and other [similar] expenses.’” Id. In short, “[t]ext and

       context both counsel against . . . expansive interpretation of ‘other expenses’” that would include

       legal fees like those at issue here. Id. at 309. As Lagos itself recognized, the statute “says


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       nothing about . . . the costs of hiring private investigators, attorneys, or accountants.” 138 S. Ct.

       at 1688.

              Moreover, reading “other expenses” to include hundreds of thousands of dollars “for

       teams of lawyers” would lead to the very same “burdensome” disputes that the Lagos Court

       sought to avoid. Id. at 1689. This matter provides a case-in-point. As set forth below, it is far

       from clear that several significant line items from the submitted legal invoices were “necessary”

       to the Tribe’s participation in the government’s investigation and prosecution of Mr. DeQuattro.

       To hold that such expenses, as a class, may be “other expenses” (notwithstanding their lack of

       similarity to the other specific types of expenses expressly mentioned in the same subsection)

       would inevitably require courts to wade into an intricate analysis of necessity at many criminal

       sentencings. Here, however, for reasons set forth below, the Court may alternatively conclude

       that the government has failed to satisfy its burden of establishing the necessity of the expenses

       in many respects.

       F.     The Government Has Not Proven that the Claimed Expenses Were “Necessary” to
              the Tribe’s Participation in the Investigation or Prosecution of Mr. DeQuattro’s
              Offense of Conviction

              The First Circuit has described Lagos as “sharpen[ing] . . . focus on an important qualifier

       within the language of the statute: only necessary expenses are mandated for reimbursement.”

       Akebia, 981 F.3d at 37 (emphasis in original). This statutory word requires that the claimed

       expenses be “integral to [the victim’s] participation in the government’s investigation and

       prosecution of the offenses.” Id. The government here develops no argument, and indeed does

       not even make an assertion, that all of the claimed expenses were necessary. And there is

       substantial reason to doubt whether they were.


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              Attached to the declaration executed by the Tribe’s attorney are 100 pages of legal bills,

       submitted for the first time weeks after sentencing. The government brief contains no detailed

       analysis of the various line items, instead simply asserting that all amounts due were incurred to

       “(a) review and produce records responsive to grand jury subpoenas; (b) provide legal

       representation to Tribal members who were interviewed by the government and/or testified

       before the grand jury or at trial; and (c) have a legal representative monitor its interests by

       attending hearings and the trial.” Dkt. 307 at 4.

              1. Lack of proof connecting claimed expenses for subpoena response to Mr.
                 DeQuattro’s offense of conviction

              The temporal and factual context of the subpoenas undercuts any suggestion that the vast

       majority of the expenses incurred in response were directly and proximately caused by Mr.

       DeQuattro’s conduct underlying his conviction. The government served four subpoenas on the

       Tribe between June 5 and October 28, 2020. See C. Wichers Decl. ¶ 6. The first subpoena, by

       the government’s own account, “did not request any records relating to RGB.” Dkt. 307 at 5 n.1.

       There is no indication that that subpoena was related in any respect to Mr. DeQuattro’s conduct,

       and the $68,000 allegedly spent by the Tribe in responding to it therefore cannot be attributed to

       him.

              The government represents that the second subpoena, served August 10, 2020, did

       request certain unspecified records regarding RGB, in addition to other materials. The defense

       notes that the government has not submitted the subpoenas in support of its request for restitution

       and declined to produce the subpoenas or seek Rule 6(e) authorization to disclose the subpoenas

       in response to specific request to disclose those subpoenas to the defendant in preparation for this

       filing (instead providing a generalized statement of which subpoenas related in whole or part to

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       RGB). The government’s omission on this point alone dooms its restitution claim due to an utter

       lack of evidence that extra time was billed for any RGB-related request. In fact, the supporting

       invoices do not even mention RGB until September 8, 2020, the date that the third subpoena,

       which the government represents related specifically to RGB, issued. Moreover, as set forth

       above, Mr. DeQuattro’s acquittals in connection with all payments made to Cromwell preclude

       him from being jointly and severally liable for any expenses to the Tribe arising from such

       payments. The government provides no information whatsoever regarding to what degree any of

       the subpoenas related to the conduct underlying Mr. DeQuattro’s conviction, namely the

       Bowflex and the hotel reservation. It seems far more likely that the subpoenas would have

       issued irrespective of these largely de minimis gifts because they were motivated primarily, if not

       entirely, by the payments for which Mr. DeQuattro was acquitted, and even more, the conduct of

       Mr. Cromwell having nothing to do at all with Mr. DeQuattro. Thus, the government has not

       proven that Bowflex and hotel suite were a but-for or proximate cause of the claimed expenses.

       The government’s failure to provide the four grand jury subpoenas has diminished Mr.

       DeQuattro’s ability to distance his offense of conviction from the goals of the subpoenas.

       Likewise, the unparticularized legal bills have prevented any meaningful ability to apply a time

       charge to legal work relating to the conviction. The burden is on the government, which should

       have sought Rule 6(e) permission to disclose rather than opposing the defense request.

       Similarly, given the caselaw, the government should have required a more particularized

       showing of why legal billings were applicable to each of the defendants.

              Indeed, Mr. DeQuattro was not even informed that he was a target of the investigation

       until September 4, 2020, after two of the four subpoenas had already issued (and just four days


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       prior to issuance of the third) and thousands of dollars in claimed expenses had already been

       incurred. It was not until the day the fourth and final subpoena issued, October 28, 2020, that

       Mr. DeQuattro’s former business partner Joseph Beretta met with the government and

       incriminated him in the suspected crimes. The government also represents that the fourth

       subpoena was for Mr. Cromwell’s email account records and other records relating to Mr.

       Cromwell. This subpoena would almost certainly have issued irrespective of Mr. DeQuattro’s

       gifts of a Bowflex and hotel reservation thus all fees attributable to this fourth subpoena should

       be completely inapplicable to Mr. DeQuattro.

              The foregoing makes clear that the government’s investigation began with a focus on the

       Tribe and Mr. Cromwell, with no focus whatsoever on Mr. DeQuattro. Even after the

       government began focusing on Mr. DeQuattro, its primary (if not sole) interest appears to have

       been in payments he made to Mr. Cromwell, for which he was subsequently acquitted. These

       circumstances demand a far more detailed accounting of expenses than the government or the

       Tribe has thus far provided to ensure that the amounts claimed were the direct and proximate

       result of Mr. DeQuattro’s offense of conviction. Mr. DeQuattro cannot be held responsible for

       reimbursing costs incurred in the government’s unrelated investigation of Mr. Cromwell or other

       parties, or its investigation of conduct by Mr. DeQuattro that the jury determined to be non-

       criminal. The descriptions in the invoices produced in support of the restitution request utterly

       fail to differentiate between (a) Mr. DeQuattro’s offense of conviction, (b) his acquitted conduct,

       and (c) investigations relating to Mr. Cromwell and others. Neither the invoices themselves nor

       the government’s description of the expenses even mentions the Bowflex or the hotel

       reservation. The only mention of Mr. DeQuattro in the supporting documents is for 30 minutes


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       of time spent reviewing and communicating about his motion to dismiss (which was not, in any

       respect, necessary to the Tribe’s participation in the prosecution). Further delay in complying

       with the statutory requirements should not be countenanced and the unparticularized appending

       of 100 pages of legal bills should be determined to not meet the government’s burden as to Mr.

       DeQuattro.

              2. Lack of proof that certain expense items were necessary to any subpoena response at
                 all

              Various invoice line items appear to have been unnecessary to the Tribe’s participation in

       any government investigation. Some, for example, reflect research and analysis of sovereign

       immunity issues, presumably in an effort to resist, not comply with, the subpoenas. See R.

       Salguero Decl., Ex. A at 8/13/20-8/18/20 (reflecting 13.8 attorney hours with entries relating, at

       least in part, to sovereign immunity issues). Due to block-billing of multiple tasks in single time

       entries, it is impossible to determine precisely how much of that time was spent on sovereign

       immunity issues. See Chan, 2019 WL 3975579, at *7 n.8 (excluding entries due to block-

       billing). A similar analysis applies to document review for attorney-client privilege and related

       research. While the Tribe was certainly within its rights to consider asserting all lawful

       privileges available to it, doing so was not “necessary” to its participation in the government

       investigation nor did it relate in any way to Mr. DeQuattro. Other line items reflect key term

       document searches, presumably in a voluntary effort on the part of the Tribe and its counsel to

       develop an internal understanding of relevant events. See id. at 9/1/20-9/10/20 (reflecting 15.6

       attorney hours with entries relating in part to key term searches). Again, these expenses were not

       “necessary” in the strict sense required by the caselaw.



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              3. Lack of proof that Tribe’s payment of a witness’s legal fees was a “necessary”
                 expense

              Almost $14,000 in claimed expenses relates to legal invoices for representation of

                                                                                                        R.

       Salguero Decl. ¶ 11. A declaration executed by an attorney for the Tribe represents that it paid

       all such invoices in full, but it provides no indication that the Tribe was legally required to do so.

       See id. The government has submitted no evidence of any indemnification obligations between

       the Tribe and members of the Gaming Authority. The invoices are, on their face, addressed to

       the tribal member individually. See R. Salguero Decl., Ex. C. Equally problematic, the

       descriptions included in the tribal member’s legal bills contain no reference whatsoever to

       subject matter. Instead, they consist exclusively of generic references to items such as

                                                                    Id. This makes it impossible to

       determine whether any individual entry was, in fact, necessary to the government’s investigation.

       Although counsel understand the need to protect work product and the professionalism of Mr.

                    retained counsel, the generic method of billing fails to satisfy the government’s

       burden to prove that Mr. DeQuattro is liable for Mr.                legal bills.

              4. First Circuit precedent undermines the necessity of attorney attendance at trial and
                 witness preparation

              The government also, despite citing Akebia for another reason, neglects to mention that

       the First Circuit in that case affirmed an order excluding from restitution two of the exact same

       types of legal expenses at issue here, namely “attorneys’ time accrued for their attendance at the

       criminal proceedings” and “time spent making . . . witnesses available” to the DOJ for trial


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       preparation. 981 F.3d at 38-39. On the former issue, the district court in Akebia persuasively

       reasoned, “while many individual victims would greatly appreciate having an attorney watch and

       report on all proceedings relating to the crime, the mandatory restitution scheme supports no

       such fee shifting provision for individual or corporate victims. The court finds such a luxury

       unworkable and unjust in a mandatory restitution scheme. Indeed, such a statutory construction

       would create a bizarre incentive where defendants could not afford to go to trial and would need

       to minimize the moments they appear in court or the documents they file on the public docket,

       knowing that they could be charged at sentencing with legal fees for every moment of court

       time.” Chan, 2019 WL 3975579, at *8. On the second point, the First Circuit affirmed the

       district judge’s conclusion that “the government prosecutors were responsible for preparing . . .

       witnesses for trial testimony.” Akebia, 981 F.3d at 38-39. The defense respectfully submits that

       this Court should follow Judge Talwani in excluding the foregoing expenses from any restitution

       calculation.

              5. Lack of proof that other post-indictment expense items were necessary to the Tribe’s
                 participation in the government prosecution

              Other miscellaneous post-indictment line items reflect tasks such as drafting press

       releases and discussions of unspecified “strategy” following the indictment. See R. Salguero

       Decl., Ex. A at 11/13/20-11/19/20 (reflecting 9.2 hours of attorney time devoted, at least in part,

       to such matters). There has been no showing that such efforts were “necessary” to the Tribe’s

       participation in this case. Some other line items were clearly outside the scope of assisting the

       government’s prosecution. For example,

                      was in no way necessary to that end. Id. at 11/16/20. Perhaps most glaringly, Mr.

       DeQuattro should not be responsible for reimbursing the Tribe for its counsel’s

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                                      to the prosecutors after the verdict. R. Salguero Decl., Ex. B at

       5/5/22. And counsel’s                                          is facially outside the scope of the

       reimbursement provision. Id. at 5/6/22. The inclusion of the foregoing expenses in the

       government’s restitution request makes clear that, weeks after sentencing, the invoices have not

       yet been subject to the type of detailed review required to ensure the necessity of each line item.

       G.     Even if the Court Orders Restitution, It Should Be Apportioned Based on
              Culpability

              Finally, to the extent that, contrary to the foregoing arguments, the Court concludes that

       some restitution Order against Mr. DeQuattro is appropriate, it should reject the government’s

       invitation to impose joint and several liability. As the government brief acknowledges, this

       Court has the discretion, though not an obligation, to apportion restitution “according to

       culpability.” Dkt. 307 at 4. The Court has already observed that this case is “not in the slightest”

       one involving “[e]qual culpability” among defendants. Nov. 15, 2022 Tr. 109. The defense

       respectfully submits that, for this reason, apportionment based on culpability is appropriate. See

       Chan, 2019 WL 3975579, at *9 (imposing 90% and 10% apportionment among two defendants

       where “it was [the former defendant’s] actions that drove the expenses . . . incurred”).



                                                             Respectfully Submitted,
                                                             DAVID DEQUATTRO
                                                             By His Attorneys,

                                                             /s/ Martin G. Weinberg
                                                             Martin G. Weinberg, Esq.
                                                             Mass. Bar No. 519480
                                                             20 Park Plaza, Suite 1000
                                                             Boston, MA 02116
                                                             (617) 227-3700
                                                             owlmgw@att.net

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                                                           /s/ Michael Pabian
                                                           Michael Pabian, Esq.
                                                           20 Park Plaza, Suite 1000
                                                           Boston, MA 02116
                                                           (617) 227-3700
                                                           pabianlaw38@gmail.com

                                                           /s/ Maksim Nemtsev
                                                           Maksim Nemtsev, Esq.
                                                           20 Park Plaza, Suite 1000
                                                           Boston, MA 02116
                                                           (617) 227-3700
                                                           menemtsev@gmail.com
       Dated: December 12, 2022

                                      CERTIFICATE OF SERVICE

              I, Martin G. Weinberg, hereby certify that on this date, December 12, 2022, a copy of the
       foregoing document has been served via email.
                                                           /s/ Martin G. Weinberg
                                                           Martin G. Weinberg, Esq.




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                                    UNITED STATES DISTRICT COURT
                                     DISTRICT OF MASSACHUSETTS

       UNITED STATES OF AMERICA                     )
                                                    )
              v.                                    )          Criminal No. 20-10271-DPW
                                                    )
       CEDRIC CROMWELL and                          )
       DAVID DEQUATTRO,                             )
                                                    )
                             Defendants.            )

              UNITED STATES’ SUPPLEMENTAL BRIEF ON RESTITUTION

              The government respectfully increases its restitution request for the Mashpee

       Wampanoag Tribe from $239,726.94 to $244,406.94. The $4,680 increase is supported by the

       Revised Declaration of Rebekah Salguero (filed today under seal), ⁋⁋ 4 and 10. It is based on the

       Tribe’s receipt of one additional invoice for legal services. The invoice, dated December 8, 2022,

       is for services provided from November 4 to 30, 2022. A copy is attached to Exhibit B to

       Attorney Salguero’s revised declaration.

                                                    Respectfully submitted,

                                                    RACHAEL S. ROLLINS
                                                    United States Attorney

                                               By: /s/ Christine Wichers
                                                   Christine Wichers
                                                   Jared Dolan
                                                   Assistant U.S. Attorneys



                                             Certificate of Service

               I certify that this document filed through the ECF system will be sent electronically to
       the registered participants as identified on the Notice of Electronic Filing (NEF) on December
       15, 2022.

                                                    /s/ Christine Wichers
                                                    Christine Wichers




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     1                          UNITED STATES DISTRICT COURT
                                  DISTRICT OF MASSACHUSETTS
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     3

     4
             * * * * * * * * * * * * * *
     5       UNITED STATES OF AMERICA   *
                                        *            CRIMINAL ACTION
     6                   v.             *            No. 20-10271-DPW
                                        *
     7       CEDRIC CROMWELL,           *
             and DAVID DEQUATTRO        *
     8                                  *
             * * * * * * * * * * * * * *
     9

    10

    11

    12                   BEFORE THE HONORABLE DOUGLAS P. WOODLOCK
                              UNITED STATES DISTRICT JUDGE
    13                            VIDEO STATUS CONFERENCE
                                     December 20, 2022
    14

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    17
                                                    Courtroom No. 1
    18                                              (Via Videoconference)
                                                    1 Courthouse Way
    19                                              Boston, Massachusetts 02210

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    23                           James P. Gibbons, RPR, RMR
                                   Official Court Reporter
    24                          1 Courthouse Way, Suite 7205
                                Boston, Massachusetts 02210
    25                           jamesgibbonsrpr@gmail.com



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     1       APPEARANCES:

     2                 UNITED STATES ATTORNEY'S OFFICE, (By AUSA Christine
                  J. Wichers) 1 Courthouse Way, Suite 9200, Boston,
     3            Massachusetts, 02210, on behalf of the United States of
                  America
     4
                       LAW OFFICE OF TIMOTHY R. FLAHERTY, (By Timothy R.
     5            Flaherty, Esq.) 699 Boylston Street, 12th Floor, Boston,
                  Massachusetts, 02116, on behalf of Cedric Cromwell
     6
                       MARTIN G. WEINBERG P.C., (By Martin G. Weinberg,
     7            Esq.) 20 Park Plaza, Suite 1000, Boston, Massachusetts
                  02116, on behalf of David Dequattro
     8

     9                 LAW OFFICE OF MAKSIM NEMTSEV, (By Maksim Nemtsev,
                  Esq.) 20 Park Plaza, Suite 1000, Boston, Massachusetts,
    10            02116, on behalf of David Dequattro

    11                 MICHAEL PABIAN LAW OFFICE, LLC, (By Michael Pabian,
                  Esq.) 20 Park Plaza, Suite 1000, Boston, Massachusetts
    12            02116, on behalf of David Dequattro

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     1                               P R O C E E D I N G S

     2                               (VIA VIDEOCONFERENCE)

     3                  THE CLERK:     This is Criminal Action No.20-10271,

     4       United States versus Cromwell and Dequattro.

     5                  THE COURT:     Well, thank you for responding so

     6       promptly here for the scheduling of this.            This was prompted

     7       by Ms. Wicher's request for additional time to respond to

     8       the briefing with respect to restitution.

     9             There is a request, it doesn't ask for how much time,

    10       and so it occurs to me that it might be important to set

    11       some time parameters for this but also to understand exactly

    12       what we're undertaking here.

    13             I guess, Ms. Wichers, how much time do you want?

    14                  MS. WICHERS:     I can file it tomorrow, your Honor.

    15                  THE COURT:     All right.    I mean, if it's not a, you

    16       know, kind of a rush-it-out sort of thing, I suppose that's

    17       fine here.

    18             But it raises -- I should say that the request for

    19       restitution raises some larger issues for me of

    20       apportionment in light of the way in which the government

    21       has responded to it.

    22             There are three charges of bills.          Two of them seem to

    23       fall within a category of matters that one would expect a

    24       victim to pay.     Whether or not that's going to be my outcome

    25       is another matter, but they seem fairly clear.



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     1             The one that's a little bit unclear is the

     2       Rankin & Sultan bill, and that has to do with -- ultimately

     3       has to do with someone who felt the necessity to obtain a

     4       recognition that, A, his Fifth Amendment rights were

     5       implicated; and, B, that he wouldn't testify in the absence

     6       of that.

     7             And that, in turn, raises a question about whether or

     8       not there is a separate aspect of the investigation that I

     9       need to explore and understand for purposes of what was

    10       happening before the grand jury and what was generating the

    11       Rankin & Sultan bills.

    12             I would propose to do that ex parte, assuming that it

    13       might compromise some grand jury materials and perhaps other

    14       investigations that the government is engaging in.

    15             But, that having been said, I'll receive the memorandum

    16       when you want to file it.         If you say it's tomorrow, then

    17       that's fine.     If that's a stretch, I understand that, but

    18       you tell me at this point.

    19                  MS. WICHERS:     That's fine.     I can file it tomorrow.

    20                  THE COURT:     Okay.    So I'll assume that it will be

    21       filed tomorrow.

    22             Now, let me step back a little bit further and talk

    23       about some of the developments, some of which have been

    24       noted, some of which have not.

    25             The Supreme Court has set the Chippewa v. Coughlin case



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     1       down for its conference on January 9.           It is I think

     2       possible that at least three alternative steps will be taken

     3       on the 9th.     They can deny cert there.        They could hold it

     4       for a relisting at a later point if someone is interested in

     5       the case, and, because it has larger implications, they may

     6       well ask for the views of the Solicitor General.

     7             With respect to denying certiorari, that would end it.

     8             With respect to relisting or requesting the views of

     9       the Solicitor, that may extend the period of time.

    10             My own view is that I am not going to wait for the

    11       relisting process, if it comes to that, or the views of the

    12       Solicitor General.      I'm outlining that time period so that

    13       the parties have that as a data point of something that is,

    14       I think, going to be important to me in understanding how I

    15       approach the larger question of Hobbs Act extortion, which,

    16       as you know, is something that I've already expressed my

    17       views about.

    18             The second development is while I've received the

    19       materials from the government with respect to the Overton

    20       James matter -- if we have the right order of name on

    21       that -- indicating that, Wikipedia to the contrary

    22       notwithstanding, this was not a successful prosecution or,

    23       in fact, a pursued prosecution with respect to the Hobbs Act

    24       extortion, and, in fact, the judgment entered with respect

    25       to other statutes than Hobbs Act extortion.



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     1              But the government had also raised another case, and

     2       that's the Blackhair case, although I have not received an

     3       update from the government, so I did some research of my

     4       own.

     5              Mr. Blackhair pled, and he pled to Hobbs Act extortion.

     6       The sentencing in that case is scheduled for March 29, 2023.

     7              I did not choose to pursue anything in that case, even

     8       talking or making a communication with the Clerk's Office,

     9       because I didn't want to be understood to be showing some

    10       untoward interests in a case.            It's for the parties to

    11       pursue it.

    12              Nevertheless, I'm somewhat perplexed by the choice to

    13       plead there, and I would intend to capture my views in

    14       writing before the sentencing in that case, for what it's

    15       worth to the parties there.         So that's another data point.

    16              I don't know, Ms. Wichers, if you were aware of the

    17       outcome in Blackhair.

    18                  MS. WICHERS:     No, your Honor, I wasn't.

    19                  THE COURT:     Okay.

    20              Then the larger issue, I guess, is to be sure that I

    21       understand what's going on in the parties' minds with

    22       respect to briefing, if any, the motion to stay pending

    23       appeal.    My expectation is that all of the parties here will

    24       have something that at least they'd like to preserve an

    25       appeal regarding when Judgment finally enters in the case.



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     1             From my perspective, I would welcome the opportunity to

     2       be able to tie the matter up with my observations, written

     3       observations, about it.       But I don't want to tie it up too

     4       long, obviously.      And I can't tell from the agreements that

     5       the parties have with respect to stay and so on,

     6       particularly having to do with Mr. Dequattro's circumstance,

     7       whether the anticipation is that the parties do not intend

     8       to be briefing a question of stay pending appeal in this

     9       matter.

    10             So maybe, Mr. Weinberg, you can go first on that.

    11                  MR. WEINBERG:     Thank you, Judge.

    12             Yes, the government has the assented to my request for

    13       their consent, of course subject to your Honor's discretion,

    14       for a stay of the probation, the home detention part of the

    15       probation, and for Mr. Dequattro to be required to put the

    16       $50,000 fine into a separate account.           And I would make

    17       disclosures to Ms. Wichers regarding the identity of the

    18       account so the parties would all know that if we were to

    19       lose the appeal, the fine would be immediately paid.

    20             The reason for that, Judge, is I'm told by local

    21       licensing lawyers that the payment of the fine would appear

    22       to the Architectural Licensing Board as if it's a concession

    23       of wrongdoing and could have an adverse effect on his

    24       continuing to operate during the stay period as an

    25       architect.



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     1             Other than that, he is clearly not a risk of flight,

     2       not a danger, and I believe that the issues here merit

     3       appellate review and are significant.

     4             I wasn't planning on briefing it because I truly

     5       believe, Judge, that this case, you know, has raised

     6       important issues at the -- if I could call it the perimeter

     7       of 666, and I would hope that if your Honor would find the

     8       substantiality based on our history of the case without

     9       additional briefing on issues that would be a lot of

    10       (inaudible) need of Rule 29 and some of the motions in

    11       limine that were granted prior to trial.

    12                  THE COURT:     Well, you know, I am not interested in

    13       constraining the parties in the way in which they proceed.

    14             I am interested in making sure that there is clarity in

    15       the record with respect to the way in which, and the reasons

    16       for which, I acted on various matters that might be

    17       challenged.

    18             But it is, it seems to me, the case that with respect

    19       to Mr. Dequattro's appeal and the circumstances that you've

    20       outlined, I don't think that I need briefing to deal with

    21       that issue.

    22             This is not directed at any of the parties here, but I

    23       have had experience in the past in which I felt to some

    24       degree sandbagged by recharacterization of what I did, and

    25       blame myself in the past for not explaining more fully what



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     1       I did.    But ultimately I think I have to deal on the merits

     2       with any motion that's made once the Judgment is entered.

     3       And if it can be allowed without any further briefing, then

     4       it would be allowed without further briefing.

     5             I just offer that issue -- or offer that observation

     6       with respect to it.

     7             With respect to the government's position, although I

     8       haven't acted on the restitution, I have indicated I have a

     9       somewhat more -- I'll call it "nuance," but, in any event, a

    10       different view about the restitution issues that I assume

    11       the government will be appealing from if I go in the

    12       direction I think I'm going.

    13             In addition, a question of, with respect to

    14       Mr. Cromwell in particular, the Hobbs Act extortion decision

    15       that I made, that it's not applicable in this case, will be

    16       a matter for appeal.

    17             And I assume that that's not going to be a matter for

    18       some sort of stay motion of any kind to move this case

    19       along.    Is that a fair statement of it, Ms. Wichers?

    20                  MS. WICHERS:     You're asking me whether the

    21       government would move for a stay based on the Hobbs Act

    22       ruling?

    23                  THE COURT:     Yeah.

    24             Or any other reason.        I just don't see the government

    25       staying.    The government will consult with whoever they



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     1      consult with within the Department about these matters, and

     2      I'm sure there will be a protective -- or likely to be a

     3      protective appeal.      No one has filed.      Whether it will be

     4      pursued is another question.

     5            But, in any event, I don't see that as a timing issue

     6      here.

     7                 MS. WICHERS:     We agree.

     8                 THE COURT:    So then, Mr. Flaherty, I guess it goes

     9      to you as well, which is the question of stay pending appeal

    10      under these circumstances and whether or not you would be

    11      briefing such a matter or want to brief such a matter.

    12            I have to say that, as I've indicated, that there are,

    13      I think, rather significant issues involved in the case here

    14      and ones that may adversely affect -- will adversely affect

    15      your client.

    16            I am, however, concerned not to advance the

    17      incarceration of the defendant in light of certain

    18      circumstances having to do with his medical condition.             And

    19      I want to be sure that there's nothing more that you want to

    20      offer in this case, or we can set a schedule that's

    21      realistic with an entry of Judgment.

    22            Mr. Flaherty, anything further that you want to offer

    23      on that?

    24                 MR. FLAHERTY:     Unless the Court -- unless the Court

    25      wants me to further brief it, I wasn't planning to further



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     1      brief the motion for stay penning appeal, Judge.              All of the

     2      issues have been laid out, from Rule 29 through the motions

     3      in limine, and the Court, from my view, has made very clear

     4      decisions on all of it.

     5            I will not be handling the appeal on behalf of

     6      Mr. Cromwell.

     7                 THE COURT:    Okay.

     8                 MR. FLAHERTY:     I can tell the Court that my view is

     9      that all of your rulings and orders have been very clear to

    10      me.   So I can't imagine any counsel trying to misrepresent

    11      what the Court's position has been --

    12                 THE COURT:    Oh, no.        I shouldn't have --

    13                 MR. FLAHERTY:     -- but I will not be --

    14                 THE COURT:    -- said it that way.       I just have to

    15      tell you that I've had that experience in the past.

    16                 MR. FLAHERTY:     I think we all have, Judge.

    17                 THE COURT:    Okay.

    18            So, in any event, I will work on the assumption that

    19      the entry of Judgment, which will include the restitution,

    20      will move the case out of my hands and into the appellate

    21      setting, and the parties will pursue whatever they want to

    22      pursue.

    23            I will add one further thing.

    24            Ms. Wichers, are you going to seek to have Mr. Cromwell

    25      begin his sentence immediately?



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     1                 MS. WICHERS:     Seek -- I'm sorry.      Seek to have him

     2      begin his sentence...

     3                 THE COURT:      Immediately?

     4                 MS. WICHERS:     Yes.   We briefed that in Docket 295.

     5      We oppose the motion.

     6                 THE COURT:    I know that.     I just want to be sure

     7      that you continue to take that position.

     8                 MS. WICHERS:     Yes, your Honor.     But we understand

     9      that you've indicated that you disagree with it.

    10                 THE COURT:    No, but I just want to be sure that

    11      I've addressed that.

    12            So that will be finally addressed as well with the

    13      Judgment in the case.

    14            So now back to the restitution issue.          I would like to

    15      have a final hearing on that.          And at an appropriate time, I

    16      would like to have the opportunity to discuss the matter ex

    17      parte with Ms. Wichers having to do with the Rankin & Sultan

    18      bills here.     I say ex parte for the reasons I have

    19      indicated.     First, that it strikes me that it's going to get

    20      me into grand jury material that may or may not be

    21      appropriate for other parties to hear and may or may not

    22      involve me in some larger understanding of what the nature

    23      of the government's investigations before the indictment and

    24      perhaps continuing are.

    25            I would note, as we all know, that the victim-witness



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     1      statements have elicited commentary about internecine

     2      disputes within the Tribe, and in the case of several of

     3      them I've put them under seal because they didn't seem to me

     4      to be either timely or properly to be understood as victim

     5      statements, but they are in the record, and you're aware of

     6      them.

     7            So does any of the -- do any of the defendants have any

     8      objection to me consulting Ms. Wichers ex parte regarding

     9      the underlying circumstances which may have given rise to

    10      the Sultan & Rankin bills?

    11                 MR. WEINBERG:     No, your Honor.

    12                 THE COURT:    Mr. Flaherty?

    13                 MR. FLAHERTY:     No objection, your Honor.

    14                 THE COURT:    So, Ms. Wichers, when do you think

    15      would be a reasonable time for us to do that, for you to

    16      kind of pull together your thoughts about that?

    17                 MS. WICHERS:     Probably not this week, but after

    18      Christmas.

    19                 THE COURT:    After Christmas is fine if you think

    20      you need it.     I mean, I don't -- I anticipate that I'm going

    21      to be asking fairly pertinent questions about the billing.

    22      As I understand it, but maybe I'm reading it wrong, those

    23      bills have been paid by the Tribe; is that correct?

    24                 MS. WICHERS:     Have been, yes.

    25                 THE COURT:    And so they are perhaps to be



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     1      considered either as the kind of payments that would be the

     2      subject of a victim request or internal indemnification of

     3      the Triable officer.

     4            I note that Mr. Flaherty filed an additional document

     5      dealing with continued issues of dispute within the Tribe.

     6      I don't quite know how I'm going to do deal with that,

     7      although I tend to think that other than saying, They're

     8      internal disputes and here are of materials that I've relied

     9      on, that I will do anything other than that in this case.

    10            But it does raise some challenging issues, I think, for

    11      purposes of restitution.

    12            I think, Ms. Beatty, if you have a date that we can set

    13      after the holiday for a final hearing with respect to the

    14      restitution question, and before that a date that I can

    15      discuss this with Ms. Wichers ex parte.

    16                 THE CLERK:    For the restitution hearing, would you

    17      want it in January, but like mid January?

    18                 THE COURT:    I think so.     At least after the cert

    19      petition is considered in Coughlin, just so the parties have

    20      that data point in mind in case it has some effect on their

    21      views.    But I think something like that.        We have, if I

    22      recall correctly, Burgess being tried that first week after

    23      the holiday week.      Perhaps the next week.

    24                 THE CLERK:    So January 18, which is a Wednesday.

    25                 THE COURT:    Okay.    Does that work for the parties?



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     1                 MR. WEINBERG:     Yes, your Honor.

     2                 THE COURT:    So that's what we'll use as the date

     3      for a final hearing with respect to restitution, and my

     4      expectation is that at the conclusion of that, or relatively

     5      shortly thereafter, I'll be able to enter Judgment in the

     6      case.

     7                 MR. WEINBERG:     Would your Honor consider delinking

     8      the restitution issue from the Judgment issue for

     9      Mr. Dequattro?

    10                 THE COURT:    No.

    11                 MR. WEINBERG:     Okay.

    12                 THE COURT:    I want one and all wrapped up together

    13      here.    I don't think that it should cause an issue with

    14      respect to Mr. Dequattro here.         The question of stay is --

    15      seems to be resolved between the government and

    16      Mr. Dequattro unless there is something specific that --

    17                 MR. WEINBERG:     No, it's --

    18                 THE COURT:    -- other than delayed resolution of the

    19      matter.

    20                 MR. WEINBERG:     No.   It's just a concern that the

    21      government and the counsel for the Tribe, instead of

    22      conforming to the time requirements or objecting to the PSR,

    23      suddenly at sentencing sprung this restitution --

    24                 THE COURT:    I understand the argument.        That will

    25      be an argument that I will hear.



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     1                 MR. WEINBERG:     Thank you, Judge.

     2                 THE COURT:    But I want to hear it in an orderly

     3      fashion.    I'm not sure that the law is as clear on that

     4      issue as perhaps you believe.          But, in any event, I'll add

     5      my voice to the sum of human knowledge on that issue at that

     6      time in a timely fashion.       I will be spending a lot of time

     7      on that.

     8                 MR. WEINBERG:     Thank you, Judge.

     9                 THE COURT:    It may or may not be a further grounds

    10      for the government to appeal.

    11            Okay, so we have got that time.

    12            And then, Ms. Beatty, what about the -- next week may

    13      be difficult, I mean, just in terms of organizing something

    14      by Zoom, but it's possible I suppose.          The alternative is

    15      that following week when Burgess is being tried.

    16                 THE CLERK:    We have the week before, which is the

    17      week of January 2.

    18                 THE COURT:    The second itself, yeah.

    19                 THE CLERK:    Well, the week of the 2nd.        The 2nd is

    20      a holiday, so we can do it later in the week.           Either the

    21      4th, 5th or 6th.

    22                 THE COURT:    How does that work for you, Ms.

    23      Wichers?    Are any of those dates okay?

    24                 MS. WICHERS:     That's fine, your Honor, or the week

    25      after Christmas.      Any of those is fine.



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     1                 THE COURT:    Okay.    That's actually the week after

     2      New Years.

     3                 MS. WICHERS:     Yes, either.

     4                 THE COURT:    Okay.    So why don't we say -- well,

     5      Ms. Beatty and I will consult and set a date that

     6      corresponds for our schedules as well.          Okay?

     7                 MR. WEINBERG:     Judge, one other thing.

     8                 THE COURT:    Yes.

     9                 MR. WEINBERG:     I would have no objection if your

    10      Honor was to receive from the government the four grand jury

    11      subpoenas that seem to be the cause of a great deal of the

    12      legal fees to determine the extent to which the contents and

    13      requests to produce documents related to Mr. Dequattro.

    14            I've asked the government whether they would provide

    15      them.    Ms. Wichers was kind enough to give me a summary of

    16      the four different subpoenas, which I included in my filing

    17      on restitution.

    18            I have no objection if your Honor felt that it would

    19      further your Honor's knowledge of the broad context of these

    20      legal fees and the extent to which they could be isolated on

    21      Mr. Dequattro or his counts of conviction or even isolated

    22      on this investigation, rather than related investigations

    23      that might have been the genesis of a lot of the document

    24      requests that took time to respond to.

    25                 THE COURT:    I think that's a useful suggestion.



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     1            Ms. Wichers, do you have any problem with filing the

     2      subpoenas themselves, the grand jury subpoenas, that gave

     3      rise to what I alternately referred to as the

     4      Rankin & Sultan bills?

     5                 MS. WICHERS:     For your Honor's eyes only?

     6                 THE COURT:    It will be filed under seal for these

     7      purposes.

     8                 MS. WICHERS:     Yes.

     9                 THE COURT:    And if you could do that tomorrow, that

    10      would be helpful for me to start thinking about that as

    11      well, unless that's a problem?

    12                 MS. WICHERS:     No problem.

    13                 THE COURT:    I think that's going to shape my views

    14      concerning it here.

    15            I probably should have the grand jury -- I don't think

    16      I do have it -- the grand jury testimony to which those

    17      subpoenas relate.      Is that available?

    18                 MS. WICHERS:     The subpoenas are for records.

    19                 THE COURT:    Yes.

    20            And so is it simply a return of records that took

    21      place, without compromising anything?          I just don't know if

    22      there is something, some grand jury transcript, that deals

    23      with this.

    24                 MS. WICHERS:     No, your Honor.     It's just's the

    25      records we subpoenaed and the records we received.



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     1                 THE COURT:    Okay.     And so someone reported that

     2      they were received, or didn't even report it.           It just

     3      became part of the grand jury material.

     4                 MS. WICHERS:     That's right.

     5                 THE COURT:    Okay.

     6            All right.     So, in any event, the subpoenas themselves

     7      will be helpful for me, and I would like to receive those

     8      then.

     9            So I think we've got a schedule now, and I think I have

    10      a full understanding of the parties' positions with respect

    11      to it.    I will get this dealt with as promptly as I think I

    12      can, which is more promptly than I wish I had time to do

    13      because of my desire to unburden myself about what I do at

    14      great length all the time.

    15            But we'll take it up then on the -- is it the 18th,

    16      Ms. Beatty?

    17                 THE CLERK:    Yes.

    18            I didn't give the time.           Is 11 o'clock in the morning

    19      okay with everybody?

    20                 MR. WEINBERG:     Yes.

    21                 MS. WICHERS:     Yes.

    22                 MR. FLAHERTY:     Yes.

    23                 THE COURT:    We'll take it up then.

    24            Thank you very much.

    25            We will be in recess.



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     1                 MR. WEINBERG:     Happy Holidays, your Honor.

     2                 MS. WICHERS:     Happy holidays.

     3                 THE COURT:    Happy holidays to you all.

     4                 MR. WEINBERG:     Take care.

     5            (Proceedings adjourned.)

     6

     7                              C E R T I F I C A T E

     8

     9            I, James P. Gibbons, Official Court Reporter for the

    10      United States District Court for the District of

    11      Massachusetts, do hereby certify that the foregoing pages

    12      are a true and accurate transcription of my shorthand notes

    13      taken in the aforementioned matter to the best of my skill

    14      and ability.

    15

    16
                  /s/James P. Gibbons                 March 6, 2023
    17               James P. Gibbons

    18

    19

    20
                              JAMES P. GIBBONS, CSR, RPR, RMR
    21                            Official Court Reporter
                                1 Courthouse Way, Suite 7205
    22                          Boston, Massachusetts 02210
                                 jamesgibbonsrpr@gmail.com
    23

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                                    UNITED STATES DISTRICT COURT
                                     DISTRICT OF MASSACHUSETTS

       UNITED STATES OF AMERICA                      )
                                                     )
              v.                                     )          Criminal No. 20-10271-DPW
                                                     )
       CEDRIC CROMWELL and                           )
       DAVID DEQUATTRO,                              )
                                                     )
                              Defendants.            )


                   UNITED STATES’ REPLY BRIEF IN SUPPORT OF RESTITUTION

              The government submits this reply brief in support of its request for an order holding the

       defendants jointly and severally liable for restitution payable to the Mashpee Wampanoag Tribe.

       As noted below, the government agrees that $11,188 of the legal time billed to the Tribe should

       be excluded. Therefore, the government requests a restitution order in the amount of $244,406.94

       - $11,188 = $233,218.94.

              Both defendants have raised the following arguments in their oppositions: (1) the

       government’s request for restitution was untimely; (2) the defendants supposedly were not

       convicted of an offense against property; (3) the Tribe allegedly did not suffer a pecuniary loss;

       and (4) the Tribe supposedly was not directly and proximately harmed as a result of the

       defendants’ crimes and therefore is not a victim. (DN 313 at 1-8; DN 316 at 1-4.) In addition,

       Mr. DeQuattro contends that: (5) the Tribe’s legal fees and expenses are not “other expenses”

       reimbursable under Section 3663A(b)(4); (6) the Tribe’s legal fees and expenses were not

       necessary to the Tribe’s participation or prosecution of Mr. DeQuattro; and (7) any restitution

       that the Court orders should be apportioned based on culpability rather than joint and several.

       (DN 313 at 7-18.) As explained below, none of these arguments have merit.




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                                                  ARGUMENT

              1. The Court Should Not Deny Restitution Based on Defendants’ Timeliness
                 Argument

              The Court has the power to order restitution in this case despite the government’s having

       missed the deadline in 18 U.S.C. § 3664(d)(1) because the error has not resulted in the Court

       missing the 90-day deadline set forth in Section 3664(d)(5), which, in any event, is a claims-

       processing rule and not a jurisdictional requirement. Dolan v. United States, 560 U.S. 605, 611

       (2010). The Court should exercise its power because a wholesale denial of restitution would

       effectively punish the Tribe. The MVRA’s “efforts to secure speedy determination of restitution

       is primarily designed to help victims of crime secure prompt restitution rather than to provide

       defendants with certainty as to the amount of their liability.” Id. at 613.

              2. The Defendants Were Convicted of an Offense Against Property

              The defendants’ bribery was an “offense against property.” 18 U.S.C. §

       3663A(c)(1)(A)(ii). 1 The appellate court that most recently examined this language is the Second

       Circuit. United States v. Razzouk, 984 F.3d 181 (2d Cir. 2020), cert. denied, 142 S. Ct. 223

       (2021). Razzouk, a utility employee, accepted bribes from his friend to cause the utility to pay

       the friend’s company for phantom work. Id. at 184. The Razzouk court held, first, that the

       question of whether a particular bribery scheme was an “offense against property” must be

       decided by considering the facts of the crime of conviction rather than the elements of the

       offense. Id. at 186. The court then held that the defendant’s bribery was an offense against


              1
                If the Court determines that the defendants’ bribery was not an “offense against
       property,” or that the Tribe did not suffer a “pecuniary loss” (see infra), the government
       respectfully requests that the Court exercise its discretion to award restitution under the Victim
       and Witness Protection Act, 18 U.S.C. § 3663. Neither of these is a requirement under Section
       3663.

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       property because the defendant “deprived [his employer] of a property interest in its funds

       through his facilitation of its payments to [the friend’s company] for phantom work.” Id. at 189.

               The defendants’ bribery in this case was a crime against property because the bribes were

       given in order to protect a property interest: money being paid month after month to RGB under

       its contract with the Gaming Authority. Although not all bribes are paid in exchange for a

       property interest, see, e.g., Salinas v. United States, 522 U.S. 52, 55 (1997) (affirming Section

       666 bribery conviction against deputy sheriff who accepted bribes from prisoner in exchange for

       allowing conjugal visits), the requirement was met here. 2

               3. The Tribe Suffered a Pecuniary Loss

               As relevant here, the MVRA applies “in all sentencing proceedings for convictions of . . .

       any offense— (A) that is . . . (ii) an offense against property under this title . . . and (B) in which

       an identifiable victim . . . has suffered a . . . pecuniary loss.” 18 U.S.C. § 3663A(c)(1)(A)(ii), (B).

               The defendants argue that the Tribe’s legal expenses and fees incurred in assisting the

       government in its investigation and prosecution cannot constitute the “pecuniary loss” required

       by Section 3663A(c)(1)(B) as a matter of law. This argument is without merit. The statute does

       not say that a “direct” pecuniary loss is required. Moreover, Section 3663A(c)(1)(A) states that

       restitution for “other expenses incurred during participation in the investigation or prosecution of

       the offense or attendance at proceedings related to the offense” is due “in any case,” not just a

       case in which the victim has suffered a pecuniary loss, much less a direct pecuniary loss.



               2
                The defendants’ reliance on United States v. Adorno, 950 F. Supp. 2d 426 (E.D.N.Y.
       2013), ignores Razzouk. The Second Circuit distinguished Adorno on the grounds that the harm
       on which the restitution request was based could not be documented. Razzouk, 984 F.3d at 189
       n.10. That problem did not exist in Razzouk and it does not exist here.



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       (Emphasis added.) There can be no question that the Tribe’s legal fees and expenses are an

       indirect pecuniary loss that it incurred during the participation in the government’s investigation

       and prosecution and attendance at proceedings related to those offenses. The Tribe also suffered

       indirect pecuniary loss in the form of construction project cost increases resulting from its

       termination of Mr. DeQuattro’s firm based on the defendants’ bribery. See DN 307 at 2-3.

              The defendants neglect to mention that two decisions from the Southern District of New

       York have rejected the argument they raise here. United States v. Avenatti, 19-CR-373-PGG,

       2022 WL 452385, at *7 (S.D.N.Y. Feb. 14, 2022); United States v. Kuruzovich, No. 09-CR-824-

       DC, 2012 WL 1319805, at *4-5 (S.D.N.Y. Apr. 13, 2012) (Chin, J., sitting by designation),

       abated due to defendant’s death, 541 F. App’x 124 (2d Cir. 2013).

              The defendant in Kuruzovich demanded payments from the company that had fired him,

       threatening that he would contact various government authorities and allege insider trading and

       other illegal activity by the company if it did not pay him. He pled guilty to one count of

       blackmail, in violation of 18 U.S.C. § 873. In the course of its participation in the government’s

       investigation and prosecution of the defendant, the company had retained outside counsel to

       review documents requested by the government and to address concerns over confidentiality and

       privilege. The company sought restitution covering its legal fees. The defendant objected that the

       company had suffered no injury as a result of his conduct. Kuruzovich, 2012 WL 1319805, at *4.

       Judge Chin rejected the defendant’s argument, holding that the company’s legal fees constituted

       the “pecuniary loss” required under Section 3663A(c)(1)(B). Id.

              The defendant in Avenatti, attorney Michael Avenatti, represented the coach of a Nike-

       sponsored youth basketball program. The coach claimed that Nike had terminated its sponsorship

       of his program because he had refused to engage in alleged corruption by certain Nike



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       employees. Avenatti threatened Nike that he would hold a press conference that “would take

       billions of dollars off the company’s market cap” unless Nike paid the coach a $1.5 million

       settlement and paid millions to Avenatti personally to conduct an internal investigation at Nike.

       Avenatti, 2022 WL 452385, at *1-2. A jury convicted Avenatti of transmitting interstate

       communications with intent to extort, Hobbs Act extortion, and honest services wire fraud. Id. at

       *1.

              The government sought restitution for Nike’s legal fees and expenses incurred in

       responding to subpoenas and requests from the government in connection with assisting in the

       prosecution, preparing witness who testified at trial, and preparing materials in support of the

       request for restitution. Id. at *5. Avenatti argued that Nike could not recover these fees because

       they did not constitute a “pecuniary loss.” The court rejected this argument, relying on

       Kuruzovich. It also relied, as did the Kuruzovich court, on United States v. Amato, 540 F.3d 153

       (2d Cir. 2008), abrogated in part by Lagos v. United States, 138 S. Ct. 1684 (2018). 3 Although

       the Amato court did not directly address the “pecuniary loss” language in the MVRA, it held that

       the victim’s legal fees incurred in assisting the government’s investigation and prosecution of the

       defendants were a direct and foreseeable result of the defendants’ offenses. Id. at 162; see also

       United States v. Afriyie, 27 F.4th 161, 166 (2d Cir. 2022) (same, where defendant was convicted




              3
                 Lagos holds that the phrase “reimburse the victim for lost income and necessary child
       care, transportation, and other expenses incurred during participation in the investigation or
       prosecution of the offense or attendance at proceedings related to the offense,” as used in Section
       3663A(b)(4), includes only expenses incurred as part of government investigations and criminal
       proceedings, not private investigations or civil or bankruptcy proceedings. Lagos, 138 S. Ct. at
       1687. The government is not seeking restitution for expenses incurred by the Tribe as part of any
       private investigation.

                                                        5

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       of trading on inside information misappropriated from his employer), cert. denied, 143 S. Ct. 326

       (2022).

                 The only case on which the defendants rely is United States v. Yu Xue, CR 16-22, 2021

       WL 2433857 (E.D. Pa. June 15, 2021), which the Avenatti court found unpersuasive, 2022 WL

       452385, at *7. The defendant Yu Xue was convicted of stealing GlaxoSmithKline’s trade secrets

       for which there was no fair market value. 2021 WL 2433857 at *2 n.4. The court held that GSK

       had suffered no pecuniary loss because there was no direct financial loss, and, therefore, GSK

       was not entitled to restitution for the legal fees it had incurred in hiring outside counsel to

       support the government’s investigation and prosecution.

                 Yu Xue is distinguishable, however, because GSK’s own admissions in that case showed

       that its legal fees did not meet the language of Section 3663A(b)(4). Specifically, GSK admitted

       that “the vast majority of the work [outside counsel] undertook was in reaction to the litigation

       strategies and tactics of Defendants’ counsel, as well as particular Court Orders requiring GSK to

       take certain actions in discovery at Defendants’ insistence,” which was “perforce not done at the

       request of or required by the Government.” Id. at *3. Those are not the facts here. In addition, Yu

       Xue’s rejection of Kuruzovich does not hold up. The Yu Xue court stated: “Tellingly, expenses

       for legal fees and costs incurred during an investigation and prosecution of a defendant would

       only arise after a victim suffers a pecuniary loss “as a result of the commission of an offense.” Id.

       at *6 (quoting Section 3663A(a)(2)). But the language of the statute does not contain that

       chronology. Nor does Yu Xue address the fact that the statute does not require a direct pecuniary

       loss.

                 For these reasons, the Tribe suffered a pecuniary loss, as required by Section

       3663A(c)(1)(B).



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              4. The Tribe Was Directly and Proximately Harmed as a Result of
                 the Defendants’ Crimes

              As noted in the government’s principal brief, the Tribe was directly and proximately

       harmed by both defendants’ bribery. DN 307 at 2-3. The harm includes damage to the Tribe’s

       reputation caused by Mr. Cromwell’s conviction, and construction project delays and lost

       resources caused by Mr. DeQuattro’s conviction, which left the Tribe no choice but to fire

       RGB. 4 The defendants create a false construct by trying to parse their bribery convictions from

       the counts of acquittal. One cannot say that the Tribe’s reputation was somehow less injured

       because Mr. Cromwell was acquitted of bribery conspiracy, or that the Tribe’s decision to fire

       RGB was based only on the bribery counts on which Mr. DeQuattro was acquitted. Unlike some

       cases, all of the charges that went to the jury in this case (on which the Court did not issue a

       judgment of acquittal) were for the same crime: bribery or conspiracy to commit bribery. In

       terms of the direct and proximate harm that the defendants’ bribery convictions caused to the

       Tribe, the counts of acquittal cannot be untethered from the counts of conviction. The Tribe was

       directly and proximately harmed by the defendants’ bribery, period. That harm includes the legal

       fees and expenses the Tribe incurred during its participation in the investigation and prosecution

       of the crimes of conviction. See, e.g., Avenatti, 2022 WL 452385, at *5 n.4.




              4
                 Mr. DeQuattro implies that the harm caused to the Tribe when it fired RGB was self-
       inflicted. See DN 313 at 6 (asserting that RGB “was not a party to this case” and the Tribe’s
       decision to fire RGB “was entirely its own”). That is absurd. Mr. DeQuattro owned RGB. RGB
       paid for the Bowflex and the hotel stay which Mr. DeQuattro gave to Mr. Cromwell as bribes. It
       would have been impossible for the Tribe to continue doing business with a company owned by
       a person convicted of bribing the Tribe’s Chairman.

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              5. The Tribe’s Legal Fees and Expenses Are “Other Expenses”
                 Reimbursable Under Section 3663A(b)(4)

              In a post-Lagos case, Judge Talwani held that a victim’s legal fees are recoverable under

       the MVRA as “other expenses” if they were necessary. United States v. Chan, 16-CR-10268-IT,

       2019 WL 3975579, at *5 (D. Mass. Aug. 22, 2019), restitution award aff’d sub nom. In re

       Akebia Therapeutics, Inc., 981 F.3d 39 (1st Cir. 2020). The defendants were convicted of

       securities fraud and conspiracy to commit same. The case concerned, among other things, the

       defendants’ purchases of the stock of Akebia Therapeutics while one of them worked there.

              Judge Talwani awarded Akebia restitution for its legal fees in the amount of $170,476.46.

       Id. at *1. This included reimbursement for certain hours spent by outside counsel to compile and

       produce documents subpoenaed by the government, hours spent by counsel preparing Akebia

       employees for government interviews and attending the interviews, some hours spent by

       attorneys assisting with the restitution request, and the transportation expenses of lawyers who

       attended court proceedings. Id. at *7-8. Judge Talwani excluded from her restitution order hours

       spent for lawyers to prepare Akebia employees to testify at trial, and to watch the trial and other

       court proceedings, as well hours she deemed were excessive and unnecessary. Id. 5

              The First Circuit affirmed. In re Akebia Therapeutics, Inc., 981 F.3d 32, 39 (1st Cir.

       2020). It rejected any notion that Lagos had overruled United States v. Janosko, 642 F.3d 40 (1st

       Cir. 2011), and emphasized the continuing applicability of Janosko, which holds: “While

       ‘expenses’ qualifying for restitution are not unlimited, . . . they will pass muster if they would

       not have been incurred in the absence of the offense, were not too attenuated in fact or time from


              5
                Outside counsel’s invoices included hours spent by paralegals, litigation support
       technicians, litigation support analysts, associates, counsel, and partners. Judge Talwani
       approved hourly rates spanning from $194.75 to $997.50. Chan, 2019 WL 3975579 at *8-9.

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       the crime, and were reasonably foreseeable.” Id. at 42 (citation and internal quotation marks

       omitted), quoted in Akebia, 981 F.3d at 38. The Akebia court assumed without deciding that legal

       fees are recoverable “other expenses” under the MVRA. 981 F.3d at 38 n.4. The court held that

       the district court had not abused its discretion in denying certain hours. It reasoned:

               The reality is that determining an award of restitution is a fact-specific undertaking
               and will vary case-by-case. The district court has the discretion to determine, for
               each case, which expenses were necessary and foreseeable, and therefore
               reimbursable. The district court’s task is to reasonably determine an appropriate
               amount for restitution and to ensure the amount awarded has a rational basis in the
               record. We have previously acknowledged that, to some degree, any line drawn
               which has the effect of denying part of a request for reimbursement of expenses is
               arbitrary. Regardless of the heavy weight the district court placed on the Supreme
               Court’s guidance in Lagos, it painstakingly considered each category of expenses
               presented to it, as well as each item within each category, to determine a reasonable
               award to Akebia based on its determination of whether each category and item was
               necessary and foreseeable. As we stated above, we see no improper exercise of its
               discretion in its application of the relevant law, and no abuse thereof in its series of
               decisions, expressed in the order, or in the resulting award to Akebia.

       Id. at 39 (citations omitted).

               The Chan court’s finding that legal fees can be “other expenses” under the MVRA, and

       the First Circuit’s assumption to that effect, are consistent with the majority rule. See United

       States v. Afriyie, 27 F.4th 161, 166 (2d Cir. 2022), cert. denied, 143 S. Ct. 326 (2022); United

       States v. Sexton, 894 F.3d 787, 801 (6th Cir. 2018); United States v. Hosking, 567 F.3d 329, 332

       (7th Cir. 2009), abrogated in part by Lagos v. United States, 138 S. Ct. 1684 (2018); United

       States v. Gordon, 393 F.3d 1044, 1057 (9th Cir. 2004), abrogated in part by Lagos v. United

       States, 138 S. Ct. 1684 (2018). But see United States v. Koutsostamatis, 956 F.3d 301, 303 (5th

       Cir. 2020) (holding that Section 3663A(b)(4) “other expenses” must be similar to lost income

       and expenses for childcare and transportation, and overturning $552,651 restitution order for

       expenses victim company incurred in using its own digital security team and outside contractors

       to find the defendant, an employee hacker who had blackmailed the company). They are also

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       consistent with the overarching purpose of the MVRA, which is to make victims whole.

       Therefore, this Court should follow Chan and the Second, Sixth, Seventh, and Ninth Circuits.

              6. The Claimed Expenses Were Necessary to the Tribe’s Participation in the
                 Investigation and Prosecution of Both Defendants’ Offenses of Conviction

              The Court should reject Mr. DeQuattro’s request for disallowance of legal fees that the

       Tribe incurred while the government was investigating suspect treasurer’s checks received by

       Mr. Cromwell, but before the government discovered that the payor was Mr. DeQuattro. The

       government could not have investigated Mr. DeQuattro’s role without first investigating the

       treasurer’s checks. It was all part of the same investigation.

              The government’s investigation into Mr. Cromwell began in 2019. In March 2020, the

       government discovered suspect treasurer’s checks payable to Mr. Cromwell in the amounts of

       $3,000, $3,000, $4,000, $5,000, $5,000, and $8,800. (Trial Ex. 1 at 1-6.) On June 5, 2020, the

       government learned that the purchaser of these treasurer’s checks was Constantinos Mitrokostas.

       The government served its first subpoena on the Tribe that same day (although the subpoena did

       not request any records relating to the treasurer’s checks). 6 The Tribe began incurring legal

       expenses on June 8, 2020, in connection with its response to the first subpoena. Salguero Decl.,

       Ex. A at 2. On June 22, 2020, the government learned that Mr. DeQuattro was the source of the

       funds that Mr. Mitrokostas had converted into treasurer’s checks to Mr. Cromwell. On July 7,

       2020, FBI agents interviewed Mr. DeQuattro, who made statements about Mr. Cromwell and Mr.

       Mitrokostas which the government believed (and later came to know) were untrue. On July 31,

       2020, Mr. DeQuattro, accompanied by counsel, gave a proffer-protected interview at the U.S.




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                The government has given the Court, ex parte, copies of the four subpoenas served on
       the Tribe.

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       Attorney’s Office. On August 10, 2020, the government served the Tribe with a second

       subpoena; all of the requested records pertained to RGB and Mr. DeQuattro. On September 8,

       2020, the government served the Tribe with a third subpoena, which sought only records relating

       to RGB. On October 28, 2020, the government served the Tribe with the fourth subpoena,

       seeking all of Mr. Cromwell’s email files – which necessarily included emails with Mr.

       DeQuattro and electronic invitations for meetings involving Mr. DeQuattro.

              The defendants were indicted on November 12, 2020. They were both charged with the

       Bowflex, the hotel stay, and Mr. DeQuattro’s $10,000 check from November 2015 as Section

       666 bribes. And they were both charged with conspiracy to commit Section 666 bribery. They

       were both convicted with regard to the Bowflex and the hotel stay, and Mr. Cromwell was

       convicted on the $10,000 check. Although Mr. DeQuattro paid the check, the jury acquitted him

       of that count. Both were acquitted on the conspiracy count.

              The government’s investigation from March 2020 until the indictment was returned on

       November 12, 2020 was focused on both defendants. The discovery that Mr. DeQuattro had paid

       Mr. Cromwell $50,000 in five separate checks, the first four through Mr. Mitrokostas’s shell

       company and the fifth to Mr. Cromwell’s shell company, was highly indicative of a bribery

       scheme. To confirm this, the government needed, inter alia, more records from the Tribe.

       Records obtained from the Tribe (and RGB and other entities) and witness statements/testimony

       confirmed the scheme.

              The fact that Mr. DeQuattro was convicted only on the Bowflex and the hotel stay does

       not mean that the Tribe’s recoverable legal fees are limited to those associated with investigation

       specifically of the Bowflex and the hotel stay. Such a narrow view is inconsistent with the reality

       of a criminal investigation of a scheme or conspiracy. The Bowflex and the hotel stay cannot be



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       viewed in isolation. The jury’s finding that they were bribes necessarily depended on context –

       specifically, the $50,000 Mr. DeQuattro had already paid Mr. Cromwell, Mr. DeQuattro’s

       defense that the money was political donations, and the fact that Mr. DeQuattro could not claim

       that defense for the Bowflex or the hotel. The investigation was aided by numerous records

       produced by the Tribe, including the Tribe’s constitution and policies; the Gaming Authority

       ordinance; Tribal election records, Gaming Authority meeting minutes; the casino contract

       between the Tribe and RGB; invoices received and checks paid under that contract; other

       contracts between RGB and the Gaming Authority; and emails relating to RGB. Of course, as in

       any investigation, it was critical for the government to know not only what records the Tribe had

       but also what records it did not have or which did not even exist.

               Mr. DeQuattro asserts that it was unnecessary for the Tribe to have its counsel investigate

       sovereign immunity issues. (DN 313 at 15.) On the contrary, the Tribe wanted to comply with

       the subpoenas (and did so) but needed to ensure it would not waive its sovereign immunity in

       doing so. Production letters from Todd & Weld stated, “The Tribe is producing these documents

       voluntarily and without waiving and while expressly reserving its right to object on sovereign

       immunity grounds.”

               Mr. DeQuattro also asserts that it was unnecessary for the Tribe to ask its counsel to

       review documents for attorney-client privilege before producing them. (DN 313 at 15.) That is

       also untrue. Virtually every entity that receives a grand jury subpoena for records asks its counsel

       to withhold privileged documents. When a victim entity produces records to the government as

       part of its participation in a criminal investigation, its privilege review and withholding of

       privileged documents is a normal and necessary part of the process. A victim should not have to

       risk waiving its privileges in order to be entitled to restitution.



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              Next, Mr. DeQuattro complains that the Tribe’s counsel developed and used key word

       search terms in reviewing mails. (DN 313 at 15.) But that is the only way entities produce

       emails. When the government subpoenas a company, organization, or tribe for emails pertaining

       to certain matters, it is routine for the government and the recipient to agree on search terms. It is

       necessary for the recipient to search for emails responsive to the subpoena, and the most

       common and effective way to do so is by using search terms. 7

              Next, Mr. DeQuattro asserts that fees for the Tribe’s counsel to attend court proceedings

       are not necessary. (DN 313 at 16-17.) He relies on the district court’s opinion in Chan.

       Respectfully, the Chan court was wrong. Section 3663A(b)(4) provides that a defendant may be

       ordered to “reimburse the victim for lost income and necessary child care, transportation, and

       other expenses incurred during participation in the investigation or prosecution of the offense or

       attendance at proceedings related to the offense.” In some cases it may not be necessary for a

       crime victim’s representative to attend the court proceedings. But it was necessary here. This was

       the second chairman of the Mashpee Wampanoag Tribe to be criminally prosecuted. The Tribe

       needed to ensure that its interests were being protected, that nothing which occurred in court

       could be misinterpreted as a waiver of its sovereign immunity, and that the Tribe could tell the

       government if either defendant represented – directly or through counsel – something which the

       Tribe knew was untrue. Moreover, the defendant was not just any Tribal member. He was the

       former Chairman accused of engaging in bribery behind the Tribe’s back regarding a Tribal

       contract for the most important economic development project in the Tribe’s history. And the

       victim was not a single person. The Tribe is a nation run by its Tribal Council. It needed a


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                The government will address Mr. DeQuattro’s complaint No. 3 on page 16 of his brief
       during the ex parte hearing scheduled for January 5.

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       representative to attend the proceedings and report back to the Tribal Council on what was

       happening. The most logical representative was someone who would understand the court

       proceedings: the Tribe’s lawyer. 8

               The government agrees with Mr. DeQuattro that time billed by the Tribe’s counsel on

       November 13-19, 2020 was unnecessary for the Tribe’s participation in the investigation or

       prosecution. See Salguero Decl., Ex. A. That time totals $10,343. The government also agrees

       that counsel’s time entry for May 6, 2022 was unnecessary for the Tribe’s participation in the

       investigation or prosecution. See Salguero Decl., Ex. B. That time totals $845. 9 The time entry

       for the day before was necessary, however. The attorney charged 1.2 hours for attending court

       for the verdict and then notifying the Tribe. The fact that he spoke briefly with the prosecutors

       and extended thanks on behalf of the Tribe while in the courtroom is no reason to exclude his

       time.

               Mr. DeQuattro has pointed to no other time entries he contends were unnecessary.

               7. The Restitution Order Should Be Joint and Severable.

               Mr. DeQuattro has asked the Court to exercise its discretion to apportion any restitution

       order according to culpability. DN 313 at 18. While the government acknowledges the Court’s

       finding that Mr. DeQuattro was far less culpable than Mr. Cromwell, apportioning restitution in

       this case would be inconsistent with the fact that the Tribe incurred legal expenses in connection



               8
               Mr. DeQuattro also points to Akebia’s affirmance of the district court’s denial of
       reimbursement for time spent by lawyers preparing Akebia witnesses for trial testimony,
       “because the government prosecutors were responsible for preparing these witnesses for trial
       testimony.” Akebia, 981 F.3d at 38-39. That is not an issue here. The Tribe is not seeking
       reimbursement for its counsel preparing witnesses for trial.
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                   Thus, the government agrees that $10,343 + $845 = $11,188 should be excluded.

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       with the entire investigation, which led to parallel charges of bribery against the defendants, and

       parallel convictions except for the $10,000 check from November 2015. Furthermore, ordering

       joint and severable liability would be fairer to the Tribe because it would make it far more likely

       that the Tribe could enforce the order. See DN 307 at 5. It would he consistent with the

       overarching purpose of the MVRA: to make victims whole.

                                                  CONCLUSION

              For these reasons, the government respectfully requests that the Court order the

       defendants to pay $233,218.94. in restitution to the Mashpee Wampanoag Tribe, and to hold the

       defendants jointly and severally liable.

                                                       Respectfully submitted,

                                                       RACHAEL S. ROLLINS
                                                       United States Attorney

                                                  By: /s/ Christine Wichers
                                                      Christine Wichers
                                                      Jared Dolan
                                                      Assistant U.S. Attorneys




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       21, 2022.

                                                       /s/ Christine Wichers
                                                       Christine Wichers




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                              UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MASSACHUSETTS
       ___________________________________
                                           )
                                           )
       UNITED STATES OF AMERICA            )
                                           )
       v.                                  )             No. 20-CR-10271
                                           )             Leave t o File Granted on
       DAVID DEQUATTRO,                    )             December 22, 2022
                   Defendant               )
                                           )
       ___________________________________ )

            DEFENDANT DAVID DEQUATTRO’S SUR-REPLY REGARDING RESTITUTION

       A.      The Government Has Made No Showing that the Tribe’s Legal Expenses Were
               Caused by Mr. DeQuattro’s Sole Offense of Conviction

               The government, even in Reply, utterly fails to address the Supreme Court’s holding that

       restitution must be limited to “the loss caused by the specific conduct that is the basis of the

       offense of conviction” and that “a defendant who is charged with multiple offenses but who is

       convicted of only one offense” cannot be required “to make restitution for losses related to the

       other alleged offenses.” Hughey v. United States, 495 U.S. 411, 412-13 (1990). While the

       government criticizes the defendants for “trying to parse their bribery convictions from the

       counts of acquittal,” that is precisely the analysis the caselaw requires. Dkt. 323 at 7. The

       complete absence of any attempt to establish that Mr. DeQuattro’s provision of the Bowflex and

       hotel reservation to Mr. Cromwell, as opposed to the lawful campaign contributions for which he

       was acquitted and/or Mr. Cromwell’s own unilateral conduct, was a but-for and proximate cause

       of the Tribe’s claimed loss, in itself, dooms the restitution claim. The government notably fails

       to cite a single authority for its contrary position. Zeroing in on the specific counts of

       conviction, it is readily apparent that all of the subpoenas would have issued irrespective of Mr.

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       DeQuattro’s conduct. The government investigation was focused on Mr. Cromwell and his

       suspected misuse of Gaming Authority funds, as well as on political donations he received from

       Mr. DeQuattro and others. Under Hughey, the foregoing is all beyond the scope of restitution.

                Even if the court determines (over the defense objection) that the absence of a conviction

       for the donation-related conduct does not fully bar restitution as a matter of law, the expenses

       that can be individually assigned as both necessary and attributable to Mr. DeQuattro are very

       small. Despite the defense raising this issue in its Opposition, neither the Tribe nor the

       government has sought to individualize the claimed expenses to one or both defendants, and the

       supporting invoices similarly fail to do so.1 To award the requested restitution without an

       individualized showing would infringe upon Mr. DeQuattro’s Due Process rights. See Hughey,

       495 U.S. at 420 n.5 (“To order a defendant to make restitution to a victim of an offense for which

       the defendant was not convicted would be to deprive the defendant of property without due

       process of law.” (quoting H.R. Rep. No. 99-334, p. 7 (1985)).

                Nor has the Tribe provided revised invoices addressing the issue of block-billing. For

       example, the government persists in claiming that a May 5, 2022 time entry including “

                                                             ” was necessary. R. Salguero Decl., Ex. B at

       5/6/22. It reasons that the same time entry included other tasks like “attending court for the

       verdict” and “notifying the Tribe.” Dkt. 323 at 14. But this is precisely the issue caused by

       block-billing: even assuming, contrary to the defense argument, that such other tasks are

       compensable, there is no way to determine how “brief[]” the conversation thanking the


       1
         Cf. U.S. ex rel. Lovell v. AthenaHealth, Inc., No. 22-1246, 2022 WL 17829026, at *3 n.3 (1st Cir. Dec. 21, 2022)
       (affirming, in civil qui tam action, order applying “an across-the-board percentage reduction” in attorney fee award
       “because counsel had not distinguished between time spent on each claim,” only one of which was within the
       statute).
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       prosecutors was. Accordingly, under authorities like Chan and Avenatti, the entirety of this entry

       must be disallowed. Other entries include time spent to protect the Tribe’s own interests, rather

       than on tasks required by the government. See R. Salguero Decl., Ex. A at 7/13/20 (“

                                                                           ”), 11/5/20 (review of “

                                                          ”), 11/6/20 (analysis of “                     ” regarding

       potential indictment of Mr. Cromwell, “                                      ” and “

                                 ”). Similarly, many time entries include preparation for or attendance at

       Tribal meetings and/or other communications to Tribal members, akin to client relations. See id.

       at 6/17/20, 6/23/20, 6/24/20, 8/6/20, 8/17/20, 8/26/20, 8/28/20, 9/21/20, 11/4/20, 11/6/20,

       11/9/20, 12/1/20, 12/2/20, 12/30/20; Ex. B at 6/9/21, 8/4/21. While it is certainly understandable

       why the Tribe might want its counsel to attend such meetings, there has been no showing that

       these expenses meet the strict definition of necessity required by the caselaw.2

       B.      Mr. DeQuattro Was Not Convicted of an Offense “Against Property”

               There was no evidence that Mr. DeQuattro’s conduct was “directed[]” against anyone’s

       property interest. United States v. Collins, 854 F.3d 1324, 1331 (11th Cir. 2017). More

       specifically, there was no hint that Mr. DeQuattro’s providing a Bowflex or hotel reservation to

       Mr. Cromwell influenced the latter’s decision-making in any respect, and particularly not to any

       economic disadvantage of the Tribe, nor that RGB failed to provide valuable services in

       exchange for the Gaming Authority’s payments. This is, in short, the antithesis of Razzouk

       where the victim paid “for phantom work.” Dkt. 323 at 3 (citation omitted). Instead, Mr.

       DeQuattro’s conduct of conviction is reminiscent of that which courts have suggested does not


       2
         Alternatively, the defense contends that the Court may decline to award restitution because of “complex issues of
       fact related to” causation that threaten to unjustifiably “complicate or prolong” sentencing. § 3663A(c)(3)(B).
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       trigger the statute. See Dkt. 313 at 4 (citing Collins and United States v. Adorno, 950 F. Supp. 2d

       426, 430 (E.D.N.Y. 2013)).3

                The government cites no authority for its contention that bribery constitutes a crime

       “against property” so long as the bribe is “given in order to protect a property interest.” Dkt. 323

       at 3. Indeed, as discussed in Mr. DeQuattro’s Opposition, the caselaw requires harm to another’s

       property interest, not protection of such an interest. This is a necessary implication of the

       statutory word “against.”

                The government suggests in a footnote that, if the Court rules for the defendant on this

       issue, it nonetheless should Order restitution under a different statute, not previously cited in any

       request for restitution by the Government or the Tribe. See Dkt. 323 at 2 n.1 (citing 18 U.S.C.

       § 3663). The government has waived any entitlement to restitution under this provision by (a)

       failing to mention the statute until its Reply brief and (b) failing, even in Reply, to develop any

       argument as to why the Court should Order restitution under the statute.

       C.       The Government Has Not Proven that the Tribe Suffered a “Pecuniary Loss”

                The element of “pecuniary loss,” much like that of an offense “against property,” is a

       threshold requirement to the applicability of “[t]his section,” i.e., 18 U.S.C. § 3663A, including

       the subsection permitting reimbursement of “other expenses,” § 3663A(b)(4). The latter

       subsection’s preface “in any case” must self-evidently mean in any case subject to § 3663A. See

       United States v. Chan, No. 16-CR-10268, 2019 WL 3975579, at *4 n.4 (D. Mass. Aug. 22, 2019)

       (describing § 3663A(b)(4) as applicable “in all cases subject to the MVRA” (emphasis added));


       3
         The government’s attempt to distinguish Adorno based on documentation of “the harm on which the restitution
       request [i]s based,” i.e., the legal fees and expenses, see Dkt. 323 at 3 n.2, misses the mark. The existence of “an
       offense against property” is a threshold requirement to the applicability of § 3663A, including the subsection
       permitting recovery of “other expenses,” § 3663A(b)(4).
                                                             4



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       United States v. Yu Xue, No. 16-CR-22, 2021 WL 2433857, at *4 (E.D. Pa. June 15, 2021)

       (“While the Government is correct that the MVRA provides for reimbursement of necessary

       expenses under § 3663A(b)(4) ‘in any case,’ the MVRA in its entirety only applies if the victim

       ‘has suffered a physical injury or pecuniary loss.’ Thus, despite the presence of the language ‘in

       any case,’ the fact that [the victim] suffered no pecuniary loss precludes application of

       § 3663A(b)(4).” (citation omitted)). Otherwise, restitution would be mandatory in any federal

       criminal case in which the victim incurs legal fees.

              The statute also requires, on its face, that the “pecuniary loss” be suffered by “an

       identifiable victim or victims.” 18 U.S.C. § 3663A(c)(1)(B). The word “victim” is, in turn,

       limited to “a person directly and proximately harmed as a result of the commission of an

       offense.” § 3663A(a)(1)(2). Accordingly, courts have construed the statute to require that

       pecuniary loss follow as a direct and proximate result from the offense of conviction. See, e.g.,

       Morillo v. Attorney General, 751 F. App’x 335, 338 (3d Cir. 2018) (unpublished) (crediting

       government argument that “a court can order restitution only if it ‘finds that an identifiable

       victim or victims has suffered a physical injury or pecuniary loss as a direct[] and proximate[]

       result of the offense.’”). This reading is consistent with explicit Congressional intent. See S.

       Rep. 104-179, p. 19 (1995) (“The committee intends this provision to mean . . . that mandatory

       restitution provisions apply only in those instances where a named, identifiable victim suffers a

       physical injury or pecuniary loss directly and proximately caused by the course of conduct under

       the count or counts for which the offender is convicted.”).

              Here, the government concedes that the Tribe’s legal fees and expenses are an “indirect”

       pecuniary loss. Dkt. 323 at 4. This, in itself, is sufficient to place them outside the mandatory


                                                    5



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       restitution statute.4 This concession also distinguishes the two authorities relied upon by the

       government where the legal expenses found to constitute the requisite pecuniary loss were

       specifically described as the “direct” result of the defendant’s conduct. See United States v.

       Kuruzovich, No. 09-CR-824, 2012 WL 1319805, at *5 (S.D.N.Y. Apr. 13, 2012); United States

       v. Avenatti, No. 19-CR-373, 2022 WL 452385, at *7 (S.D.N.Y. Feb. 14, 2022).

       D.       The Claimed Legal Fees and Expenses Are Not Necessary “Other Expenses”

                The defense maintains that the statutory language “other expenses” should not be read to

       include hundreds of thousands of dollars in legal fees. See Dkt. 313 at 8-11. In arguing to the

       contrary the government relies in large part on pre-Lagos precedents, as well as cases from the

       Second and Sixth Circuits applying circuit precedent from before Lagos. See Dkt. 323 at 9.5

                Even assuming arguendo that attorneys’ fees may be recoverable, they still must be

       necessary. In Avenatti, the court denied the initial request for restitution “because of inadequate

       submissions from the Government and from Nike,” and limited recovery to “investigatory

       activities that the government expressly and specifically invited or requested.” 2022 WL

       452385, at *3-4. It found not recoverable fees for “[a]nalyzing court filings and engaging in

       motion practice,” and “[a]ttending hearings and the trial” when Nike witnesses were not

       testifying, id. at *9, both of which are included in the restitution request here. Avenatti also held

       that the court could not “attempt to extricate recoverable expenses from non-recoverable

       expenses in block-billing entries.” Id. at *10. Ultimately, the court ordered restitution of


       4
         The government’s continued reliance upon the Tribe’s decision to fire RGB is particularly problematic. This is the
       epitome of an indirect result. And the government neglects to mention that RGB agreed to forgo more than $87,000
       in fees for work performed as part of its settlement agreement with the Tribe regarding these projects.

       5
        To the extent the Court finds any statutory ambiguity on this issue, the rule of lenity requires it to be resolved in
       Mr. DeQuattro’s favor. See Hughey, 495 U.S. at 422.
                                                              6



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       approximately $260,000, down from an initial request of $1 million. See id. at *3, 11. Chan

       reflects a similar approach. See 2019 WL 3975579, at *5. As explained in the defense

       Opposition, Judge Talwani proceeded to exclude some of the same types of expenses at issue

       here. See Dkt. 313 at 15-17. Contrary to the government’s representation, see Dkt. 323 at 14

       n.8, the submitted bills reflect significant time entries for attendance at pre-trial interviews or

       “prep sessions” with witnesses. See R. Salguero Decl., Ex. B at 8/12/21, 4/15/22, 4/25/22.

       E.       It Would Be Unfair to Hold Mr. DeQuattro Jointly and Severally Liable for the Full
                Claimed Loss Amount

                Even assuming arguendo the Court imposes restitution, it should reject the government’s

       request for joint and several liability. As this Court has already noted, this case involves a clear

       asymmetry in culpability. The government theory was that Mr. Cromwell pressured Mr.

       DeQuattro to make the gifts at issue, as well as campaign donations. While Mr. DeQuattro may

       have greater resources than Mr. Cromwell, his business has already been deeply burdened, and

       will continue to be, by the accusation and subsequent conviction. It would be unjust to require

       Mr. DeQuattro to be jointly and severally liable when so many of the legal expenses were

       focused on Mr. Cromwell6 and where the evidence and counts of conviction so clearly

       distinguished the two defendants.7

                                                                       Respectfully Submitted,

       6
        The government has represented that the first subpoena sought no records related to RGB and the fourth was directed
       exclusively at Mr. Cromwell’s emails. These subpoenas clearly would have issued irrespective of Mr. DeQuattro’s
       conduct of conviction and expenses associated with them must therefore be excluded from any restitution award.
       7
         The government also persists in its inaccurate characterization of Mr. DeQuattro’s interview with Agent Crandall.
       As Mr. DeQuattro has already discussed at length, his statements were true and, in fact, demonstrated significant
       transparency. See Dkt. 262 at 10-11. It was Mr. DeQuattro who volunteered that his checks were for campaign
       contributions for Mr. Cromwell and who identified “Dino” although he did not recall the name Constantinos
       Mitrokostas six years after the first donations. In any event, Agent Crandall’s testimony related exclusively to the
       donation counts, and the jury’s acquittal of Mr. DeQuattro on all such counts belies the government’s continued
       claim that he lied.
                                                            7



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                                                              DAVID DEQUATTRO
                                                              By His Attorneys,

                                                              /s/ Martin G. Weinberg
                                                              Martin G. Weinberg, Esq.
                                                              Mass. Bar No. 519480
                                                              20 Park Plaza, Suite 1000
                                                              Boston, MA 02116
                                                              (617) 227-3700
                                                              owlmgw@att.net

                                                              /s/ Michael Pabian
                                                              Michael Pabian, Esq.
                                                              20 Park Plaza, Suite 1000
                                                              Boston, MA 02116
                                                              (617) 227-3700
                                                              pabianlaw38@gmail.com

                                                              /s/ Maksim Nemtsev
                                                              Maksim Nemtsev, Esq.
                                                              20 Park Plaza, Suite 1000
                                                              Boston, MA 02116
                                                              (617) 227-3700
                                                              menemtsev@gmail.com
       Dated: December 30, 2022

                                      CERTIFICATE OF SERVICE

              I, Martin G. Weinberg, hereby certify that on this date, December 30, 2022, a copy of the
       foregoing document has been served via email on AUSA Wichers.
                                                           /s/ Martin G. Weinberg
                                                           Martin G. Weinberg, Esq.




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                                    UNITED STATES DISTRICT COURT
                                     DISTRICT OF MASSACHUSETTS

       UNITED STATES OF AMERICA                     )
                                                    )
              v.                                    )          Criminal No. 20-10271-DPW
                                                    )
       CEDRIC CROMWELL and                          )
       DAVID DEQUATTRO,                             )
                                                    )
                             Defendants.            )


              UNITED STATES’ SECOND SUPPLEMENTAL BRIEF ON RESTITUTION

              The government respectfully increases its restitution request for the Mashpee

       Wampanoag Tribe from $233,218.94 (see DN 323) to $249,628.74. The $16,409.80 increase is

       supported by the Declaration of Rebekah D. Salguero Regarding Three Additional Invoices from

       Rankin & Sultan (filed today under seal), ⁋7, and the three invoices attached thereto. The

       invoices, which are dated September 13, 2021, January 3, 2022, and April 26, 2022, are for legal

       services provided by Rankin & Sultan between July 26, 2021 and April 22, 2022. These invoices

       should have been included as part of Exhibit C attached to the first declaration of Attorney

       Salguero (DN 308, filed under seal). They were inadvertently omitted due to an oversight by the

       undersigned AUSA.

                                                    Respectfully submitted,

                                                    RACHAEL S. ROLLINS
                                                    United States Attorney

                                              By: /s/ Christine Wichers
                                                  Christine Wichers
                                                  Jared Dolan
                                                  Assistant U.S. Attorneys




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                                             Certificate of Service

               I certify that this document filed through the ECF system will be sent electronically to
       the registered participants as identified on the Notice of Electronic Filing (NEF) on January 9,
       2023.

                                                    /s/ Christine Wichers
                                                    Christine Wichers




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                                     UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF MASSACHUSETTS



                                                    )
                UNITED STATES OF AMERICA,           )
                                                    )            Criminal Action
                           Plaintiff,               )            No. 20-10271-DPW
                                                    )
                v.                                  )
                                                    )
                CEDRIC CROMWELL and                 )
                DAVID DEQUATTRO,                    )
                                                    )
                           Defendants.              )
                                                    )



                             BEFORE THE HONORABLE DOUGLAS P. WOODLOCK
                                    UNITED STATES DISTRICT JUDGE



                                              MOTION HEARING
                                             January 18, 2023
                                                1:47 p.m.


                              John J. Moakley United States Courthouse
                                           Courtroom No. 1
                                         One Courthouse Way
                                    Boston, Massachusetts 02210




                                                         Kelly Mortellite, RMR, CRR
                                                         Official Court Reporter
                                                         One Courthouse Way, Room 3200
                                                         Boston, Massachusetts 02210
                                                         mortellite@gmail.com




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           1    APPEARANCES:

           2    Counsel on behalf of United States:
                Christine J. Wichers
           3    United States Attorney's Office MA
                1 Courthouse Way
           4    Suite 9200
                Boston, MA 02210
           5    617-748-3278
                christine.wichers@usdoj.gov
           6
                Counsel on behalf of Defendant Cedric Cromwell:
           7    Timothy R. Flaherty
                699 Boylston Street, 12th Flr.
           8    Boston, MA 02116
                617-227-1800
           9    timothyrflaherty@gmail.com

          10    Counsel on behalf of Defendant David DeQuattro:
                Martin G. Weinberg
          11    Maksim Nemtsev
                Martin G. Weinberg, PC
          12    20 Park Plaza
                Suite 1000
          13    Boston, MA 02116
                617-227-3700
          14    owlmgw@att.net

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           1                            P R O C E E D I N G S

           2               (The following proceedings were held in open court

           3    before the Honorable Douglas P. Woodlock, United States

           4    District Judge, United States District Court, District of

           5    Massachusetts, at the John J. Moakley United States Courthouse,

           6    One Courthouse Way, Courtroom 10, Boston, Massachusetts, on

           7    January 18, 2023.)

           8    (Case called to order.)

           9               THE COURT:     Well, there are a number of loose ends

    01:57 10    that I want to tie up quickly, having in mind in particular the

          11    desire of Mr. DeQuattro to move on here in a way that does not

          12    compromise his position and profession or minimize in any event

          13    that.    Nevertheless, in going through the papers I've

          14    encountered a number of loose ends, is a broad way of speaking

          15    to it, various filings that were made that are a little

          16    difficult to understand.

          17               So what I thought would be useful as an order of

          18    battle here is to go through the outstanding motions that are

          19    listed on the motions report for this case.            I think that that

    01:58 20    probably will narrow the issues quite substantially.              I note as

          21    well that there is an agreed-upon motion for stay here with

          22    Mr. DeQuattro which has led to a brevis motion itself without

          23    disclosing the precise grounds on which there are said to be

          24    substantial issues.       I have some sense of what they are.          I'll

          25    talk to them a bit, but there may be some additional




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           1    observations I want to make with respect to that.

           2               Finally there is an issue with respect to

           3    Mr. Cromwell's medical condition and the ability of the Bureau

           4    of Prisons to address that promptly.           I'm not satisfied that I

           5    have before me anything that tells me that the Bureau of

           6    Prisons will be able during the course of appeal to deal with

           7    that, and that will affect my judgment with respect to the

           8    government's opposition to Mr. Cromwell's motion for stay.

           9               But let me turn to the motions themselves.            There is

    01:59 10    on the docket anyway a motion in limine concerning evidence and

          11    argument relating to the 2015 tribal elections.             My

          12    recollection, although the transcripts are not complete in this

          13    area, there are snippets from various of the days, whether

          14    that's going to be tied up for purposes of appeal remains to be

          15    seen I suppose, my recollection is that I gave directions with

          16    respect to it, as I always do, and that the proper way of

          17    dealing with this motion in limine is simply to say denied to

          18    the extent of the directions that I gave with respect to it.

          19    Another way of looking at it is it's moot at this point.

    02:00 20               But just so the record is clear, consistent with my

          21    practice with respect to motions in limine, I welcome them as

          22    opportunities to learn a bit more about what issues are in the

          23    case and to provide the parties with some sort of guidance

          24    about what properly they can argue and what they can't so we

          25    don't have to unring bells in various ways.            But I think the




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           1    best way, as I said, is to say with respect to motion number

           2    208, it's denied to the extent of directions provided to the

           3    parties by the court.

           4               The next one is Motion For Forfeiture of Property.

           5    It's number 275, but 275 has been abandoned as such by the

           6    government.     Why this remains here and something hasn't been

           7    substituted for it, I don't know.          There is a motion in this

           8    realm that we'll call 285, which deals with forfeiture in this

           9    area.    And then there's a Motion For a Hearing on Restitution,

    02:02 10    and Statement in re Revised Forfeiture Motion Amount, and

          11    Motion For Excludable Delay, which amalgamates things which I

          12    think require a bit of unbundling.

          13               But turning to the question of forfeiture here, it is

          14    applicable, as I understand it.         And Ms. Wichers or Ms. Head is

          15    present, she can do that as well, advise me regarding it.               This

          16    is only applicable, that is forfeiture is only applicable with

          17    respect to Mr. Cromwell.        Is that right, forfeiture?

          18               MS. WICHERS:     Let me think about this.        I know that we

          19    asked for the forfeiture of the Bowflex, then we asked for a

    02:02 20    money judgment in the reduced amount.

          21               THE COURT:     I'm talking about forfeiture.

          22               MS. WICHERS:     Yeah.

          23               THE COURT:     Is it applicable to Mr. DeQuattro?          Is

          24    there anything out there applicable to Mr. DeQuattro in the

          25    realm of forfeiture?




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           1               MS. WICHERS:     I don't believe so.

           2               THE COURT:     Right.    Ms. Head, maybe you can confirm

           3    that just so we're --

           4               MS. HEAD:     Correct, true.

           5               THE COURT:     Now I turn to Mr. Cromwell and forfeiture

           6    as to him.     As the government is aware, I am concerned about

           7    the order of priority between forfeiture and restitution in

           8    cases.    We haven't gotten to the question of restitution quite

           9    yet.   But ordinarily, my view is that it's important to get

    02:03 10    victims their money and less important in the order of payment

          11    to provide for forfeiture amounts.          That's a little bit

          12    different I think in this setting because it seems to me that

          13    the forfeiture that we're talking about is something that

          14    properly can particularly in the somewhat roiled, r-o-i-l-e-d,

          15    context of tribal politics best be administered by receipt of

          16    the monies in the first instance by the government.              The amount

          17    of forfeiture seems to me to be appropriate in its revised

          18    form, that is 285.

          19               The question of the Bowflex is not fully developed in

    02:05 20    the order for forfeiture.        But as I understand it, the tribe

          21    itself has indicated that it does not want the Bowflex back.

          22    Under these circumstances I assume that the forfeiture

          23    authorities of the federal government will get the highest and

          24    best return for the disposition of that, and so I will forfeit

          25    to the government the Bowflex itself plus the money judgment




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           1    amount that the government is looking for here.

           2                I think, of course I'll hear anything further that you

           3    want to say about that, Mr. Flaherty, but we're talking here

           4    about a revised amount reflected in document 285 of $11,849.37.

           5    That constitutes the $10,000 received in November of 2015 and

           6    1849.37 for the hotel stay that was received in May 2017.               It

           7    seems to me that that is a fair characterization of monies that

           8    constitute the proceeds of the offenses of which Mr. Cromwell

           9    is convicted.     That's really 666 here, as I indicated, because

    02:06 10    as I indicated, and I'll indicate again, I do not believe that

          11    Hobbs Act extortion under color of official right applies to a

          12    tribal official exercising tribal responsibilities in these

          13    circumstances.

          14                But is there any objection, any further objection,

          15    Mr. Flaherty, as to the entry of that order of forfeiture money

          16    judgment?

          17                MR. FLAHERTY:     I don't have a credible argument to

          18    make to the court.       I suppose I should just object for the

          19    record to preserve our rights.

    02:07 20                THE COURT:    Okay.     The record will receive your

          21    objection, but I'll deny it.

          22                MR. FLAHERTY:     But Mr. Weinberg reminds me I should

          23    ask you to stay it.

          24                THE COURT:    I'm sorry?

          25                MR. FLAHERTY:     I should ask you to stay the order of




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           1    forfeiture.

           2               THE COURT:     Well, I don't know what we've got now.

           3    We've got this amount of money that's been crystalized.               Let me

           4    take it up when I get to the stay question, but in any event, I

           5    will enter the order of forfeiture revised of 285, and so I

           6    treat the motion number 275 as being superseded by 285, which I

           7    allow for the reasons that I've indicated here, including

           8    further forfeiture of the Bowflex.

           9               And I suppose it would be helpful under these

    02:08 10    circumstances for the government to submit a further order to

          11    get the Bowflex brought into the forfeiture regime.

          12               MS. WICHERS:     I think, Your Honor, if I'm not

          13    mistaken, there should be two motions, one for the Bowflex and

          14    one for the money order.

          15               THE COURT:     There should be.      Where is the second one

          16    for the Bowflex?

          17               MS. WICHERS:     It's numbered consecutive.         I don't have

          18    the number in front of me.

          19               THE COURT:     Okay.     So let me take a look at the

    02:08 20    docket, which is, as I said, somewhat difficult to read under

          21    these circumstances with the various submissions.              I have

          22    number 285, which was filed on 11/16/2022, styled as proposed

          23    orders submitted as to Mr. Cromwell, but I didn't see a second

          24    order.    It's said to be filed by Ms. Head.

          25               Ms. Head, was there a second order?




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           1               MS. HEAD:     Your Honor, I believe -- and I apologize

           2    for not necessarily having it at hand here -- that when we

           3    filed the first motion, I know that the money judgment was

           4    subsequently amended.       We would have filed a motion for

           5    preliminary order of forfeiture for the Bowflex, it would have

           6    remained unchanged.

           7               THE COURT:     Yes.   Well, I think that since it's been

           8    superseded, assuming that's true --

           9               MS. HEAD:     We will submit an updated order.

    02:10 10               THE COURT:     There should be another order so we've got

          11    that squared away so that Mr. Flaherty can be sure what it is

          12    he's trying to stay under these circumstances because this kind

          13    of movable feast of demands of various kinds of funds by the

          14    government is making it difficult to make precise judgments,

          15    and that's part of what I want to do at this point.

          16               Then I have -- and I'm dealing with Mr. Cromwell here

          17    for the moment.      I have what's styled as a Motion For Hearing

          18    on Restitution.      That's been allowed.       We've had several

          19    hearings about it.       That part of it, this motion for a question

    02:10 20    propounded in court will be stricken as duplicative because

          21    then it says "And Statement Re Revised Forfeiture Judgment

          22    Amount," which is back-reference to 285, and we've I think

          23    dealt with that, and then a Motion For Excludable Delay, and

          24    that I think has to do with the anticipation that a separate

          25    judgment will be entered with respect to this case, staying




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           1   whatever the government wishes to do with respect to the pure

           2   tax case here.      And I don't see a problem with that latter part

           3   of it, that is the motion for excludable delay.

           4              Mr. Flaherty, any objection to that?         And I assume the

           5   parties will talk about whether it makes any sense to be moving

           6   forward on the separate tax case.

           7              MR. FLAHERTY:     No objection, Your Honor.

           8              THE COURT:     Okay.     So I think that deals with that.

           9   Then we come to the question of stay and bail, but I'll skip

    02:11 10   that for a moment.

         11               And now, I've indicated in the various materials that

         12    I filed my initial view, which I've reviewed again concerning

         13    the question of the entry of judgment here, first dismissing or

         14    vacating and finding it doesn't state a crime.            And the

         15    government can obviously appeal from that, the use of Hobbs Act

         16    extortion under color of official right to deal with activities

         17    by a tribal officer in furtherance of the sovereignty of the

         18    tribal entity.

         19               The Supreme Court, as you probably know, on Friday

    02:12 20   afternoon granted certiorari in Lac du Flambeau Chippewa.              The

         21    case comes in a somewhat different posture.           Obviously it comes

         22    out of a bankruptcy case from the First Circuit here, and it's

         23    not obviously directly on all fours, but I think what it does

         24    indicate is a heightened concern on the part of the Supreme

         25    Court and the lower federal courts to careful analysis of the




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           1   special sovereignty of Indian nations such that there is a

           2   requirement that Congress be quite clear if it chooses to

           3   displace the sovereignty of the tribal nations.

           4              The First Circuit in the Chippewa case, Chippewa v.

           5   Coughlin, said that they were clear enough in that case.             And

           6   whether that's true or not, it's clear that even under the

           7   First Circuit law, this, from my perspective, this choice to

           8   proceed under the Hobbs Act would be inappropriate.            That's why

           9   I granted the motion.

    02:14 10              That's a brief statement of it.        I want to get this

         11    moving along, as I've indicated, and I suspect that we're going

         12    to be learning in the next year or so a good deal more about

         13    the contours of some law that at least at its margins has been

         14    somewhat uncertain.      And I would add of course what should be

         15    obvious, that if at any particular point there is some sort of

         16    definitive resolution of aspects of these cases, I have the

         17    right to issue an indicative ruling regarding what I would do

         18    if the matter were returned to me for disposition.            That

         19    applies to this question of Hobbs Act extortion under color of

    02:15 20   official right but other aspects as well.

         21               I then turn more broadly to the questions of 666(a)

         22    here.    I believe it is applicable to both of the defendants in

         23    this case, and I won't be dismissing the counts or vacating the

         24    counts with respect to 666.         That, it seems to me, is an

         25    expression of the supervening power of the federal government




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           1   to say particularly with reference to matters in which the

           2   federal government is directly involved, that is its programs,

           3   that it may displace whatever sovereign role an Indian tribe

           4   might have.     And more broadly, that in doing so, they've

           5   identified an area in which the mere fact that friendship might

           6   be involved, as I believe it was here as one of the motivating

           7   forces for the actions of Mr. DeQuattro, so long as one aspect

           8   of this is the attempt improperly to influence the judgment of

           9   the tribal officer on matters that are the subject of tribal

    02:17 10   concern, broadly conceived, perhaps expressed as they are here

         11    through a somewhat different tribal authority, that the 666

         12    conviction should stand.       I haven't outlined in great detail

         13    because of the need to move this along promptly and the state

         14    of the briefing with respect to it much more concerning that

         15    issue.

         16               The short of it is that the judgment as I outlined it

         17    is going to stand with respect for Mr. DeQuattro and

         18    Mr. Cromwell.     In the case of Mr. Cromwell, we're talking about

         19    a term of imprisonment of 36 months on each count to be served

    02:18 20   concurrently, followed by one year on each count to be served

         21    concurrently of supervised release.         There is in addition a

         22    special assessment that is mandatory of $200, and there is a

         23    fine of $25,000 imposed in connection with that.            Restitution

         24    to be taken up in just a moment.

         25               With respect to Mr. DeQuattro, the sentence was and is




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           1   probation for a term of one year.         There is a series of special

           2   conditions of supervision that we may have to talk about a

           3   little bit because they will constrain, depending on how the

           4   monies are deployed, Mr. DeQuattro's ability to engage in any

           5   additional lines of credit without the approval of the

           6   Probation Office and the requirement that he provide access to

           7   any requested financial information, which may be shared with

           8   the United States Attorney's Office, but in the case of

           9   Mr. DeQuattro, we have a special assessment of $100, that is

    02:19 10   mandatory, and we have a fine of $50,000.

         11               So I think that touches or deals with the underlying

         12    offenses upon which the question of restitution will depend

         13    here, unless there's something more that the parties want me to

         14    deal with other than the restitution argument here.

         15               Is there anything else that the parties would ask me

         16    to address?

         17               MR. WEINBERG:     Only, Your Honor, that we've agreed

         18    that Mr. DeQuattro will put the $50,000 fine in escrow in an

         19    account with disclosures to the government which would be a

    02:20 20   potential alternative to the extra special conditions that Your

         21    Honor just listed.

         22               THE COURT:     Well, the real question is what happens if

         23    there's restitution, as I think you must assume there's going

         24    to be restitution of some sort.         That is, he's got some

         25    additional monetary responsibilities.          We can get back to that




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           1   in a moment.     I would assume that some form of escrow

           2   arrangement and immediate payment of the $200 special

           3   assessment would be appropriate for that.           And then if the

           4   conviction is overturned, then the $200 can be applied to the

           5   escrow and returned and that sort of thing.

           6              MR. WEINBERG:     Yes, the special assessment will be

           7   paid immediately, Your Honor.

           8              THE COURT:     I'm sorry?

           9              MR. WEINBERG:     The special assessment will be paid

    02:21 10   whenever the judgment is entered.

         11               THE COURT:     Okay.     Let's then talk to restitution.      As

         12    you know, I had ex-parte communications with the government to

         13    get a better understanding of the development of the

         14    government's case here because the question of restitution

         15    turns in part on what the status of the tribe was, what the

         16    status of individual members of the tribe were.

         17               There are three sets of attorney bills involved, two

         18    that are directly on behalf of the tribe itself, one on behalf

         19    of Mr. Hendricks who received separate counsel in the case in a

    02:22 20   fashion that made clear that he was concerned himself about

         21    potential political -- potential criminal exposure, or he and

         22    his attorneys were.      And I probed that a bit as well and I have

         23    an affidavit indicating that the tribe had no indemnification

         24    provisions at all.

         25               One thing that I did not clarify, and Mr. Flaherty,




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           1   perhaps you'll be able to do that and perhaps Ms. Wichers can

           2   as well, did Mr. Cromwell receive payment for any of his legal

           3   fees in connection with this?

           4               MR. FLAHERTY:    No, Mr. Cromwell has had no ability to

           5   fund his defense from the beginning, Judge.           He's received no

           6   payments from the tribe.

           7               THE COURT:    Okay.     And is that for lack of asking?

           8               MR. FLAHERTY:    No, it was not.     I reached out to

           9   counsel from Todd & Weld, Ben Wish, and spoke to him early on

    02:23 10   on this, and he explained to me that there was no

         11    indemnification provision from the tribe.           And at this point

         12    Mr. Cromwell was then the chairman of the tribe, and he said it

         13    would have to go to vote in front of the Tribal Council at a

         14    public hearing.      It would have to disclose the nature of the

         15    investigation.      And the reality is that it would never be

         16    approved.     And I took him at face value and the investigation

         17    continued the way it did.

         18                THE COURT:    Okay.     So I guess the question for you,

         19    Ms. Wichers, is why I should authorize any victim amounts to

    02:24 20   the tribe for the representation of Mr. Hendricks?            We had, as

         21    you know, we discussed earlier perhaps at great points at the

         22    point at which Mr. Hendricks' activities came within the direct

         23    attention of the investigation as it developed here, and I

         24    thought about that.      But I guess my view is that the tribe can

         25    ask for monies for the tribe.         If the tribe has no




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           1   indemnification provisions or a political process, that means

           2   that indemnification provisions are going to require that a

           3   defendant make a choice between seeking indemnification or

           4   giving up the rights to confidential communications from his

           5   own counsel, that I should not impose any restitution amount.

           6              I recognize the tribe has asked for it.          They paid it.

           7   As I've also indicated it appears from materials that are both

           8   public and private that -- private in the sense of sealed at my

           9   instance that the tribe has, as I said a roiled political

    02:25 10   environment that suggests that the tribe has no tribal view

         11    with respect to particular issues like this.           That's a broad

         12    way of saying that this does not appear to me to be a tribal

         13    matter, that is indemnification of someone like Mr. Hendricks

         14    or Mr. Cromwell.      So why shouldn't I exclude it?

         15               MS. WICHERS:     Well, it is a tribal matter from the

         16    tribe's perspective.

         17               THE COURT:     They paid money improvidently.        Apparently

         18    Mr. Wise, is it, from Todd & Weld, advised Mr. Flaherty that

         19    they weren't going to pay money.         The choice arbitrarily and

    02:26 20   capriciously to decide who among the people anticipate that

         21    they face criminal prosecution individually should receive

         22    money suggests to me that this is not a tribal matter, at least

         23    one that should be placed on the shoulders of those who have to

         24    pay restitution in this case.

         25               MS. WICHERS:     The Tribal Council voted not to




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           1   indemnify Mr. Cromwell, that is true.          He had been indicted

           2   when the request came down, he was indicted in his role as

           3   chairman of the tribe for alleged bribery.           And the Council

           4   made an appropriate decision not to indemnify him for that.

           5   Mr. Hendricks is a different situation, as we've discussed

           6   ex-parte, and he is the only tribal member that -- there were

           7   others who were called as witnesses, and they were not

           8   indemnified, the tribe did not pay for their legal fees.

           9   Mr. Hendricks was the first.

    02:27 10              THE COURT:     Did they have separate counsel?

         11               MS. WICHERS:     One did -- two did.

         12               THE COURT:     And they never asked for the

         13    indemnification?

         14               MS. WICHERS:     I don't know if they asked.

         15               THE COURT:     Well, in any event, I'm not presented with

         16    that.

         17               MS. WICHERS:     Correct.

         18               THE COURT:     And someone who is individually concerned

         19    about their role doesn't get to make the -- get to make the

    02:28 20   choice with respect to that as far as I'm concerned.

         21               MS. WICHERS:     As we've discussed with Mr. Hendricks,

         22    at the time that the tribe received that subpoena, it did not

         23    know what the nature of the grand jury investigation was about,

         24    and it was subpoenaing not just any tribal member but the

         25    former treasurer of the tribe and the gaming authority.




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           1              THE COURT:     Well, they were also investigating the

           2   former chair, and it was clear we're not going to pay for that.

           3   So what we have here is an arbitrary and capricious

           4   determination with respect to indemnification of individuals

           5   here.    If they had an indemnification arrangement, that would

           6   be a different matter.       They didn't.     And they're clear that

           7   they didn't here.

           8              MS. WICHERS:     I guess I would say it's not arbitrary

           9   and capricious because at the time that Mr. Cromwell asked to

    02:28 10   be indemnified, he had already been indicted by a grand jury in

         11    a criminal case.

         12               THE COURT:     Had he incurred financial -- had he

         13    incurred attorneys' fees before the indictment itself?

         14               MS. WICHERS:     Not to my knowledge.

         15               THE COURT:     Mr. Flaherty?

         16               MR. FLAHERTY:     The request was made prior to the

         17    indictment.

         18               THE COURT:     Were there attorneys' fees prior to the

         19    indictment?

    02:29 20              MR. FLAHERTY:     Yes.

         21               THE COURT:     Okay.     That seems to me to be an elusive

         22    point of difference.       "Elusive" in the sense of e-l-u-s-i-v-e.

         23               MS. WICHERS:     If there were attorneys' fees, I believe

         24    it was in connection with his company's response to a keeper of

         25    the records subpoena.




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           1               With regard to Mr. Hendricks, it's a different animal

           2   because he was called into the grand jury early -- not early on

           3   but, as I say, he was the first person to receive a subpoena

           4   before anyone knew in the tribe, including Mr. Cromwell, what

           5   any of this was about, the tribe's first notice of any

           6   investigation.

           7               THE COURT:    Okay.     So having heard your argument, I am

           8   not going to permit indemnification for the attorneys' fees for

           9   Mr. Hendricks, the Rankin & Sultan attorneys' fees here, so

    02:30 10   they're excluded.

         11                Now we turn to the attorneys' fees for the tribe as a

         12    tribe, and here I think it's important to address the order of

         13    questions that are raised by Mr. DeQuattro in his opposition to

         14    the government's restitution requirement, and I'll go through

         15    those.    They've been the subject of supplemental filings and so

         16    on.   Some of them are not persuasive to me.          Some of them have

         17    some degree of persuasiveness that I'll talk about in a moment.

         18                The first topic is that the request for restitution is

         19    untimely.     The problem here is I think it's fair to say that

    02:31 20   there was not a regularized orderly approach to determining

         21    what restitution amounts were available.          There were competent

         22    attorneys involved here, aware of the requirement that there be

         23    a prompt provision to the probation office listing in the

         24    amounts of restitution.       But as the government said, it really

         25    was on the eve of the hearings in these matters that the




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           1   government, and I quote, "learned last week at a meeting with

           2   the tribe that they incurred close to $200,000 combined with

           3   grand jury subpoenas, collecting all records and reviewing

           4   records, attorneys' fees," and they requested some additional

           5   time to deal with that.

           6               My experience generally, and it's focused here, is

           7   that there is a need for greater regularity in the way in which

           8   victim submissions are made.        The government functions kind of

           9   like a maitre 'd in this process, that is, it's got a victim

    02:33 10   witness advocate who is supposed to help gather the material

         11    and facilitate the submission of it, but that does not

         12    necessarily mean that the government endorses a particular view

         13    with respect to it.      Then there are hearings and the parties

         14    are not necessarily -- victims are not necessarily aware of

         15    those hearings, although I think they were here.

         16                So then I think, well, what's the touchstone for me in

         17    this?    And the touchstone for me is to make sure that every

         18    victim gets proper restitution, irrespective if there have been

         19    shortcomings in the process or the attentiveness or the

    02:33 20   regularity that has been applied for by the various parties in

         21    the case.

         22                The short of it is the missing of deadlines such as

         23    they are is contrary to the position that Mr. DeQuattro and I

         24    assume as well Mr. Flaherty was making, but I'm referring to

         25    the more lengthy memorandum of Mr. DeQuattro, really a matter




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           1   of form.

           2              And while I'm not going to look the other way to the

           3   failure to obtain formalities here, I think in this litigation

           4   it would be unfair to the tribe as an entity to say that they

           5   were untimely because of the process that was involved here.

           6   There is no prejudice to the defendants under these

           7   circumstances except prejudice that they may have to pay money

           8   for restitution.      But there's nothing in particular here that

           9   causes a problem, as we'll see in a moment when I talk about

    02:35 10   the particularities from my perspective, the particularities of

         11    the submissions that were made.

         12               Then I come to the question of the so-called property

         13    offense, that is that Mr. DeQuattro was not convicted of an

         14    offense against property or Mr. Cromwell either, that is, the

         15    666 case, and that the government hasn't proved a pecuniary

         16    loss that involves identifiable victims.          This is something of

         17    a hot issue in the broader area, that is, what is property

         18    generally.

         19               The Varsity Blues cases now under advisement have

    02:36 20   raised these issues in ways that may give us greater clarity in

         21    this area.     My own view is that more fundamentally bribery like

         22    this in which a faithless employee is encouraged to accept

         23    monies that presumably would have gone to the tribe itself is

         24    engaged in the property crime.

         25               That's a broad view of it.        It is one that leads me to




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           1   conclude that there's no windfall involved here to the tribe.

           2   It is simply that we have a pecuniary loss that the tribe has

           3   received which in these contexts thinking in zero sum terms

           4   about what would be otherwise provided in a contractual

           5   arrangement, but for the faithless employee, one could properly

           6   say we're dealing with a property crime, and we're also dealing

           7   with pecuniary loss.       In any event, I'm prepared to say that

           8   and I will for purposes of dealing with this.

           9              I then come to the question of relatedness here.            Was

    02:37 10   this a direct and proximate result of Mr. DeQuattro's offense

         11    of conviction or Mr. Cromwell's?         And again, I'm of the view

         12    that we're dealing with specific conduct that is the basis of

         13    the offense of conviction in a way in which I've discussed it.

         14    And so I'm not of the view that I would deny restitution on

         15    those grounds.

         16               I then turn to the question of whether or not legal

         17    fees and expenses are reimbursable under the subsection, and I

         18    believe they are.      An entity like the tribe that is called upon

         19    to respond to grand jury subpoenas and investigations and

    02:38 20   conduct their own investigations and consult with attorneys

         21    generally are, I believe, entitled to restitution in this area.

         22               I recognize it's a question that may result in some

         23    further clarification perhaps in this case, but for present

         24    purposes I'm prepared to accept that.          This is not a question

         25    of the costs of a babysitter or a tank of gas or a parking




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           1   meter and 44-person digital security team as was referenced by

           2   the Fifth Circuit.      This is core kind of necessary responses

           3   that appropriately from my perspective are under the statute

           4   reimbursable for a tribal entity, and I'm prepared to enter the

           5   restitution amount for the two other firms.

           6              Now what I'm faced with is a problem of the kind of

           7   billing that is reported here, and there is a full-throated

           8   attack on the lack of proof to connect the claimed expenses to

           9   the kinds of responses which I would consider to be

    02:40 10   appropriately reimbursable.         I spent a fair amount of time

         11    trying to understand both in my ex-parte communications with

         12    the government to get a sense of the development of their

         13    investigation and what would be anticipated as proper response

         14    by the tribal entity and what's publicly available in this

         15    area.

         16               I sometimes, when I deal with matters like this,

         17    require the other side to submit its own billing so that I can

         18    see who is spending what time on what.          They're not apples and

         19    oranges, but they provide a measure of understanding of what

    02:41 20   people faced with very demanding circumstances are prepared to

         21    spend reasonably on this, if they've got the money to spend on

         22    it.   I haven't thought that that was necessary in this case

         23    because I think I do have a pretty clear understanding of what

         24    was going on here.

         25               I look at, you know, these kind of block billing




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           1   submissions on the part of the tribe or the attorneys for the

           2   tribe.    I look at the fact that there was a change midstream of

           3   attorneys.     But that's not unusual in other kinds of litigation

           4   in which criminal defendants, even criminal defendants under

           5   the Criminal Justice Act, switch their attorneys and there's

           6   compensation provided for the transitional amounts bringing

           7   somebody up to speed.

           8              The short of it is, while in other circumstances I

           9   would be looking at this in a much more fine-grained fashion

    02:42 10   because it would raise red flags about whether or not there is

         11    overbilling or billing beyond what is necessary, I don't find

         12    it here.    I'm satisfied that this is a matter that was billed

         13    properly by firms who can in the market claim more substantial

         14    reimbursement and that there was no unnecessary -- only

         15    activity that was necessary on behalf of the tribal entity, the

         16    tribal entity itself.

         17               The relationship between the tribe's assisting in this

         18    preparation of witnesses and consulting with the government

         19    regarding the way in which the government is engaging in the

    02:44 20   activity seems to me to be properly reimbursable here.             Is the

         21    tribe thinking about other possible civil claims that are

         22    outside the scope of reimbursement?         Probably.     But what they

         23    billed for is also in the scope of what I think properly

         24    reimbursable, so I will reimburse it.

         25               That then brings me to the question of apportionment.




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           1   And here my view is that Mr. DeQuattro can properly claim that

           2   there be, for purposes of the joint and several

           3   responsibilities that otherwise arise in reimbursement,

           4   probably can maintain that he is only responsible as of the

           5   time that the investigation had focused on him.            And that is

           6   some period of time after the initiation of the investigation

           7   in the beginning of the charging of bills to the tribe by the

           8   law firms here, really the first law firm I think.

           9              And so I think we go back, Ms. Wichers, to a matter

    02:45 10   that we discussed a bit ex parte in trying to find where that

         11    date might properly be identified where enough had come to the

         12    attention of the investigators to put Mr. DeQuattro on the

         13    radar screen there.      Do you want to speak to that?

         14               MS. WICHERS:     Yes, Your Honor.     The government

         15    believes that that date is August -- excuse me -- June 22,

         16    2020, which was after the first subpoena that we served on the

         17    tribe for documents.       The second subpoena was then August 10,

         18    2020, and that's where we began requesting RGB records.

         19               And the reason that I say that June 22, 2020 is the

    02:46 20   key date is that that is the date when we learned from the Cape

         21    Cod Five Bank records that the person -- excuse me.            We already

         22    knew that there were these large suspect treasurer's checks

         23    that had been paid to Mr. Cromwell.         By then we had found out

         24    they were purchased by Mr. Mitrokostas.          And as of June 22,

         25    2020, we knew that the person who had originally paid that




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           1   money to Mr. Mitrokostas was Mr. DeQuattro, and that's when we

           2   began focusing on him.

           3              THE COURT:     Okay.     And as we discussed, that date

           4   provides a point at which Mr. DeQuattro comes on the radar

           5   screen.    There is a little bit different circumstance with

           6   respect to the tribe.       That is to say the tribe is unaware at

           7   that point that it's Mr. DeQuattro.         It's not until the August

           8   date the tribe is aware.

           9              MS. WICHERS:     Correct.

    02:47 10              THE COURT:     Okay.     So it's not for lack of interest in

         11    the arguments that you make, Mr. Weinberg, that I march through

         12    your discussions.      Trust me, I've thought about them.         I don't

         13    think there's a need for anything more, but on this one I do

         14    want to know your view about it.

         15               MR. WEINBERG:     Thank you, Your Honor.       I guess I have

         16    three or four factual responses.         One is that when

         17    Mr. DeQuattro's checks first came on the government's radar

         18    from their review of the bank records of Mr. Mitrokostas, that

         19    began an investigation.       It did not make Mr. DeQuattro a

    02:48 20   target.

         21               THE COURT:     Well, I'm not sure that he has to be a

         22    target or even perhaps a subject, although I think he becomes a

         23    subject in August.

         24               MR. WEINBERG:     I think by August, and I've not seen

         25    subpoena two, but I accept Ms. Wichers's representations that




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           1   at least some part of that subpoena going to the tribe dealt

           2   with RGB or Mr. DeQuattro.

           3              THE COURT:     My sense, and of course I have seen it,

           4   we've been going back and forth because of the keeping it under

           5   seal because of the confidentiality of grand jury materials,

           6   but my sense and informed to some experience in this area is

           7   that's the proper point to make that distinction.

           8              MR. WEINBERG:     I guess what I would say is that I

           9   don't disagree that's the earliest time because the tribe was

    02:49 10   not responding to the government directive that would have

         11    caused them to do legal work that related to RGB or the RGB

         12    contract until they got that second subpoena.           So August 10

         13    should be the earliest time.

         14               But then I would contend, Judge, two or three things.

         15    One is that he was acquitted of all of the counts that were the

         16    subject of the August 10 subpoena.         Again, I don't have it, but

         17    I'm guessing that those subpoenas were based on, you know,

         18    whether or not there was any evidence that RGB was improperly

         19    paid.

    02:50 20              THE COURT:     Well, I think there my view is that the

         21    formalities of the charge themselves, that is, the difference

         22    between Hobbs Act extortion under color of official right and

         23    666(a) kind of dissolve.       That is to say that it's relevant

         24    conduct, was relevant conduct, is properly reimbursed as

         25    relevant conduct if they're in full acquittal, I view it




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           1   differently, but it was not, and I believe it's within the

           2   scope.

           3              MR. WEINBERG:     If I could, just for the record, the

           4   statute seems to contemplate and the Supreme Court in Huey

           5   contemplate that the government's restitution requests, unlike

           6   sentencing perhaps, exclude acquitted conduct.            Here there was

           7   a not guilty on conspiracy.         I think the court should limit

           8   restitution to the amount of necessary expenses that correlate,

           9   not to donations which were certainly a central focus of the

    02:51 10   government.

         11               They looked into whether there were campaign

         12    violations by Mr. Cromwell.         They looked into a lot of things

         13    other than Mr. DeQuattro, but other than a Bowflex and a hotel

         14    suite, and so I would ask the court to particularize the extent

         15    to which he's paying restitution to the offense of conviction

         16    not include relevant conduct, which is more of a sentencing

         17    preponderance theory --

         18               THE COURT:     I think the problem with that is that it's

         19    viewing this as the law of excluded middle.           That is to say, if

    02:51 20   it relates to acquitted conduct, then it can't relate to

         21    conduct of conviction, and it was both, and so I don't apply

         22    the law of excludability.        That's my view from the perspective

         23    of Huey.

         24               MR. WEINBERG:     My last argument would be -- and, you

         25    know, I accept the court has addressed all of the prior




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           1   arguments that were written about it and now the argument about

           2   limiting the restitution to acquitted conduct is that when Your

           3   Honor is thinking joint and several, I don't think in this case

           4   with these expenses that's an appropriate parameter for this

           5   reason.    It's not just disproportionate proof.          It's not just

           6   disproportionate verdicts.          It's that a great deal of the

           7   government's compulsions on the tribe dealt with Mr. Cromwell

           8   and not exclusively with Mr. DeQuattro or RGB.

           9              The fourth subpoena, which they spent a lot of time

    02:53 10   looking for, was an exclusively Cromwell subpoena.            RGB was

         11    cooperative.     They didn't need subpoenas with RGB.         Mr. Sinnott

         12    and Mr. DeQuattro gave them what the government asked for.               So

         13    I think it's not as if all of the legal work was done jointly

         14    because of this narrow allegation about Mr. Cromwell and

         15    Mr. DeQuattro.      That might be subject to joint and several.          I

         16    believe the government investigation was faster.            If it was

         17    only the RGB tribe allegations, there would have been narrower

         18    subpoenas and much less legal time.

         19               I don't think he should be paying because the

    02:53 20   government was looking for more crimes against Mr. Cromwell.

         21    They were not looking only for the donation offenses.             They

         22    were looking to see what they could indict Mr. Cromwell for,

         23    and it went beyond RGB and beyond Mr. DeQuattro.

         24               THE COURT:     I think my response to that, I've thought

         25    about it to some degree because you made that argument before,




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           1   is that this question of joint and several is a difficult

           2   question.     And when there are disproportionate dimensions to

           3   the investigation that make someone very small and someone very

           4   large, great care has to be taken.

           5               I don't view that as this case.       I view this as a case

           6   in which the government was looking at both sides of

           7   transactions between a major vendor in an important federal

           8   program and a faithless tribal officer.          And having narrowed it

           9   to when the vendor comes on the scene, that is with the August

    02:55 10   10, I think I've narrowed it as much as I'm required to and as

         11    appropriate in the context of this particular case.            It is

         12    always possible to look at the end and say, They only got one

         13    out of however many.       And so what I'm going to do is say it's

         14    in direct proportion to whatever the numerator is and whatever

         15    the denominator is.      That's not this case.       So I think that I'm

         16    going to make the point of break the August 10 subpoena on

         17    there and make it be joint and several after that.

         18                MR. WEINBERG:    Okay.   My last argument, not to burden

         19    this, I understand Your Honor's decisionmaking, is that he was

    02:56 20   under the evidence.      Mr. DeQuattro is somebody that never

         21    harmed the tribe economically.         He never, his company never did

         22    anything wrong.      He never asked for a favor.       He never got an

         23    advantage.     He never sought the chairman's help in expediting

         24    invoices and giving them more at the end when things fell

         25    apart.




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           1              I think some consideration should be given that, if

           2   the government theory really is that he acquiesced to pressure

           3   but never sought an economic benefit, I think that's a strong

           4   argument against joint and several.

           5              THE COURT:     I don't know that that's the government's

           6   view, but it's certainly not mine.         There was -- and it was

           7   taken into consideration for purposes of sentencing, all of the

           8   points that you've made about this, that commendable concern

           9   for a fellow human with whom he developed a relationship in a

    02:57 10   vulnerable community is all to the good.

         11               The problem is that that cannot go hand in hand with

         12    what the jury necessarily found in this case, which was a

         13    violation of the obligation not to let that infect federal

         14    government programs and that at least part of the conduct of

         15    Mr. DeQuattro, oblique perhaps in its presentation but not

         16    entirely, was the hope to take advantage in a federal

         17    government program of a relationship that had at its foundation

         18    corruption.

         19               So I've taken into considering for sentencing

    02:58 20   certainly those issues but not for purposes of restitution.

         21    The tribe is out of it, out of this money as a result of it,

         22    and Mr. DeQuattro is responsible on this record as it exists

         23    now.

         24               MR. WEINBERG:     I won't re-echo our jury arguments --

         25               THE COURT:     Right.    I think I understand them.      And I




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           1   have to say I'm not disregarding them at all.           This is an area

           2   that is going to be developed more fully I believe in coming

           3   years as the courts start to have to grapple with issues like

           4   this and disproportion and competing considerations between the

           5   -- excuse me -- I just had a jury out and charged them earlier,

           6   we'll get the verdict later.

           7              So I look not to prolong it, but I look at the most

           8   recent statement by the Department of Justice that for purposes

           9   of organizational defendants, they're going to get great

    02:59 10   discounts of various kinds if they offer up the officers.              And

         11    I wonder about proportion generally always in making these

         12    kinds of judgments, but I'm left with what I have right now.

         13    What I have right now seems to me to be appropriate to impose

         14    that restitution from the period as to August 10 for joint and

         15    several.

         16               I don't know if you can say right now, Ms. Wichers,

         17    what that figure is, what the precise amount is.            I'm not

         18    requiring it, but I want to get to it as quickly as I can.

         19               MS. WICHERS:     Yes.    Can I send it, file it later

    03:00 20   today?

         21               THE COURT:     Yes, if you would, just that this is the

         22    calculation.     I think all of the bills are out there for the

         23    two law firms and I think it's really only the first law firm

         24    that would be at the breakpoint, second law firm is thereafter.

         25               MR. WEINBERG:     I take it, Judge, I would be




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           1   essentially exhausting your patience if I went through the

           2   bills and point out the different --

           3              THE COURT:     No, you wouldn't be exhausting my patience

           4   but exhausting the time I have available to listen to well

           5   founded arguments.      And I don't deny if I was dealing with this

           6   in another context with less familiarity than I have with the

           7   nature of the investigation and the comparative activities of

           8   the parties in connection with it I'd feel differently.             I just

           9   don't think there's fat in here.         There's perhaps richer fodder

    03:00 10   because the tribe was paying firms that can command more in

         11    terms of rates, but I don't think that they did unnecessary

         12    activity, and so that's why I give up the opportunity to learn

         13    about billing at firms.

         14               MR. WEINBERG:     And I respectfully, because of my fear

         15    of waiver, renew the objections that we raised in

         16    our materials.

         17               THE COURT:     Yes, you may.

         18               MR. WEINBERG:     Thank you.

         19               THE COURT:     So let's turn to the question of bail

    03:01 20   here.    There will be some figure that I think is in the

         21    $200,000 range, something like that, Ms. Wichers, as the joint

         22    and several part of it.

         23               MS. WICHERS:     Something less than that.

         24               THE COURT:     Okay.     So what do we do under those

         25    circumstances, I guess is the question.          Because ordinarily




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           1   there would be, and I'm sensitive to Mr. DeQuattro's, you know,

           2   understandable concern that he preserve his position within the

           3   profession or at least not have it compromised by the pendency

           4   of a piece of appeal in a highly contested case.            But I don't

           5   know how I can not impose those additional conditions having to

           6   do with the availability of records being turned over to the

           7   government, not opening up additional lines of credit and that

           8   sort of thing with this outstanding like that.

           9              Now, if the government appeals and says no, it should

    03:02 10   be more, maybe that would be a different issue.            I don't know

         11    if they're going to do that, but I'm pretty firm on this one.

         12    Can that be put in escrow, I guess is the question.            You may

         13    have to discuss it with Mr. DeQuattro to see what the

         14    availability of that is as a way of avoiding that limitation on

         15    activities that may be activities that will be in service of

         16    the company that he's still affiliated with but not in the same

         17    professional level.

         18               MR. WEINBERG:     I would ask, since I have not previewed

         19    this issue with Mr. DeQuattro, that if Your Honor is to set

    03:03 20   special conditions of bail or of the stay that you put them in

         21    the alternative, that these conditions apply unless a sum that

         22    equals the fine and restitution be placed in escrow in an

         23    identifiable account as disclosed to the government but not

         24    disbursed absent a final ruling from the Court of Appeals.

         25               THE COURT:     Right.    I think that I would be prepared




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           1   to encompass a restitution amount, designated restitution

           2   amount in that I would not I think be prepared to say only fine

           3   not restitution on it.       But you'll want to discuss it with

           4   Mr. DeQuattro.      It's to some degree obviously -- not just to

           5   some degree.     It's a financial choice that he has to make here.

           6              MR. WEINBERG:     I would just say this on his behalf.

           7   He's going to be here for a lot of decades, with health

           8   permitting.     He's not running from obligations.         Putting that

           9   amount of money in escrow in this kind of fluid economic terms

    03:04 10   could be a burden.      I don't know that the government is going

         11    to require 100 percent of the restitution that's stayed to be

         12    in escrow.

         13               THE COURT:     It's really, talk to the government about

         14    it.   Talk to see what you want to do.         What I want to be sure

         15    of is that I've got a consistency in dealing with financial

         16    responsibilities the parties have.         But, you know, when we talk

         17    about bail, sometimes we talk about a cash bail being a portion

         18    of the full amount, that kind of stuff.          It's not an unusual

         19    circumstance.     I will leave it to the parties to decide how to

    03:05 20   proceed on that.

         21               As to the question of bail itself, as I indicated, a

         22    concern, and I expressed it with Mr. Flaherty and he responded

         23    promptly and I think accurately to my concern about seeing a

         24    case on appeal and saying I don't remember that case when

         25    arguments were made that weren't framed in quite the same way




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           1   to me.    But that having been said, I want to have had an

           2   opportunity, I wanted to have had the opportunity to speak to

           3   these various issues.

           4              You know, one that's latent that was brought up was

           5   fractional written instructions to the jury.           That came into

           6   focus with Correia.      It arises as well with Pullman and Lynch,

           7   and they're all in different directions, and they were the

           8   result of my carefully trying to understand how properly to get

           9   the case to the jury and get their determination, deliberation

    03:06 10   in light of objections that were made to me.

         11               But beyond that I don't think I can say much at this

         12    point, and certainly having in mind, you know, something that

         13    Mr. DeQuattro from the very beginning has made clear he wants

         14    to get this resolved promptly, he'd like to have it resolved

         15    favorably, too, but he'd like to have it resolved promptly, and

         16    I've tried to do that as best I could in this context with the

         17    competing considerations.        But now we're where we are.

         18               You want to get moving along, I recognize that, and

         19    that's something I should do.        And so that's about all I'm

    03:07 20   going to say about that, except to say that I may say more

         21    about it in some other context or comparative context perhaps

         22    in Pullman and Lynch, perhaps in dealing with some other cases

         23    because the challenge of a complex case of assuring that the

         24    jury has the kind of materials for purposes of their

         25    deliberation that they need is an abiding one, particularly if




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           1   cases move slowly or very quickly, although the time periods

           2   are perhaps more than should have been anticipated because

           3   nobody wants to irritate a judge who says, You told me it was

           4   only going to be this long and now it's that long.

           5              But in any event, I just throw those issues out.              So I

           6   will get from the government the amount that we're dealing with

           7   here and perhaps identifying a bill -- where the bills begin

           8   for that time period more specifically.          And I understand that

           9   the tribe hasn't paid all their bills to these attorneys.              They

    03:08 10   did pay on behalf of Mr. Hendricks but not to these attorneys.

         11    It was shorter money, too.          That there will be a discussion

         12    about the question of escrow, whether how much if at all

         13    Mr. DeQuattro is in a position to provide and whether or not

         14    the government will be satisfied with a less than full coverage

         15    for this is of course the case that Mr. DeQuattro has been here

         16    all along.     He hasn't been disappearing, and he has strong

         17    roots in the community, but that's not the same issue.             But

         18    you'll look at that and get back to me, I would hope, let's say

         19    for that by Friday.      Is that possible?

    03:09 20              MR. WEINBERG:     Yes, Your Honor.

         21               THE COURT:     Close of business, which, if the First

         22    Circuit -- Third Circuit gets its way will be 5:00 on Friday.

         23    There's a bungling dispute in the Third Circuit that says

         24    having something done by, on a particular date, should be no

         25    later than 5:00 as opposed to 11:59 and 59 seconds.            And we'll




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           1   see whether that succeeds, but in any event that's out there.

           2               I however impose a very specific request, make it by

           3   5:00 so I've got a chance to absorb it fully over the weekend

           4   because I'll try to issue the judgment by Monday morning or

           5   Monday here.     I think we've touched on everything that we need

           6   to touch on there.

           7               Turning to Mr. Cromwell, I understand the government's

           8   opposition with respect to that as well.          There is a somewhat

           9   different view, as I've indicated, with respect to

    03:10 10   Mr. Cromwell.     I'm satisfied, as I've indicated, that there are

         11    medical reasons that have not fully been addressed here and

         12    cannot be fully addressed I think during the period of appeal

         13    because the ability of the Bureau of Prisons to deliver pretty

         14    demanding medical attention to inmates has I think been

         15    compromised during the pandemic and continues to be compromised

         16    in the various ways.

         17                In short, of course I look at anything that the

         18    government submits concerning its ability to provide the

         19    services.     I've reviewed such submittals in the past.          They

    03:11 20   tend to be in my mind boilerplate.         While boilerplate is okay

         21    for some things, it's not okay for what we're talking about

         22    here that Mr. Cromwell is facing.

         23                And so given the amount of time that may be involved

         24    here, I don't see sending him to prison during that time period

         25    is appropriate, even with the outstanding obligations of




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           1   restitution but with an understanding that the government will

           2   be taking whatever steps it chooses to take to fulfill the

           3   restitution.

           4              I step back with respect to Mr. Cromwell as well by

           5   saying that I do think what I've said with respect to

           6   Mr. DeQuattro is that there are substantial issues here.             We're

           7   in an area in which the Supreme Court, First Circuit, the

           8   courts generally are trying to come to grips with what I will

           9   call corruption crimes and what they mean in certain contexts

    03:12 10   here.    Of course we've got the special considerations of tribal

         11    involvement.     And I look forward, like everybody else, to

         12    learning more from my superiors about how this works.             But I

         13    don't see that I can, I don't believe that I can say with the

         14    kind of certainty that I sometimes am able to say or sometimes

         15    purport to say or undertake the conceit that I can say that

         16    there's nothing here.       There's something that is substantial

         17    enough to justify appeal.

         18               Do I think it's going to turn out differently?           No.

         19    But that's not the standard, what I think.           The standard is

    03:13 20   whether or not there's a substantial issue that some jurors

         21    could view this differently, and I believe that there is.              So

         22    for those reasons, I will be allowing the stay with respect to

         23    Mr. Cromwell as well as Mr. DeQuattro.

         24               Now, I think I've covered everything.          I said I was

         25    going to do it brevis.       Brevis for me, as you realize, ends up




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           1   being an hour 15 minutes, but I wanted to be sure that I had at

           2   least given you my views about all of these issues.

           3              Are there any others that we haven't touched on?

           4   Understanding that that's not a waiver.          It's simply a

           5   recognition that we have limited amounts of time.

           6              MS. WICHERS:     Your Honor, the government asks simply

           7   that the judgment, ask that the judgment state that restitution

           8   be due and payable immediately.         That just helps us with

           9   collection efforts.

    03:14 10              THE COURT:     Yes.

         11               MS. WICHERS:     And then could we have a separate order

         12    on excludable delay?

         13               THE COURT:     Yes.   I think that what I would ask for is

         14    you submit a separate order.        I mean, it's in that kind of

         15    smorgasbord motion where I can pick and choose various things.

         16    Just give me the a la carte version of it.

         17               MR. WEINBERG:     We of course would ask for the

         18    restitution to be within the stay, and there are no other

         19    issues to raise for the court.

    03:15 20              THE COURT:     Right.    But just so you know, I think that

         21    I'm going to say that the restitution begins immediately but

         22    doesn't have to be paid immediately here.           If there's a request

         23    for -- Ms. Head has left you defenseless.           The distinction I'm

         24    drawing here is that they can go out looking for restitution

         25    and they can recover those restitution amounts.            If they




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           1   recover it in some fashion and it's supposed to go back to

           2   Mr. DeQuattro or Mr. Cromwell, then it will go back to them,

           3   and at the end of the case they'll have to pay it back there.

           4   But I will permit them to protect their interests by searching

           5   for them.

           6               MR. WEINBERG:    And if I was to put the full amount in

           7   escrow, would it deter the court from issuing such an order?

           8               THE COURT:    I think that's better.      I think that does

           9   it.   It's more a problem I think for Mr. Cromwell than it is

    03:16 10   than Mr. DeQuattro because you put the full amount in.             The

         11    full amount is going to be presumably getting interest in

         12    whatever bank account you have on it, and they'll get the

         13    benefit of that money, and they've got it secured.            So I would

         14    not anticipate that I would permit the government then to go

         15    out levying against the restitution amount.

         16                MR. WEINBERG:    Thank you, Judge.      We'll report to you

         17    on or before 5:00 on Friday.

         18                THE COURT:    All right.    Thank you very much.      We will

         19    be in recess.

         20                (Adjourned, 3:16 p.m.)

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           1                      CERTIFICATE OF OFFICIAL REPORTER

           2

           3                    I, Kelly Mortellite, Registered Merit Reporter

           4   and Certified Realtime Reporter, in and for the United States

           5   District Court for the District of Massachusetts, do hereby

           6   certify that the foregoing transcript is a true and correct

           7   transcript of the stenographically reported proceedings held in

           8   the above-entitled matter to the best of my skill and ability.

           9                          Dated this 2nd day of February, 2023.

         10

         11                           /s/ Kelly Mortellite

         12                           _______________________________

         13                           Kelly Mortellite, RMR, CRR

         14                           Official Court Reporter

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                                   UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF MASSACHUSETTS

       ___________________________________
                                           )
                                           )
       UNITED STATES OF AMERICA            )
                                           )
       v.                                  )                               No. 20-CR-10271
                                           )
       DAVID DEQUATTRO,                    )
                   Defendant               )
                                           )
       ___________________________________ )

                     DEFENDANT DAVID DEQUATTRO’S NOTICE OF APPEAL

              Now comes the defendant David DeQuattro, by and through undersigned counsel, and

       hereby notices his appeal to the United States Court of Appeals for the First Circuit from the

       judgment of conviction and sentence entered in the above-captioned case on January 31, 2023.

                                                             Respectfully Submitted,
                                                             DAVID DEQUATTRO
                                                             By His Attorney,

                                                             /s/ Martin G. Weinberg
                                                             Martin G. Weinberg, Esq.
                                                             Mass. Bar No. 519480
                                                             20 Park Plaza, Suite 1000
                                                             Boston, MA 02116
                                                             (617) 227-3700
                                                             owlmgw@att.net

       Dated: February 1, 2023

                                       CERTIFICATE OF SERVICE

               I, Martin G. Weinberg, hereby certify that on this date, February 1, 2023, a copy of the
       foregoing document has been served via Electronic Court Filing system on all registered
       participants.
                                                            /s/ Martin G. Weinberg
                                                            Martin G. Weinberg, Esq.




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                                   UNITED STATES DISTRICT COURT
                                    DISTRICT OF MASSACHUSETTS


                                                     )
       UNITED STATES OF AMERICA                      )
                                                     )
                      v.                             )          No. 20-CR-10271
                                                     )
       CEDRIC CROMWELL,                              )
                 Defendant.                          )
                                                     )

                     DEFENDANT CEDRIC CROMWELL’S NOTICE OF APPEAL

              Now comes the defendant Cedric Cromwell, by and through undersigned counsel, and

       hereby notices his appeal to the United States Court of Appeals for the First Circuit from the

       judgment of conviction and sentence entered in the above-captioned case on January 31, 2023.



                                                                Respectfully Submitted,
                                                                CEDRIC CROMWELL
                                                                By His Attorney,

                                                                /s/ Timothy R. Flaherty
                                                                Timothy R. Flaherty
                                                                Flaherty Law Offices
                                                                699 Boylston Street, 12th Floor
                                                                Boston, MA 02116
                                                                (617) 227-1800
                                                                BBO No. 557477
                                                                TimothyRFlaherty@gmail.com

       Dated: February 1, 2023


                                        CERTIFICATE OF SERVICE

               I, Timothy R. Flaherty, hereby certify that on this date, February 1, 2023, a copy of the
       foregoing document has been served via Electronic Court Filing system on all registered
       participants.

                                                                /s/ Timothy R. Flaherty
                                                                Timothy R. Flaherty



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